Case 6:15-cv-01517-AA      Document 338-4         Filed 08/24/18      Page 1 of 129




          Expert Report of Professor James L. Sweeney


                          Submitted August 13, 2018




           Kelsey Cascadia Rose Juliana; Xiuhtezcatl Tonatiuh M.,
             through his Guardian Tamara Roske-Martinez; et al.,
                                    Plaintiffs,
                                        v.
                The United States of America; Donald Trump,
        in his official capacity as President of the United States; et al.,
                                   Defendants.



               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON

                        (Case No.: 6:15-cv-01517-TC)
        Case 6:15-cv-01517-AA                     Document 338-4                  Filed 08/24/18              Page 2 of 129




Contents
I.      Qualifications ...................................................................................................................... 1
II.     Background and Assignment .............................................................................................. 3
III.    Summary of Opinions ......................................................................................................... 6
IV.     Climate Change Is a Real, Global Problem ........................................................................ 9
        A.         Global Climate Change Resulting from Greenhouse Gas Emissions ..................... 9
        B.     The U.S. Alone Cannot Ensure That Atmospheric CO2 Is No More Concentrated
        than 350 ppm by 2100....................................................................................................... 12
V.      Energy Policy in the U.S. Requires Trade-Offs among Economic, Security, and
        Environmental Objectives................................................................................................. 14
        A.         The Environment .................................................................................................. 15
        B.         Domestic and International Security ..................................................................... 16
        C.         The Economy ........................................................................................................ 17
        D.         Energy Policy Involves Trade-Offs among the Three Goals ................................ 18
VI.     The U.S. Economy Has Decarbonized 66% since 1973 ................................................... 22
VII.    Federal Programs and Policies Have Contributed Substantially to the Decarbonization of
        the U.S. Economy ............................................................................................................. 29
        A.         Affirmative Policy Steps Encouraging Energy Efficiency ................................... 29
        B.         Affirmative Policy Steps Encouraging Low Carbon Energy Sources .................. 37
        C.         CO2 from Fossil Fuel Production.......................................................................... 43
        D.         Participation in International Climate Change Initiatives..................................... 45
        E.    The Federal Government Has Adopted Complex Energy Policy Strategies to
        Address Multiple Policy Goals ......................................................................................... 47
VIII.   Many Policy Options Suggested in the Complaint Have Been Implemented .................. 49
IX.     Policy Initiatives Demanded by Plaintiffs’ Experts Have Been Considered, Debated, and
        Rejected by Congress or Federal Administrations............................................................ 51
X.      There Is an Important Economic Distinction between the Federal Government’s Direct
        Emissions and the Federal Government’s Role and Potential Role as Regulator of Third-
        Party Emissions................................................................................................................. 55
XI.     Plaintiffs and Their Experts Fail to Establish that the Acts of the Federal Government
        Caused Their Alleged Injuries .......................................................................................... 59
        A.         Plaintiffs and Their Experts Fail to Establish Causation ...................................... 61
        B.    Plaintiffs’ Experts Fail to Identify the Incremental Impact of the Conduct at Issue
        on Cumulative CO2 Emissions and CO2 Concentration ................................................... 62


                                                                                                                                              i
       Case 6:15-cv-01517-AA                     Document 338-4                 Filed 08/24/18              Page 3 of 129




                  1.         Defendants’ Direct Consumption of Fossil Fuels ..................................... 63
                  2.         Defendants’ Affirmative Policy Acts........................................................ 64
                  3.     Defendants’ Alleged Failure to Develop Policies to Mitigate GHG
                  Emissions by Entities Other Than the Federal Government. ................................ 66
       C.     Plaintiffs Fail to Establish a Causal Link Between Their Alleged Injuries and
       Climate Change Effects Caused by the Conduct at Issue ................................................. 69
XII.   Plaintiffs’ Experts’ Proposed Transformations of the U.S. Energy System Are Not
       Technically or Economically Feasible .............................................................................. 70
       A.    Several Examples Demonstrate the Technical and Economic Infeasibility of
       Converting Energy End Use to All-Electric or All-Hydrogen Systems ........................... 73
                  1.         Transportation: Automobiles ................................................................... 74
                  2.         Transportation: Aircraft ........................................................................... 78
                  3.         Industrial Energy Use ............................................................................... 81
       B.         Plaintiffs’ Experts Understate Costs of their Proposed Energy Systems .............. 84
                  1.         Plaintiffs’ Experts’ Cost Estimates Are Highly Uncertain ....................... 84
                  2.    Plaintiffs’ Experts Cost Estimates Are Incomplete and Understate the Full
                  Economic Impact of Decarbonization .................................................................. 86
                  3.    Professor Jacobson Understates the Cost of Electricity Under His
                  Proposed Energy System ...................................................................................... 87
       C.     Plaintiffs’ Experts’ Proposed Energy Systems Would Require Regulatory
       Intervention on a Large Scale ........................................................................................... 89
       D.    Plaintiffs’ Experts’ Proposed Energy Systems Deviate from Consensus Views
       Regarding Decarbonization .............................................................................................. 93
       E.    Addressing the Important Problem of Global Climate Change Requires Realistic
       Methods........................................................................................................................... 101




                                                                                                                                            ii
        Case 6:15-cv-01517-AA                  Document 338-4              Filed 08/24/18           Page 4 of 129




List of Figures
Figure 1. U.S. Greenhouse Gas Emissions by Gas ...................................................................... 11
Figure 2. Annual CO2 Emissions from Energy ............................................................................ 12
Figure 3. The Energy Policy Triangle.......................................................................................... 14
Figure 4. Factors Leading to Reduced Carbon Intensity of U.S. Economy................................. 24
Figure 5. Factors in the Kaya Identity by Time Interval.............................................................. 25
Figure 6. Components of Energy System Decarbonization ......................................................... 28
Figure 7. New U.S. Electricity Generating Capacity Additions .................................................. 40
Figure 8. Sources of Greenhouse Gas Emissions in the U.S. ...................................................... 56
Figure 9. Global Fossil Fuel Market Response to Removal of U.S. Subsidies ........................... 66

List of Tables
Table 1. Residential National Appliance Standards .................................................................... 31
Table 2. Commercial and Industrial National Appliance Standards............................................ 32
Table 3. Lighting National Appliance Standards ......................................................................... 34
Table 4. Selected Federal Efficiency Standards and Tax Credits ................................................ 37
Table 5. Review of Decarbonization Studies Cited in Jacobson Report Exhibit D ..................... 98




                                                                                                                               iii
      Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18     Page 5 of 129




I.     Qualifications


1.     I, James L. Sweeney, am an economist at Stanford University. I have focused my
professional activities on economic policy and analysis, particularly in energy, natural resources,
and the environment, and am currently concentrating on energy efficiency.

2.     At Stanford, I am a professor of management science and engineering. In addition, I am
a senior fellow of the Hoover Institution, the Precourt Institute for Energy, and the Stanford
Institute for Economic Policy Research.

3.     Also at Stanford, I have served as chairman of the Department of Engineering-Economic
Systems and as chairman of the Department of Engineering-Economic Systems and Operations
Research. I served for eight years as a member of the Executive Committee of the Stanford
School of Engineering. I have also served as the Director of the Energy Modeling Forum
(“EMF”), the Chairman of the Institute for Energy Studies, and the Director of the Center for
Economic Policy Research (now named the Stanford Institute for Economic Policy Research). I
was founder and until recently, the director of the Precourt Energy Efficiency Center.

4.     I have taught courses at Stanford on “Economics of Natural Resources,” “Energy and
Environmental Policy Analysis,” “Economic Analysis,” “Engineering Economics,” and “Policy
and Economics Research Roundtable.”

5.     Outside of Stanford, I have served on the editorial boards of The Energy Journal and
Resource and Energy Economics and have served as co-editor of Resource and Energy
Economics. In the early 1970s, I served as Director of the Office of Energy Systems Modeling
and Forecasting of the United States (“U.S.”) Federal Energy Administration. In that role I was
responsible for the development and application of the energy supply and demand models the
federal government used to forecast future energy conditions and was extensively involved in the
analysis underlying energy policy making in the 1974–1976 period.

6.     I am also a Senior Fellow of the U.S. Association for Energy Economics (“USAEE”) and
have received the Adelman-Frankel Award from the USAEE for unique contributions to energy
economics. I am a founding member of the International Association for Energy Economics


                                                                                                  1
      Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18     Page 6 of 129




(“IAEE”) and have received the 2008 award from the IAEE for Outstanding Contributions to the
Profession of Energy Economics and to its literature. I am a senior fellow and chairman of the
Council of the California Council on Science and Technology, and a member of the External
Advisory Council of the National Renewable Energy Laboratory. I was founding chair of the
Petroleum Market Advisory Committee, advising the California Energy Commission.

7.     I periodically give talks in the U.S. and other countries (e.g., China, Singapore, South
Korea, Japan, New Zealand, Australia, Turkey, U.K., and Norway) on energy efficiency and its
role in reducing greenhouse gas (“GHG”) emissions and global climate change. For the last 10
years I have been one of the three co-conveners of the annual international conference
“Behavior, Energy, and Climate Change.” I annually convene the Silicon Valley Energy Summit
at Stanford, which aims at making Silicon Valley organizations and communities more
sustainable, clean, efficient, and productive. For the last 20 plus years, I have been an annual
participant at and contributor to the Snowmass Workshop on Climate Change Impacts and
Integrated Assessment, which integrates scientific knowledge of the numerous impacts of global
climate change.

8.     I have been a member of numerous committees and boards of the National Research
Council, including the Committee on Benefits of Department of Energy (“DOE”) R&D in
Energy Efficiency and Fossil Energy, the Committee on Effectiveness and Impact of Corporate
Average Fuel Economy (“CAFE”) Standards, the Committee on Alternatives and Strategies for
Future Hydrogen Production and Use, the Committee on America’s Energy Future, the Board on
Energy and Environmental Systems, and the Board on Environmental Change and Society.

9.     I was co-chair of the transition team task force that developed the energy policy
framework for Governor Schwarzenegger’s first administration, and I served as a member of
Governor Schwarzenegger’s Council of Economic Advisors. I was also a member of the
Economics and Allocation Advisory Council of the California Air Resources Board, providing
recommendations to the State of California regarding implementation of the cap-and-trade
system for greenhouse gases for the State.

10.    I periodically serve as an advisor to the California government, the Natural Resources
Defense Council (“NRDC”), several clean energy startups, and other energy companies, in



                                                                                                   2
       Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18        Page 7 of 129




addition to the federal government. I have served as an expert witness in litigations in the U.S.
and in New Zealand, and I have testified in state and federal courts. I have provided expert
testimony in cases involving royalties, utility regulation, contract disputes, securities, taxation,
and antitrust issues.

11.      My articles have appeared in numerous books and journals, including: Econometrica,
Journal of Economic Theory, Journal of Urban Economics, Management Science, Resources and
Energy, The Bridge, The Energy Journal, and Proceedings of the National Academy of Sciences.
I have authored or edited seven books, in addition to the five National Academy book-length
studies of which I was a co-author. One of these books, The California Electricity Crisis,
published in July 2002, is an analytical history of the economic and policy issues associated with
California’s electricity restructuring and the subsequent crisis. My most recent book, Energy
Efficiency: Building a Clean, Secure Economy, was published by Hoover Institution Press in
2016; the Chinese translation was published in 2017.

12.      I hold a B.S. degree from the Massachusetts Institute of Technology in Electrical
Engineering and a Ph.D. from Stanford University in Engineering-Economic Systems. A copy
of my curriculum vitae is attached as Appendix A. A list of my testimony from the last four
years is attached as Appendix B.


II.      Background and Assignment


13.      Plaintiffs in this matter state that global climate change is an important problem that has
led and will lead to impacts that will be harmful to the well-being of the U.S. population, 1 and
that fossil fuel combustion is an important contributor to climate change. 2

14.      Plaintiffs allege that the Defendants 3—various U.S. government agencies and the public
officials managing these offices—have endangered Plaintiffs’ health and welfare and have


1 First Amended Complaint for Declaratory and Injunctive Relief, Kelsey Cascadia Rose Juliana et al., Plaintiffs, v.
The United States of America et al., Defendants, 9/10/2015 (“Complaint”), ¶1.
2 Complaint, ¶202.
3 Defendants include the United States of America, the President of the United States, the Office of the President of

the United States, Department of Energy, Department of the Interior (“DOI”), Department of Transportation,
Department of Agriculture (“USDA”), Department of Commerce, Department of Defense (“DOD”), Department of
State, and United States Environmental Protection Agency (“EPA”). See Complaint, ¶¶98–130.


                                                                                                                        3
       Case 6:15-cv-01517-AA                Document 338-4             Filed 08/24/18         Page 8 of 129




violated Plaintiffs’ rights under the Fifth and Ninth Amendments of the U.S. Constitution
through (i) affirmative regulatory acts, including subsidies, tax policies, permits for fossil fuel
extraction from public lands, and other acts that increase fossil fuel consumption and cause GHG
emissions; 4 (ii) inaction and failure to develop policies to eliminate the use of fossil fuels and
mitigate GHG emissions; 5 and (iii) GHG emissions arising from the government’s direct
consumption of fossil fuels (collectively, “the conduct at issue”). 6

15.      Further, Plaintiffs allege that Defendants have “acted with deliberate indifference to the
peril they knowingly created.” 7 Plaintiffs allege that Defendants have known since at least 1990
that fossil fuels are the primary cause of climate change, and that climate change poses
“unusually dangerous risks” and “imminent dangers,” yet have “ignored [the advice of] experts”
and “continued their policies and practices of allowing the exploitation of fossil fuels.” 8

16.      Plaintiffs have submitted the expert report of Professor Joseph E. Stiglitz, who claims to
“analyze from an economic perspective how climate change will harm the [Plaintiffs] if
Defendants continue to pursue policies that perpetuate a fossil-fuel-based energy system.” 9
Professor Stiglitz claims that “moving the U.S. economy away from fossil fuels is both feasible
and beneficial, especially over the next 30 years.” He suggests that the U.S. could “facilitate this
transition with standard economic tools for dealing with externalities, for example a tax or levy
on carbon (a price on the externality) and the elimination of subsidies on fossil-fuel production.”


4 Complaint, ¶280. See also Complaint, ¶110 (“DOI, through the Bureau of Land Management (‘BLM’), leases

minerals and manages oil and gas development activities on over 570 million acres of federal lands, as well as on
private lands where the federal government retained mineral rights.”); Complaint, ¶117 (“USDA, through the U.S.
Forest Service, authorizes 25% of U.S. coal production.”); Complaint, ¶164 (“In 2013, 25% of all fossil fuels
extracted in the U.S. originated on federal public lands.”); Complaint, ¶172 (“The United States subsidizes the fossil
fuel industry by undervaluing royalty rates for federal public leasing, as well as through royalty relief resulting in the
loss of billions of dollars of foregone revenue.”); Complaint, ¶173 (“Through eleven federal fossil fuel production
tax provisions, the United States incurs approximately $4.7 billion in annual revenue costs.”); Complaint, ¶174
(“The United States provides approximately $5.1 billion per year in tax provision subsidies to support fossil-fuel
exploration.”); Complaint, ¶186 (“All U.S. petroleum refineries are permitted and regulated by EPA.”); Complaint,
¶190 (“the United States subsidized the purchase, and thus increased demand for, vehicles weighing more than
6,000 pounds (‘SUVs’).”).
5 Complaint, ¶¶153.

6 Complaint, ¶121 (“DOD is our nation’s largest employer and is responsible for significant carbon pollution from

both its vehicle fleet, and its 500 bases of military infrastructure, including 300,000 buildings totaling 2.2 billion
square feet.”).
7 Complaint, ¶¶8, 286, 303–305.

8 Complaint, ¶¶1–5, 286, 303–305.
9 Expert Report of Joseph E. Stiglitz, Ph.D., April 13, 2018 (“Stiglitz Report”), ¶18.




                                                                                                                        4
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18       Page 9 of 129




He also recommends “revising current government discounting practices.” Professor Stiglitz
suggests that costs for some actions to address climate change could be negative. 10

17.     Plaintiffs have also submitted expert reports from Professor Mark Z. Jacobson and
Professor James H. Williams as evidence that the U.S. can decarbonize its economy. 11

18.     Professor Jacobson concludes that by 2050 the U.S. can completely eliminate the use of
fossil fuels and reduce carbon emissions to zero by shifting to a proposed energy system based
on (i) electricity generated solely from wind, water, solar power (“WWS power”); (ii) advanced
technologies for the storage of electric and solar energy; and (iii) hydrogen-based energy. 12
Professor Jacobson further asserts that barriers to the adoption of such a system “are neither
technical nor economic,” and that the unit cost of electricity under his proposed system would be
lower than under the current generation infrastructure. 13

19.     Professor Williams concludes that “it is technically feasible to develop and implement a
plan to achieve an 80% greenhouse gas reduction below 1990 levels by 2050 in the United
States,” 14 and that a reduction of 96% relative to current levels “is technologically feasible given
current and emerging technologies,” but “will likely have a higher unit cost” to go beyond the
80% reduction. 15 He forecasts that the 80% reduction from 1990 levels will cost between -0.2%
and +1.8% of 2050 GDP. 16

20.     I have been asked by counsel for Defendants in this matter to address Plaintiffs’
assertions regarding U.S. energy policy, assess the theory of harm articulated by Plaintiffs, and
evaluate the energy systems proposed by Professor Jacobson and Professor Williams, and to
address what would be some implications of granting Plaintiffs’ demands.

21.     I am being compensated for my work on this matter at my standard billing rate of $800
per hour. Cornerstone Research has assisted me in the preparation of this report; their staff have


10 Stiglitz Report, ¶19.
11
   Expert Report of Mark Jacobson, Ph.D., April 6, 2018 (“Jacobson Report”); Expert Report of James H. Williams,
Ph.D., April 13, 2018 (“Williams Report”). Note that Professor Jacobson also submitted an earlier report in July
2017.
12 Jacobson Report, p. 2.
13 Jacobson Report, pp. 4, 11.
14 Williams Report, p. 3.
15 Williams Report, p. 12.
16 Williams Report, p. 3.




                                                                                                               5
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 10 of 129




worked under my direction. I receive compensation from Cornerstone Research based on its
collected staff billings for its support of me in this matter. Neither my compensation in this
matter nor my compensation from Cornerstone Research is in any way contingent or based on
the content of my opinion or the outcome of this or any other matter. A list of documents that I
have relied upon in forming my opinions can be found as Appendix C.


III.    Summary of Opinions


22.     I offer the Court data, observations, perspectives, and opinions that address certain
energy/environmental policy points of Plaintiffs’ assertions in this case.

23.     By way of background, I firmly believe that global climate change resulting from GHG
emissions is real. 17 As I have acknowledged in my publications, a large body of scientific
evidence has established that global temperatures are rising and will continue to rise in the
future; that increasing atmospheric concentrations of GHGs, including but not limited to CO2,
are the primary cause of rising global temperatures; and that human activity is the primary cause
of rising GHG levels.

24.     Climate change is a global problem. Data from the U.S. Energy Information
Administration (“EIA”) shows that the U.S. today accounts for roughly 16% of global energy
related CO2 emissions 18—hence, unilateral U.S. action cannot possibly stabilize atmospheric
CO2 concentration levels, much less reduce concentrations to the level that Plaintiffs demand. I
discuss this in greater detail in Section IV.

25.     U.S. energy policy and environmental policy must balance three fundamental objectives
that often conflict: national security, economic welfare, and environmental welfare. Each of
these fundamental objectives includes multiple components. Plaintiffs, however, adopt a one-
dimensional view of energy policy in which policy is evaluated solely through the lens of a
subset of concerns relating to environmental welfare—climate change and GHG emissions—and


17 I understand that Defendants have stipulated the existence of climate change, that climate change is
anthropogenic, and that these questions are not at issue in this litigation. Federal Defendants’ Answer to First
Amended Complaint for Declaratory and Injunctive Relief, Kelsey Cascadia Rose Juliana et al., Plaintiffs, v. United
States et al., Defendants, January 13, 2017 (“Answer”), ¶1.
18 U.S. Energy Information Administration, International Energy Statistics.




                                                                                                                  6
      Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18      Page 11 of 129




not as trade-offs between concerns of national security, economic welfare, and environmental
welfare. I discuss this in greater detail in Section V.

26.    The U.S. economy has decarbonized dramatically since 1973, and federal programs and
policies have contributed substantially to decarbonization, notwithstanding Plaintiffs’ allegations
that the federal governmental has ignored scientific advice and has done little or nothing to
reduce GHG emissions. The energy-related carbon intensity of the U.S. economy—the energy-
related CO2 released per dollar of real (inflation-adjusted) GDP—has decreased by 66% since
the energy crisis in 1973. However, the U.S. economy has continued to grow, at different rates
over time. The combination of time-varying economic growth, with a simultaneous time-varying
decarbonization of the economy, has led to some decades in which CO2 emissions grew and
other decades in which emissions declined. I discuss this in greater detail in Section VI.

27.    The reduction in the energy-related carbon intensity of the U.S. economy is due in large
part to a broad portfolio of federal governmental policies. These policies, which I discuss in
Section VII, include energy efficiency appliance standards, fuel efficiency standards for cars and
trucks, research and development (“R&D”) sponsorship, tax incentives for energy efficient
buildings and technologies, support for zero-carbon energy sources such as hydropower, solar,
and wind, and participation in international agreements to mitigate GHG emissions and the
impact of climate change.

28.    Many policy options suggested in the Complaint and by Plaintiffs’ experts have been
implemented, including initiatives proposed in the 1990 Environmental Protection Agency study.
Others, such as a carbon tax, have been considered, debated, and rejected by Congress or the
executive of the federal government. These policy outcomes are examples of the political
branches of the federal government balancing the considerations of energy policy—either other
factors such as economic welfare or national security have received greater weight than
environmental objectives, or federal policy makers have favored other policy instruments, such
as direct regulation of energy efficiency. I discuss this in greater detail in Sections VIII and IX.

29.    There is an important economic distinction between the direct emissions of the federal
government and the federal government’s role in regulating the emissions of third parties such as
companies, individuals, and state and local governments. The federal government directly



                                                                                                       7
         Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18           Page 12 of 129




controls its own emissions, but does not control the conduct of third parties. The vast majority of
GHG emissions in the U.S. come from the activities of private sector firms, individual residents
of the U.S., and state and local governments. Thus, the federal government must rely on either
command-and-control mandates or a system of regulations that create incentives to induce third
parties to engage in the conduct it desires. Before instituting incentives to encourage or
discourage conduct, it is important to consider the costs and benefits of the intervention. I
discuss this in Section X.

30.        Turning to Plaintiffs’ theory of harm, I conclude that Plaintiffs fail to establish a causal
link from the conduct at issue to the injuries they allege. Plaintiffs attribute their injuries to the
conduct at issue, but ignore the fact that at least 96% of cumulative global CO2 emissions since
1990—the root cause of rising atmospheric CO2 concentrations and climate change effects that
purportedly lead to Plaintiffs’ alleged injuries—are associated with fossil fuel consumption
unrelated to the conduct at issue. 19 In particular, I conclude that

                a. countries other than the United States accounted for 79% of energy-related CO2
                    emissions from 1990 to 2015;

                b. a large majority of the remaining 21% of energy-related CO2 emissions during
                    this period were not caused by the conduct at issue;

                c. CO2 emissions caused directly by the government through its consumption of
                    fossil fuels comprise approximately 0.25% of global CO2 emissions; and

                d. I estimate that CO2 emissions caused by all of the conduct at issue, including
                    emissions allegedly caused directly by Defendants, emissions allegedly caused by
                    Defendants’ affirmative policy acts, and emissions allegedly caused by
                    Defendants’ alleged failure to act, comprise no more than 4% of global emissions.
                    Note that this figure includes emissions from the actions of entities in the U.S.
                    other than the federal government, including private sector firms, individual
                    residents of the U.S., and state and local governments.




19   For purposes of rebuttal, I assume arguendo that the conduct at issue began as of 1990.


                                                                                                                8
      Case 6:15-cv-01517-AA              Document 338-4          Filed 08/24/18        Page 13 of 129




31.     Further, I conclude that Plaintiffs fail to establish a causal link between their alleged
injuries and climate change effects allegedly caused by the conduct at issue. Factors other than
the conduct at issue are the primary causes of the climate change effects that the Plaintiffs allege
to have caused injuries. I discuss this in greater detail in Section XI.

32.     Finally, the low-carbon energy systems proposed by Plaintiffs’ experts, Professor
Jacobson and Professor Williams, are not technically feasible, and assume the existence of
technologies that are in development and are decades from commercial acceptance. Neither
Professor Jacobson nor Professor Williams provides a credible estimate of the full costs of their
respective proposals. They both focus on changes in the cost of energy supply, but fail to
explain the substantially larger costs that would arise from the macroeconomic impact of their
respective proposals. Moreover, Professor Jacobson’s prominent claim that his proposed system
would provide electricity at prices lower than a conventional system relies on aggressive,
implausible assumptions. Their proposed energy systems would also require a very high level of
regulatory intervention in the economy, as Professor Williams himself concedes. Professor
Jacobson simply dismisses this consequence as a “social or “political” barrier to implementation.
Additionally, Professor Jacobson’s and Professor Williams’ proposals deviate from consensus
views in the literature. Addressing global climate change is an important objective, but it must be
pursued realistically within the institutional framework of our economic and political system.
Plaintiffs’ experts have not demonstrated that their approaches are realistic or likely to succeed in
practice. I discuss these conclusions in Section XII.


IV.     Climate Change Is a Real, Global Problem

        A.       Global Climate Change Resulting from Greenhouse Gas Emissions

33.     I understand that the impact of fossil fuel emissions on the climate is not in dispute in this
case. 20 As I have acknowledged in my publications, 21 a large body of scientific evidence has


20Answer, ¶1.
21James L. Sweeney, Energy Efficiency: Building a Clean, Secure Economy (Stanford, CA: Hoover Institution
Press, 2016) (“Sweeney”), pp. 1–196 at p. 85. See also Kenneth Gillingham and James Sweeney, “Market Failure
and the Structure of Externalities,” in Harnessing Renewable Energy, ed. Boaz Moselle et al. (New York:
Routledge, 2010), pp. 1–23 at p. 73; Arthur van Benthem et al., “Learning-by-Doing and the Optimal Solar Policy in
California,” Energy Journal 29, no. 3, 2008, pp. 1–26 at p. 2.


                                                                                                                 9
      Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18       Page 14 of 129




established that global temperatures are rising and will continue to rise in the future; that
increasing atmospheric concentrations of GHG, including but not limited to CO2, are the primary
cause of rising global temperatures; and that human activity is the primary cause of rising GHG
levels.

34.       According to the Intergovernmental Panel on Climate Change (“IPCC”)’s fifth
assessment report, “for most economic sectors, the impacts of drivers such as changes in
population, age structure, income, technology, relative prices, lifestyle, regulation, and
governance are projected to be large relative to the impacts of climate change… Global
economic impacts from climate change are difficult to estimate… there are large differences
between and within countries.” 22 The negative impacts and the difficulties of adapting will be
felt primarily by developing countries and low-lying island nations. Developed countries such as
the U.S. will have the technical knowledge, information, skills, infrastructure, and institutions to
allow adaptation to the changing conditions, whereas many developing countries have less
capacity to adapt and are therefore more vulnerable.




22See, for example, IPCC Report, “Climate Change 2014 Impacts, Adaptation, and Vulnerability Summary for
Policymakers,” 2014, p. 19.


                                                                                                           10
         Case 6:15-cv-01517-AA         Document 338-4                   Filed 08/24/18   Page 15 of 129




35.        I understand that it is undisputed in this lawsuit that GHG emissions result from the
combustion of fossil fuels. 23 In the U.S., in 2016 about 76% of GHG emissions were CO2 from
combustion of fossil fuels. Another 5% were CO2 from forestry and other land use. About 10%
were methane. This distribution of U.S. greenhouse gases is depicted in Figure 1. Thus, the
elimination of only CO2 emissions from fossil fuel combustion would not eliminate all
greenhouse gases.
                          Figure 1. U.S. Greenhouse Gas Emissions by Gas




                                                              F-gases
                                     Carbon Dioxide: Other
                                                                3%
                                              5%                        Nitrous Oxide
                                                                              6%




                                                                          Methane
                                                                            10%




                                     Carbon Dioxide: Fossil
                                          Fuels 76%




Source: U.S. Environmental Protection Agency, 2018, “Inventory of U.S. Greenhouse Gas Emissions and Sinks
1990-2016,” Table ES-2: Recent Trends in U.S. Greenhouse Gas Emissions and Sinks (MMT CO2 Eq.)




23   Answer, ¶1.


                                                                                                            11
            Case 6:15-cv-01517-AA                          Document 338-4    Filed 08/24/18   Page 16 of 129




             B.          The U.S. Alone Cannot Ensure That Atmospheric CO2 Is No More
                         Concentrated than 350 ppm by 2100

36.          Plaintiffs demand that the federal government should be ordered to assure that the climate
system is stabilized at no more than 350 ppm CO2 by 2100. 24 But climate change is a global
problem. Unilateral U.S. action, whether it eliminates direct federal government emissions or
could somehow eliminate private sector and state/local government emissions, cannot stabilize
atmospheric CO2 concentration levels, much less reduce CO2 concentrations to the level
requested by Plaintiffs.

                                        Figure 2. Annual CO2 Emissions from Energy
                                                                 1980–2015


      Gigatons of
     CO2 Emissions

       35
                  United States
                  North America not United States
                  China
       30         Asia & Oceania not China
                  Europe
                  Eurasia
       25         Central & South America
                  Africa                                                                                 Europe
                  Middle East

       20



       15


                                                                                                         China
       10



        5
                                                                                                  United States

        0
         1980                 1985                  1990         1995        2000      2005       2010            2015



Source: U.S. Energy Information Administration, International Energy Statistics




24   Complaint, ¶12.


                                                                                                                    12
      Case 6:15-cv-01517-AA                Document 338-4            Filed 08/24/18        Page 17 of 129




37.      Although the U.S. has historically contributed about 25% of global CO2 emissions, 25 it
now emits only a small fraction of global GHG emissions. The recent data, graphed in Figure 2,
show that the U.S. contributed 16% of the global energy emissions of CO2 from fossil fuels as of
2015. 26 Most of these emissions (84%) came from other countries. The largest emitter, China,
contributed 27% of the world emissions from fossil fuels. In the U.S. there has been little growth
over the last 35 years in CO2 emissions from the energy system. In Europe there has been a
decline. The largest growth has been in China and in the rest of Asia and Oceania.

38.      Therefore, unilateral U.S. action cannot halt global emissions or stabilize the level of
atmospheric CO2 concentration. Even if the U.S. were to unilaterally eliminate all use and
production of fossil fuels tomorrow, worldwide energy related CO2 emissions would be at least
84% of current emissions and would continue to grow, as would CO2 concentration. And 84% is
likely to be a lower estimate. If the U.S. halted its use and production of fossil fuels, the prices
of these fuels would fall and other counties would increase their use of fossil fuels, thereby
partially offsetting the U.S. reduction in emissions. 27 As a result, unilateral action by the U.S.
could not provide Plaintiffs with the relief that they seek—that is, CO2 concentration no greater
than 350 ppm. Any solution to climate change requires global coordination and cannot be based
on U.S. action alone.

39.      Recent IPCC research concludes that achieving atmospheric CO2 concentrations below
430 ppm—not 350 ppm—by 2100 would require a reduction of 70% to 95% in global GHG
emissions relative to 2010 levels. 28 The IPCC assessment involves a large number of scenarios
published in the scientific literature. 29 The U.S. GHG emissions, accounting for just 16% of
global CO2 energy related emissions, is well short of the 70% reduction the IPCC deemed
necessary. Thus, even if the U.S. completely eliminated CO2 emissions from energy
immediately, the reduction in global CO2 emissions would not be sufficient to stabilize CO2




25 Answer, ¶151.
26 U.S. Energy Information Administration, International Energy Statistics.
27 The U.S. is a net importer of fossil fuels, so halting all use and production of fossil fuels would decrease world

demand more than it would world supply of fossil fuels. See U.S. Energy Information Administration, “July 2018
Monthly Energy Review,” Table 1.4b Primary Energy Exports by Source and Total Net Imports.
28 IPCC Report, “Climate Change 2014 Synthesis Report Summary for Policymakers,” 2014, p. 21.
29 IPCC Report, “Climate Change 2014 Synthesis Report Summary for Policymakers,” 2014, p. 22.




                                                                                                                        13
      Case 6:15-cv-01517-AA             Document 338-4          Filed 08/24/18       Page 18 of 129




concentrations below 430 ppm by 2100, much less reach the 350 ppm concentration that
Plaintiffs seek.

40.     Even global coordination may not be sufficient to yield the relief that Plaintiffs demand.
The Emissions Gap Report 2017 by the United Nations Environment Programme (“UNEP”)
states that “[a] large gap exists between 2030 emission levels and those consistent with least-cost
pathways to the 2 degrees C and 1.5 degrees C goals respectively,” 30 and that “the assessment
shows that for many countries, implementing their Nationally Determined Contribution (‘NDC’)
would lead to lower emissions than the current policies scenario, or in other words that additional
policies will have to be implemented to meet the NDC target.” 31 This indicates that not only is
there a “gap” between current pledges and the progress required to meet temperature goals, but
there is also a “gap” between what countries’ current policies are and what they would need to be
to achieve those pledges.

41.     Though climate change is a global problem, Plaintiffs focus on the U.S. government’s
policies regarding climate change. I discuss the framework in which U.S. energy policy is
created in the next section.


V.      Energy Policy in the U.S. Requires Trade-Offs among Economic, Security, and
        Environmental Objectives


42.     U.S. energy policy is the outcome of a
policymaking process that balances at least three
competing fundamental objectives: economic
growth/welfare, domestic and international security, and
environmental objectives, referred to as the “Energy
Policy Triangle.” 32 The Energy Policy Triangle
describes the trade-offs between the competing                          Figure 3. The Energy Policy
                                                                                  Triangle
objectives, and has been the framework (implicitly or


30 UNEP Report, “The Emissions Gap Report 2017,” 2017, p. xvii.
31 UNEP Report, “The Emissions Gap Report 2017,” 2017, p. xviii (“Most G20 countries require new policies and
actions to achieve their NDC pledges.”).
32 Sweeney, pp. xv, 166.




                                                                                                                14
      Case 6:15-cv-01517-AA               Document 338-4           Filed 08/24/18        Page 19 of 129




explicitly) of energy policy discussions since at least 1973. 33 These goals have been adopted not
just by the U.S. but internationally, although different countries place different emphases on the
three goals. 34 Likewise, different U.S. administrations have placed different emphases on the
three goals.

         A.       The Environment

43.      Energy-related issues of the environment include local and international impacts of
energy production and use. Environmental outcomes are influenced by the economic and policy
processes that influence the mix of primary energy sources, 35 the energy conversion processes
(e.g., in the generation of electricity), and the amounts and types of energy that are consumed. In
the U.S., economic and policy processes that have led to growing energy efficiency have been
good for the environment: reductions in energy use mean that less energy needs to be produced,
transported, or transmitted. Less energy use implies less GHG emissions in the atmosphere. 36

44.      Other domestic environmental impacts include release of particulates, oxides of nitrogen,
sulfur dioxide, and other pollutants into the air; water pollution associated with the production of
fossil fuels such as coal or natural gas; use of water for production of primary energy or for
conversion of primary energy into electricity; and disruption of natural habitats. Energy policy


33 Sweeney, p. xv; Raphael J. Heffron, “What is Energy Law,” in Energy Law: An Introduction (Springer
International Publishing, 2015), pp. 1–10 at pp. 3–4. An early example of the tension in energy policy between
economic and national security interests can be seen in the Eisenhower administration’s decision to prohibit the
export of crude oil on national security grounds. See Deon Daugherty, “Limit Crude Imports: Perhaps Eisenhower
Was on to Something,” Rigzone, January 25, 2016,
https://www.rigzone.com/news/oil_gas/a/142660/column_limit_crude_imports_perhaps_eisenhower_was_on_to_so
mething/?all=hg2, accessed August 3, 2018.
34 The U.S. is not unique in its efforts to balance competing objectives in its energy policy. Other countries also

conduct the same balancing exercise when setting energy policy. The World Energy Council has used the term
“Energy Trilemma,” for three (sometimes competing) aspects of energy policy: energy security, energy equity
(accessibility and affordability of energy), and environmental sustainability. World Energy Council Report, “World
Energy Trilemma 2016,” 2016, p. 12. In an annual report published since 2010, the World Energy Council assesses
countries’ energy policy in the “trilemma lens” since “neglecting one dimension of the trilemma can result in
unintended consequences and higher future costs in economic, social and environmental terms.” World Energy
Council, “World Energy Trilemma 2016,” 2016, pp. 10, 25. Another example of using the term energy trilemma is
Australia. See, for example, David Byrne, “Australia’s Energy Trilemma Explained,” The University of Melbourne,
July 3, 2017, https://pursuit.unimelb.edu.au/articles/australia-s-energy-trilemma-explained, accessed August 6, 2018.
35 “Energy commodities are either extracted or captured directly from natural resources (and are termed primary)

such as crude oil, hard coal, natural gas, or are produced from primary commodities. All energy commodities which
are not primary but produced from primary commodities are termed secondary commodities. Secondary energy
comes from the transformation of primary or secondary energy.” See International Energy Agency, Energy Statistics
Manual (Paris: IEA Publications, 2005), p. 18.
36 Sweeney, p. 4.




                                                                                                                  15
      Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18         Page 20 of 129




that has set standards on new and existing sources of these pollutants have had environmental
benefits. 37

        B.       Domestic and International Security

45.     Issues of security include the vulnerability of the U.S. and its allies to military and
terrorist attacks. This important issue has led to the need for strong military and governmental
policies and programs to maintain a strong defense. Military ships, airplanes, motor vehicles,
and land bases use energy of various types, including oil and natural gas. In addition, an
important security issue is the vulnerability of the U.S. to deliberate or accidental restrictions on
oil imports, vulnerability of the U.S. economy to rapid fluctuations in energy prices, or
limitations placed on U.S. foreign-policy options as a result of U.S. dependence on foreign
energy sources. 38

46.     Increases in domestic production of energy have been important in enhancing domestic
and international security. 39 Adequate domestic supplies of oil have assured that the U.S.
military is not dependent on foreign sources of oil, particularly from unstable parts of the world,
such as the Middle East. Energy efficiency in the military, likewise, has reduced the military
dependency on fossil fuels. 40

47.     For at least 60 years, the U.S. has been a net importer of energy, particularly oil. 41
Subsequent to the energy crisis of 1973–1974, public and private sector actions to increase
domestic production of energy, including oil and natural gas, have been important in reducing
net energy imports. Likewise, energy efficiency has allowed the U.S. to reduce energy imports.
The combination of energy efficiency and increased domestic energy production have together

37 Sweeney, p. 4, fn. 4.
38 Sweeney, p. 4.
39 Jason Furman and Gene Sperling, “Reducing America’s Dependence on Foreign Oil As a Strategy to Increase

Economic Growth and Reduce Economic Vulnerability,” August 29, 2013, Obama White House Archives, available
at https://obamawhitehouse.archives.gov/blog/2013/08/29/reducing-america-s-dependence-foreign-oil-strategy-
increase-economic-growth-and-redu, accessed August 2, 2016 (“The increased domestic supply combined with
increased oil efficiency of the economy reduces vulnerability to global supply disruptions and price shocks,
enhancing our national security.”).
40 Sweeney, p. 107. See also The Pew Charitable Trusts Report, “Power Surge: Energy Security and the

Department of Defense,” January 2014, p. 1 (“The research in this report details how defense leaders have initiated
wide-ranging steps to harness advanced technologies to conserve energy, enable on-site production from renewable
sources, and save taxpayers millions of dollars.”).
41 Sweeney, p. 95, Figure 3.11. See also U.S. Energy Information Administration, “May 2018 Monthly Energy

Review,” Table 1.4b Primary Energy Exports by Source and Total Net Imports.


                                                                                                                 16
      Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18        Page 21 of 129




reduced energy imports enough that the U.S. may soon become self-sufficient in energy, thereby
increasing security. 42

        C.       The Economy

48.     Economic issues include growth of GDP, the number and quality of jobs available for the
population, and the distribution of wealth and income. Energy has been a fundamental input to
almost all economic activity. Economic growth, absent changes in energy efficiency, leads to
roughly proportional increases in the use of all forms of energy. 43 Reducing the energy use per
unit of economic activity of productive inputs works in the opposite direction, reducing energy
use. Energy use is influenced by the policy trade-offs between economic growth and energy
efficiency. With additional economic growth, the U.S. population enjoys increases in personal
income. That income is spent on homes, transportation, entertainment, and consumption of
goods, all of which increase use of energy.

49.     Domestic production of energy, including fossil fuels, provides profits to firms and
employment of a labor force. U.S. economic policy has been to provide jobs. 44 Domestic
production of energy, particularly in U.S. regions dependent on fossil fuels, has been a policy
objective for the U.S. derived from the U.S. policy to create jobs and profitable industries. It is a
matter of debate whether production of wind and solar energy would similarly fulfill the
employment policy objective in each area of the country currently dependent on the production
of fossil fuels. 45




42 Sweeney, p. 167.
43 See Shaojian Wang et al., “The Relationship Between Economic Growth, Energy Consumption, and CO2
Emissions: Empirical Evidence from China,” Science of The Total Environment 542, 2016, pp. 360–371 (“Causal
relationships were found to exist between economic growth, energy consumption, and CO2 emissions; specifically, a
bi-directional causal relationship between economic growth and every consumption was identified.”).
44 Congress has established the United States Federal Reserve’s three primary objectives: maximum employment,

stable prices, and moderate long-term interest rates. See “What are the Federal Reserve’s objectives in conducting
monetary policy?” Federal Reserve, June 13, 2018, https://www.federalreserve.gov/faqs/money_12848.htm,
accessed August 3, 2018.
45 One example of this debate are the academic discussions related to Professor Jacobson’s work. A review of one

of Professor Jacobson’s proposals finds that “replacing fossil fuels with renewable technologies like wind and solar
would actually cause a new loss of 1.2 million long-term jobs.” See Steve Everley, “Stanford’s Jacobson Spins
Energy Misinformation (100% renewables fantasy),” MasterResource, 2016,
https://www.masterresource.org/renewable-energy-and-jobs/stanfords-jacobson-spins-misinformation-in-the-
energy-debate-100-renewables-fantasy/, accessed August 3, 2018.


                                                                                                                  17
      Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18      Page 22 of 129




50.      Energy efficiency has been a U.S. policy that helps the economy while reducing the use
of energy, for a given level of economic activity. Reductions in the government use of energy
have provided savings for the federal government, reduced the federal deficit, and reduced the
balance of the trade deficit. 46 Cost-effective reductions in the use of energy by businesses can
make them more profitable and thus increase GDP. Cost-effective reductions in the use of
energy by households can leave more disposable income available for other purposes.
Particularly for low-income households, reductions in energy costs can be important for overall
well-being. Reduced use of electricity has avoided the need to construct thousands of megawatts
of new electric generation stations, saving billions of dollars. 47

         D.       Energy Policy Involves Trade-Offs among the Three Goals

51.      As described above, environmental protection, although an important goal, is not the only
consideration in setting national energy policies. The U.S. has attempted to balance the three
competing fundamental objectives: economic growth/welfare, domestic and international
security, and environmental objectives. Some actions, such as energy efficiency, could be
supportive of all three objectives. Other actions, such as encouraging domestic production of
natural gas, could be supportive of all three in the short run—for example, by substituting for
coal and thus decreasing CO2 emissions—while harmful for environmental objectives in the long
run. Other actions, such as encouraging domestic production of oil, can be valuable for national
security and for economic objectives, even though they may be harmful for environmental goals.

52.      Energy and energy/environmental policy in the U.S., at least since the energy crisis of
1973–1974, requires trade-offs among these various fundamental objectives. In the U.S.,
Congress and the federal administrations have debated these trade-offs and have made regulatory
decisions that explicitly took these trade-offs into account. 48 For example, as discussed below,
automotive fuel economy standards have reduced GHG emissions, increased energy security, but
have led to higher economic costs for consumers.




46 Sweeney, p. 5.
47 Sweeney, p. 5.
48 Examples of energy policies and their trade-offs are discussed in Sections VII-IX.




                                                                                                         18
         Case 6:15-cv-01517-AA        Document 338-4       Filed 08/24/18     Page 23 of 129




53.        There has not been consistent agreement over time among the general U.S. population or
Congress about the relative weights that should be given to the various objectives of energy
policy. For example, in the decades after the oil crisis of 1973–1974, a great weight was given to
national security. Over time, the weight given to the environmental objective has appeared to
grow. In addition, there has always been a heavy weight on the economic growth objective, but
the weight given to the economic well-being of various regions of the country appears to change
over time.

54.        Moreover, there has not been consistent agreement among people or between political
parties about the relative weights that should be given to the various objectives. Differences
among U.S. citizens has played out in Congress and within federal administrations, with some
elected representatives placing more weight on economic growth, others placing more weight on
environmental protection, and still others placing more weight on national security. Even within
a given category, there are differences. For example, many concerned about the environment
could put more weight on protection of local land use while others may be more concerned with
global climate change. Within the economic objective, some could put more weight on
economic welfare of particular disadvantaged regions and others more weight on the overall rate
of economic growth.

55.        Given the differences in the relative weights placed on the various objectives—
differences across people and over time—some of the trade-offs have favored the environmental
objective, others the national security objective, and still others the economic objective. Indeed,
some trade-offs have benefited all three objectives. For me this is not surprising in a democratic
society.

56.        In contrast, Plaintiffs adopt a narrow, one-dimensional view of energy policy, and appear
to imply that U.S. policy should singularly focus on reducing the production and use of fossil
fuels. They appear to allege that the U.S. Constitution requires the government to determine
energy policy solely on the basis of its environmental effects, and in particular its effect on GHG
emissions. 49 Plaintiffs allege that the U.S. Constitution should not allow government policies
that permit, subsidize, and create incentives for the production and consumption of fossil fuels,


49   Complaint, ¶¶8, 286, 303–305.


                                                                                                    19
      Case 6:15-cv-01517-AA            Document 338-4           Filed 08/24/18       Page 24 of 129




and criticize the U.S. government’s alleged failure to develop policies that reduce fossil fuel
production and consumption. 50 They do not acknowledge the other objectives of energy
policy—that is, national/international security and economic growth/health—nor do they seem to
recognize that some of the policies they criticize have supported these other two objectives.
Plaintiffs also overlook that some U.S. policies have been very supportive of environmental
goals.

57.      An early example illustrates the federal government’s recognition that energy policy
involves complex trade-offs and should not be a narrow, one-dimensional focus on one single
objective.

58.      In 1973, during the energy crisis resulting from the oil embargo, the Nixon administration
announced Project Independence, an energy policy balancing economic and national security
concerns with a goal of achieving U.S. energy self-sufficiency by 1980. 51 The Project
Independence Report, published by the U.S. Federal Energy Administration in 1974, made it
clear that U.S. energy policy, while addressing issues of national security, must take into account
various impacts on the economy and the environment. The report stated: 52
         “The embargo made obvious the need to reevaluate our domestic and international energy
         policies and to fashion a new energy program to hold our vulnerability to acceptable
         levels.
         …
         “Unfortunately, the reduction of imports, if it means the substitution of more expensive
         domestic energy sources, could very easily be accompanied by much higher domestic
         energy prices, inflation, a drop in real gross national product (GNP), supply risks, and a
         number of other undesirable effects, such as environmental degradation and depletion of
         reserves.
         …
         “Any policy which reduces our dependence on imports and economic vulnerability to
         supply disruptions will have other effects that must be considered. These are discussed
         below.
         The Domestic Economic Impact of the Strategy. The overall economic impact of an
         energy strategy can be measured through the standard indicators -- real growth in the

50 Complaint, ¶¶99, 106.
51 Richard Nixon, “Address to the Nation About Policies To Deal With the Energy Shortages,” The American
Presidency Project, November 7, 1973, http://www.presidency.ucsb.edu/ws/?pid=4034, accessed August 3, 2018.
52 Federal Energy Administration, “Project Independence,” Project Independence Report, November 1974, pp. 18–

20, https://catalog.hathitrust.org/Record/000686195.


                                                                                                            20
      Case 6:15-cv-01517-AA             Document 338-4          Filed 08/24/18       Page 25 of 129




        GNP, the rate of inflation, and the unemployment rate. The effect on the balance of
        payments, and any extraordinary impact concentrated on particular localities, economic
        sectors or income groups, must also be measured.
        The Environmental Impact of the Strategy. The quality of life is measured in more than
        economic terms, and environmental quality is a key element of such an assessment. In
        addition to air and water pollution, the impact on land use and recreation for each energy
        strategy must also be measured. This is usually a very difficult evaluation to perform,
        because the trade-offs are incommensurate. How, for instance, should one value the
        preservation of a remote, pristine Alaska wilderness area versus the development of
        offshore oil near major recreational areas on the north east coast?
        The Degree of Federal Intervention Required to Implement the Strategy. An otherwise
        acceptable strategy might involve an intolerable or unfeasible amount of Federal
        intervention. Under this criterion are included financial intervention in the form of taxes
        or subsidies, and new energy- related regulations. The analysis must also include
        institutional intervention into environmental, health and safety matters, and licensing and
        regulatory barriers.
        The Effect of the Strategy on World Oil Prices. If domestic strategies can significantly
        affect U.S. imports, then such strategies may also affect the world supply/demand
        balance. Hence, they must be weighed in terms of their international ramifications and,
        consequently, their impact on U. S. import price expectations.”

59.     In recognition of the complexity of energy policy, the Project Independence Report
identified four broad strategic alternatives for U.S. national energy policies to achieve U.S.
energy self-sufficiency, recognizing that “practically speaking, any final Project Independence
program would almost surely be a mixed strategy taking elements from each.” 53
        “A Base Case, in which existing policies continue and only limited new actions are
        considered.
        An Accelerated Supply Strategy, in which the Federal Government takes a number of key
        actions to increase the domestic supply of energy ….,
        A Conservation Strategy, which would reduce demand for petroleum …. ,
        An Emergency Preparedness Strategy ….”

60.     These broad strategic alternatives reflected the explicit understanding that any individual
alternative would have impacts on the environment, the economy, and on national security.




53 Federal Energy Administration, “Project Independence,” Project Independence Report, November 1974, p. 20,
https://catalog.hathitrust.org/Record/000686195.


                                                                                                               21
      Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 26 of 129




61.     The Nixon administration, and subsequently the Ford and Carter administrations, created
institutions and regulations and signed legislation in pursuit of these strategic alternatives and
broad policy goals. 54

62.     In 1977, the Carter administration combined the various energy-related offices, the
Federal Power Commission, and other agencies into the DOE. 55 The Congressional Findings in
the Department of Energy Organization Act of 1977 make it clear that the DOE would support
multiple objectives: 56
        “The Congress of the United States finds that—
                 (1) the United States faces an increasing shortage of nonrenewable energy
                 resources;
                 (2) this energy shortage and our increasing dependence on foreign energy supplies
                 present a serious threat to the national security of the United States and to the
                 health, safety and welfare of its citizens;
                 (3) a strong national energy program is needed to meet the present and future
                 energy needs of the Nation consistent with overall national economic,
                 environmental and social goals; …”

63.     The major initiatives in U.S. energy policy since the creation of these institutions provide
many examples of the tension between the elements of the Energy Policy Triangle.

64.     I now turn to what has been accomplished within the framework of the Energy Policy
Triangle.


VI.     The U.S. Economy Has Decarbonized 66% since 1973


65.     To analyze the changes in the CO2 emissions from energy use in the U.S. economy, one
can use the Kaya identity, which expresses CO2 emissions as the product of three factors: the




54 In 1973 the Nixon administration created several energy-related offices, which subsequently were combined into
the Federal Energy Administration in 1974. The Energy Research and Development Administration was created by
the Energy Reorganization Act of 1974. Also in 1974 the International Energy Agency was founded as a Paris-
based intergovernmental organization under the Organization for Economic Co-operation and Development
(OECD). Sweeney, pp. 81, 91, 137.
55 42 U.S.C., §§7111, 7151.
56 42 U.S.C., §7111.




                                                                                                               22
      Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 27 of 129




amount of CO2 emissions per unit of energy use, the amount of energy use per unit of real GDP,
and the real GDP. 57 Mathematically, this identity can be written as follows:

                          CO2 = GDP x (CO2/Energy Use) x (Energy Use/GDP)

66.     The Kaya identity can also be used to explain changes in the “carbon intensity” of the
economy. Carbon intensity is the total CO2 emission per dollar of real (inflation adjusted) GDP.
Dividing each side of the equation above gives carbon intensity of the economy as a product of
two factors:

                          CO2/GDP = (CO2/Energy Use) x (Energy Use/GDP)

67.     The first term on the right-hand side of this identity, the CO2 emissions per unit of energy
use, is the carbon intensity of energy consumption. For example, if low carbon or carbon free
fuels substituted for fossil fuels and the carbon intensity of energy consumption were reduced by
11%, this identity shows that, with all else equal, the CO2 emissions per unit of GDP would be
likewise cut by 11%.

68.     The second term on the right-hand side is the energy use per unit of GDP, the energy
intensity of the economy. If the energy intensity of the economy were to decline by 50%, this
identity shows that, with all else equal, the carbon intensity of the economy would likewise be
cut by 50%. If GDP is not influenced, CO2 emissions per unit of GDP would be cut by 50%.

69.     The decomposition of carbon intensity of the economy into the two components of
energy intensity of the economy and carbon intensity of energy consumption helps in separating
the historical impacts of energy efficiency from those of changing energy supply technologies.

70.     Enhancement of energy efficiency reduces the energy intensity of the economy.
Provision of low carbon or carbon-free supplies of energy reduces the carbon intensity of the
energy system. Either reduction taken alone reduces the carbon intensity of the economy.




57An identity is a mathematical equality that must always be true no matter the value of the variables. The
particular identity, the Kaya identity, is named after Yoichi Kaya. See Yoichi Kaya and Keiichi Yokoburi,
Environment, Energy, and Economy: Strategies for Sustainability (United States of America: United Nations
University Press, 1997).


                                                                                                              23
        Case 6:15-cv-01517-AA              Document 338-4                  Filed 08/24/18           Page 28 of 129




71.         For a given GDP growth over time, the lower the carbon intensity of the economy, the
lower are carbon emissions. Reductions in carbon intensity have reduced carbon emissions from
what they would have been otherwise.

72.         GHG emissions have in fact been reduced from what they would otherwise have been,
given the economic growth in the U.S. Energy policy has provided research and development,
direct actions, regulations, and incentives to decarbonize the economy.

              Figure 4. Factors Leading to Reduced Carbon Intensity of U.S. Economy
                                                      1973–2017
   Index of CO2 per
  Dollar of Real GDP
      (1973 = 1)

       1


      0.9

                                                                                                 Reduction in
      0.8                                                                               Energy Intensity of the Economy

      0.7


      0.6


      0.5

                                       Carbon Intensity of the Economy
      0.4


      0.3
                                                                         Decarbonization of Energy System
      0.2


      0.1


       0




Source: U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Table 1.7 Primary Energy
Consumption, Energy Expenditures, and Carbon Dioxide Emissions Indicators, Table 12.1 Carbon Dioxide Emissions From
Energy Consumption by Source; Federal Reserve Bank of St. Louis

73.         As a result of the actions of many entities, including the federal government, the U.S. has
greatly decarbonized since the energy crisis of 1973–1974. This can be seen in Figure 4. The
red line shows the carbon intensity of the U.S. economy from 1973 through 2017, relative to the
carbon intensity in 1973. The data are normalized relative to 1973 levels, so the carbon intensity
of the economy is shown as 1.0 in 1973. Figure 4 shows that the carbon intensity has declined
by 66%: the carbon intensity of the U.S. economy in 2017 was only 34% of its value in 1973.




                                                                                                                          24
       Case 6:15-cv-01517-AA                  Document 338-4         Filed 08/24/18            Page 29 of 129




74.         Figure 4 also decomposes the reduction in carbon intensity into the two factors in the
Kaya identity: the impacts of reduced energy intensity since 1973 (shown in green), and impacts
of reduced carbon intensity of energy consumption (shown in grey.) Together, these two factors
account for the 66% reduction in the carbon intensity of the U.S. economy.

75.         The energy intensity has decreased 59% from its 1973 value: in 2017 the energy
intensity of the U.S. economy is only 41% of its value in 1973. The carbon intensity of energy
has decreased 16%: U.S. energy consumption in 2017 is 84% as carbon intense as it was in 1973.
These two factors are multiplicative, as shown in the Kaya identity, leading to the reductions in
2017 carbon intensity of the U.S. economy to 34% of its value in 1973.

76.         Although the carbon intensity of the economy has decreased sharply, CO2 emissions have
increased since 1973 because the economy has continued to grow. This can be illustrated by
Figure 5, which shows the various factors in the Kaya identity over time intervals. The data
plotted are the average annual rates of change of each variable over the time intervals.

                          Figure 5. Factors in the Kaya Identity by Time Interval
                                                     1960–2017
                                                                                   Energy Intensity of U.S. Economy
   Average Annual                                                                  Carbon Intensity of Energy Consumption
   Rate of Change
                                                                                   Carbon Intensity of U.S. Economy
      4%
                                                                                   GDP
                                                                                   Total CO₂ From Energy
      3%


      2%


      1%


      0%


      -1%


      -2%


      -3%


      -4%
                1960 – 1973     1973 – 1985        1985 – 1995       1995 – 2005         2005 – 2017             2010 – 2017


Source: U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Table 1.7 Primary Energy
Consumption, Energy Expenditures, and Carbon Dioxide Emissions Indicators, Table 12.1 Carbon Dioxide Emissions From
Energy Consumption by Source; U.S. Energy Information Administration Report, “Annual Energy Review 2011,” Table 11.1
Carbon Dioxide Emissions from Energy Consumption by Source, Selected Years, 1949-2011; Federal Reserve Bank of St. Louis




                                                                                                                               25
         Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18   Page 30 of 129




77.        In Figure 5, the blue bars represent the annual rate of change of the energy intensity of
the U.S. economy; the red bars represent the annual rate of change of the carbon intensity of
energy consumption. The size of these two bars add together to give the green bar, the annual
rate of change of the carbon intensity of the U.S. economy. 58 The purple bar shows the annual
rate of change of the real (inflation-adjusted) GDP of the economy. The green and the purple bar
add together to show the annual rate of change of CO2 emissions from the use of energy in the
U.S., represented by the black bars.

78.        Figure 5 shows that prior to the 1973–1974 energy crisis, the energy intensity of the
economy had been declining by only 0.3% per year and the carbon intensity of the economy had
been declining by only 0.6% per year. With the GDP increasing by 4.4% per year, CO2
emissions from energy use increased by 3.8% per year, on average.

79.        However, in the years after the crisis, the energy intensity of the economy started
decreasing much more rapidly. In the 12 years immediately after the energy crisis—a time of
high energy prices and considerable energy efficiency policy—energy intensity decreased on
average by 2.7% per year. Subsequent intervals showed energy intensity falling by between
1.1% and 2.4% per year. Carbon intensity of the economy decreased by 3.0% annually in the 12
years immediately after the energy crisis and in subsequent 10–year or 12–year intervals by
between 1.4% and 2.8% annually.

80.        An important policy goal for the U.S. economy, however, has been economic growth. In
each time period considered, real GDP grew on average between 1.6% and 4.4% annually. This
rate of economic growth was greater than the decline of carbon intensity in all but two of the
decades. Specifically, CO2 emissions from the energy sector increased in all but the 12 years
immediately following the energy crisis and the most recent 11 years.

81.        This figure illustrates the policy trade-offs facing the U.S. economy. If the decrease in
carbon intensity of the economy had remained at the levels shown in Figure 5, but all economic
growth had stopped as of 1973, CO2 emissions from energy use would have declined by 66%
over that time. However, the real GDP in 2017 would be only a third of its actual level. It is



58   The rates of change add together because the factors are multiplicative.


                                                                                                         26
        Case 6:15-cv-01517-AA       Document 338-4       Filed 08/24/18     Page 31 of 129




dubious whether any federal administration, Republican or Democratic, would have considered
that as a preferable outcome.

82.      Conversely, if the real GDP growth rates had remained at the levels shown in Figure 5,
but there had been no reduction in either the carbon intensity of energy use or the energy
intensity of the economy, CO2 emissions from energy use would be roughly three times as large
as they are currently. Having worked with political entities over the course of my career,
beginning with my time as an Office Director of the Federal Energy Administration (1974
through 1976) I opine that no federal administration, Republican or Democratic, would have
considered that as a preferable outcome. And I personally have not and would not advocate such
an alternative.

83.      In addition, Figure 5 shows that during the time interval from 2005 through 2017, the
carbon intensity of the consumed energy decreased by over 1% per year, further decarbonizing
the U.S. economy. This trend came about because the fractions of primary energy consumed in
the U.S. changed. For primary energy sources with carbon content lower than the weighted
average of the primary energy in the U.S. system, increases in market shares decrease the carbon
intensity of energy consumed. Similarly, for primary energy sources with carbon content greater
than the weighted average of the primary energy in the U.S. system, decreases in market shares
decrease the carbon intensity of energy consumed.

84.      Figure 6 shows the impacts of such changing market shares on the carbon intensity of the
energy system, from 2005 through 2017. It demonstrates that the greatest impact on carbon
intensity of the energy system has been the decrease in market share of coal, primarily because
natural gas is substituting for coal in electricity generation. Adding together two impacts—that
of decreased market share of coal and that of increased market share of natural gas (which is less
carbon intense than the overall U.S. energy system)—shows that this substitution of natural gas
in place of coal has decarbonized the economy by 6% over the 11-year period from 2005 through
2017.




                                                                                                   27
        Case 6:15-cv-01517-AA                    Document 338-4       Filed 08/24/18          Page 32 of 129




                              Figure 6. Components of Energy System Decarbonization
                                                        2005–2017

         2005        2006          2007   2008   2009   2010   2011   2012    2013     2014     2015    2016     2017
       0%




      -2%

                         Solar

                         Geothermal
      -4%
                         Wind

                         Biomass

      -6%                Petroleum

                         Nuclear

                         Natural Gas
      -8%
                         Coal

                         Hydroelectric

      -10%




      -12%

    % Change in Carbon
 Intensity Relative to 2005


Source: U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Table 1.3 Primary Energy Consumption
by Source, Table 12.1 Carbon Dioxide Emissions from Energy Consumption by Source



85.          In addition, the increase in biomass used for energy and the increase in market share of
wind power have further contributed to this 12% decarbonization through changing market
shares of primary energy used.

86.          These data show that reductions in energy intensity of the economy and in carbon
intensity of energy consumption have been fundamental in reducing emissions of CO2 from
levels that would have occurred without these intensity reductions. In the next sections I
describe federal policy actions that helped create these intensity reductions. I begin discussing
energy efficiency, which reduced the energy intensity of the economy. Subsequently I discuss
the policies that have encouraged the growth of low carbon or near-zero-carbon energy
production technologies.




                                                                                                                     28
       Case 6:15-cv-01517-AA             Document 338-4          Filed 08/24/18        Page 33 of 129




VII.    Federal Programs and Policies Have Contributed Substantially to the
        Decarbonization of the U.S. Economy


87.     Plaintiffs’ experts and the Complaint assert that the federal government has done little to
reduce GHG emissions. 59 However, beginning in 1973, federal policy changes have contributed
substantially to the decarbonization of the U.S. economy, even while addressing the multiple
competing fundamental policy objectives.

        A.       Affirmative Policy Steps Encouraging Energy Efficiency

88.     The federal government has taken affirmative policy steps that have reduced emissions
by increasing energy efficiency.

89.     An example of such an affirmative policy was the Energy Policy and Conservation Act of
1975, which was motivated by the energy crisis of 1973–1974 and arguably was framed by the
discussion in the Project Independence Report. 60 This act established two important efficiency
standards programs that have had a significant impact on U.S. energy efficiency. The first is the
CAFE Standards, which placed minimum efficiency standards on each manufacturer of new cars
and light-duty trucks sold in the U.S. 61 The CAFE Standards were later strengthened by the
Energy Independence and Security Act of 2007 62 and later by the Obama Administration. 63 The
CAFE Standards have helped reduce the fuel consumption per mile of new vehicles by 57%
from 1973 to 2013, 64 although some of these reductions would have come about because of
increased gasoline prices and increased competition from makers of small foreign cars.

90.     The Energy Policy and Conservation Act of 1975 also established federal appliance
efficiency standards. 65 The program’s standards and list of appliances were strengthened and
expanded under the National Energy Conservation Policy Act of 1978, the National Appliance
Energy Conservation Act of 1987, the Energy Policy Act of 1992, and the Energy Policy Act of


59 Complaint, ¶98, Hansen Report, pp. 3–4, and Declaration of James Gustave “Gus” Speth in Support of Plaintiffs’
Response in Opposition to Defendants’ Motion for Summary Judgment, June 27, 2018 (“Speth Declaration”), ¶10.
60 Sweeney, p. 25.
61 Sweeney, p. 25.
62 Sweeney, p. 25.
63 Sweeney, p. 25.
64 Sweeney, p. 25.
65 Sweeney, p. 137.




                                                                                                                29
      Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18       Page 34 of 129




2005. 66 Currently, the efficiency standards are applied to products that account for more than
90%, 60%, and 30% of residential, commercial and industrial energy use, respectively. 67 In
addition, several states have enacted their own efficiency standards. The appliance standards
have helped to improve the efficiency of products such as refrigerators (which use 75% less
energy relative to 1973, despite being larger), washing machines (which use 70% less energy
relative to 1990), dishwashers (which use 40% less energy relative to 1990), and air conditioners
(which use 50% less energy relative to 1990). 68

91.     Concurrent to the appliance efficiency standards program, the federal government, in
particular the DOE, the Federal Trade Commission, and the EPA, launched information
programs to encourage energy-use reduction. 69 In 1992, the EPA launched the Energy Star
program, a voluntary program established to identify and promote energy-efficient products and
buildings in order to reduce energy consumption, improve energy security, and reduce
pollution. 70

92.     The federal government has relied heavily on a combination of strategies for
appliances—technological advances funded by the DOE, advances by private sector
manufacturers, appliance efficiency standards that progressively pushed and pulled newer
technologies into the marketplace, and Energy Star labeling. Table 1 summarizes the federal
equipment efficiency standards for appliances typically sold in the residential sector. Table 2
provides a list of appliances subject to equipment efficiency standards in the
commercial/industrial sector.




66 Sweeney, p. 137.
67 “Saving Energy and Money with Appliances and Equipment Standards in the United States,” U.S. Department of
Energy, January 2007,
https://www.energy.gov/sites/prod/files/2017/01/f34/Appliance%20and%20Equipment%20Standards%20Fact%20S
heet-011917_0.pdf.
68 “Saving Energy and Money with Appliances and Equipment Standards in the United States,” U.S. Department of

Energy, January 2007,
https://www.energy.gov/sites/prod/files/2017/01/f34/Appliance%20and%20Equipment%20Standards%20Fact%20S
heet-011917_0.pdf.
69 Sweeney, p. 128.
70 Sweeney, p. 128.




                                                                                                           30
     Case 6:15-cv-01517-AA                    Document 338-4               Filed 08/24/18            Page 35 of 129




                           Table 1. Residential National Appliance Standards

                                                                 Last
                                            Initial            Standard        Compliance          Issued        States With
         Product Covered                  Legislation          Published         Date                By           Standard[1]
Battery Chargers                         EPACT 2005              2016            2018             DOE          CA, OR
Boilers                                  NAECA 1987              2016            2021             DOE
Ceiling Fans                             EPACT 2005              2017            2020             DOE
Central Air Conditioners and Heat        NAECA 1987              2017            2023             DOE
Pumps
Clothes Dryers                           NAECA 1987               2011              2015          DOE
Clothes Washers                          NAECA 1987               2012              2018          DOE
Compact Audio Equipment                                                                                        CA, CT, OR
Computers and                                                                                     N/A          CA
Computer Systems
Cooking Products                         NAECA 1987               2009              2012          DOE
Dehumidifiers                            EPACT 2005               2016              2019          DOE
Direct Heating Equipment[2]              NAECA 1987               2016              None          DOE
Dishwashers[2]                           NAECA 1987               2016              None          DOE
DVD Players and Recorders                                                                                      CA, CT, OR
External Power Supplies                  EPACT 2005               2014              2016          DOE          CA
Faucets                                  EPACT 1992               1992              1994          Congress     CA, CO
Furnace Fans                             EPACT 2005               2014              2019          DOE
Furnaces                                 NAECA 1987               2007              2015          DOE
Microwave Ovens                          NAECA 1987               2013              2016          DOE
Miscellaneous Refrigeration                                       2016              2019          DOE          CA
Products
Pool Heaters                             NAECA 1987               2010              2013          DOE
Pool Pumps                                                        2017              2021          DOE          AZ, CA, CT, WA
Portable Electric Spas                                                                                         AZ, CA, CT, OR,
                                                                                                               WA
Refrigerators and Freezers               NAECA 1987               2011              2014          DOE
Room Air Conditioners                    NAECA 1987               2011              2014          DOE
Showerheads                              EPACT 1992               1992              1994          Congress     CA, CO
Televisions                              NAECA 1987                                               N/A          CA, CT, OR
Toilets                                  EPACT 1992               1992              1994          Congress     CA, CO, GA, TX
Water Heaters                            NAECA 1987               2010              2015          DOE

Source: Appliance Standards Awareness Project

Note:
[1] In addition to federal standards, some states have set their own standards, including for some appliances in which the
    federal standards don't yet exist.
[2] DOE is required to issue either a proposed revised standard or a determination that no change is warranted no later than
    six years after the last final rule amending a standard. Products for which a publication date is listed in the table for the
    last standard but for which no compliance date is listed are those for which DOE determined that no change to the
    standard was warranted.




                                                                                                                                    31
          Case 6:15-cv-01517-AA                  Document 338-4               Filed 08/24/18           Page 36 of 129




                    Table 2. Commercial and Industrial National Appliance Standards

                                                                     Last
                                                 Initial           Standard       Compliance         Issued         States With
           Product Covered                     Legislation         Published        Date               By           Standard[1]
Automatic Commercial Ice Makers                EPACT 2005             2015           2018           DOE
Boilers, Commercial                            EPACT 1992             2009           2012           DOE
Clothes Washers, Commercial                    EPACT 2005             2014           2018           DOE
Commercial CAC and HP (65,000                  EPACT 1992             2016           2018           DOE
Btu/hr to 760,000 Btu/hr)
Commercial CAC and HP (<65,000                 EPACT 1992              2015             2017        DOE
Btu/hr)
Commercial CAC and HP (Water-                  EPACT 1992              2012             2013        DOE
and Evaporatively-Cooled)
Commercial Refrigeration Equipment             EPACT 2005              2014             2017        DOE

Commercial Warm Air Furnaces                   EPACT 1992              2016             2023        DOE
Commercial Water Heaters                       EPACT 1992              2001             2003        DOE
Computer Room Air Conditioners                 EPACT 1992              2012             2013        DOE
Distribution Transformers: Liquid-             EPACT 1992              2013             2016        DOE
Immersed
Distribution Transformers: Low-                EPACT 2005              2013             2016        DOE
Voltage Dry-Type
Distribution Transformers: Medium-             EPACT 1992              2013             2016        DOE
Voltage Dry-Type
Electric Motors                                EPACT 1992              2014             2016        DOE
Hot Food Holding Cabinets                                                                                        CA, CT, DC, MD,
                                                                                                                 NH, OR, RI, WA

Packaged Terminal AC and HP                    EPACT 1992              2015             2017        DOE
Pre-Rinse Spray Valves                         EPACT 2005              2016             2019        DOE
Pumps, Commercial and Industrial               EPACT 1992              2016             2020        DOE
Single Package Vertical Air                    EPACT 1992              2015             2019        DOE
Conditioners and Heat Pumps
Small Electric Motors                          EPACT 1992              2010             2015        DOE
Unit Heaters                                   EPACT 2005              2005             2008        Congress
Urinals                                        EPACT 1992              1992             1994        Congress     CA, CO, TX
Vending Machines                               EPACT 2005              2016             2019        DOE
Walk-In Coolers and Freezers                   EISA 2007               2014             2017        DOE
Water Dispensers                                                                                                 CA, CT, DC, MD,
                                                                                                                 NH, OR, RI, WA
Water-Source Heat Pumps                        EPACT 1992              2015             2015        DOE

     Source: Appliance Standards Awareness Project

     Note:
     [1] In addition to federal standards, some states have set their own standards, including for some appliances in which the
         federal standards don't yet exist.

93.         In the mid-1970s, NASA began the Aircraft Energy Efficiency Program (“AEEP”) to
make flight operations more efficient. 71 The AEEP led directly to the development of the
winglet, which increased fuel efficiency of aircraft by 6%–7% and was adopted by the private




71   Sweeney, p. 40.


                                                                                                                                  32
      Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18       Page 37 of 129




sector. 72 Additional AEEP projects led to significant improvements in the fuel efficiency of
commercial airplanes. An estimate from 1999 suggested that aircraft energy efficiency improved
since the mid-1970s by an average of 3%–4% each year, reducing the fuel required for a seat by
50%. 73

94.       The federal government also enacted federal lighting standards as part of the Energy
Independence and Security Act of 2007 (“EISA”), mandating that general service incandescent
lamps must use roughly at least 27% less energy by 2014 compared to “old-style” incandescent
lightbulbs, and that most lightbulbs must be 60%–70% more efficient than the standard
incandescent lights by 2020. 74 Essentially, the EISA prohibited sale of lightbulbs that do not
meet a minimum efficiency standard of 45 lumens per watt, effective January 2020. 75 The DOE
estimated that these regulations will result in energy savings of 14 quadrillion BTU over 30 years
(2008–2038). 76 Table 3 provides a list of lighting products subject to efficiency standards.




72 Sweeney, p. 40.
73 Mark D. Bowles, “The ‘Apollo’ of Aeronautics: NASA’s Aircraft Energy Efficiency Program 1973 – 1987”
(Washington, DC: NASA, 2010), p. xv, https://www.nasa.gov/pdf/601247main_ApolloAeronautics-ebook.pdf.
74 Sweeney, p. 137.
75 Colleen L.S. Kantner et al., “Impact of the EISA 2007 Energy Efficiency Standard on General Service Lamps,”

Berkeley Lab, LBNL-1007090, January 2017, p. 1,
https://www.eenews.net/assets/2017/05/04/document_gw_04.pdf.
76 Colleen L.S. Kantner et al., “Impact of the EISA 2007 Energy Efficiency Standard on General Service Lamps,”

Berkeley Lab, LBNL-1007090, January 2017, p. 3,
https://www.eenews.net/assets/2017/05/04/document_gw_04.pdf.


                                                                                                                 33
          Case 6:15-cv-01517-AA                  Document 338-4               Filed 08/24/18           Page 38 of 129




                                 Table 3. Lighting National Appliance Standards


                                                                     Last
                                                 Initial           Standard       Compliance         Issued           States With
          Product Covered                      Legislation         Published        Date               By             Standard[1]
Candelabra & Intermediate Base                                        2007           2012           Congress
Incandescent Lamps
Ceiling Fan Light Kits                       EPACT 2005                2016             2019        DOE
Compact Fluorescent Lamps                    EPACT 2005                2005             2006        Congress
Deep-Dimming Fluorescent Ballasts                                                                                CA

Fluorescent Lamp Ballasts                    NAECA 1988                2011             2014        DOE
General Service Fluorescent Lamps            EPACT 1992                2015             2018        DOE

General Service Lamps                        EISA 2007                 2007             2012        Congress
HID Lamps                                    EPACT 1992                2015                         DOE
High Light Output Double-Ended                                                                                   OR
Quartz Halogen Lamps
Illuminated Exit Signs                       EPACT 2005                2005             2006        Congress
Incandescent Reflector Lamps                 EPACT 1992                2015             None        DOE
Mercury Vapor Lamp Ballasts                  EPACT 2005                2005             2008        Congress
Metal Halide Lamp Fixtures                   EISA 2007                 2014             2017        DOE
Small-Diameter Directional Lamps                                                                                 CA
Torchiere Lighting Fixtures                  EPACT 2005                2005             2006        Congress
Traffic Signals                              EPACT 2005                2005             2006        Congress


     Source: Appliance Standards Awareness Project

     Note:
     [1] In addition to federal standards, some states have set their own standards, including for some appliances in which the
         federal standards don't yet exist.




95.         In addition to standards, the federal government sponsors R&D programs designed to
enhance energy efficiency. One example of the many R&D successes stemming from energy
efficiency research is in refrigeration. Prior to 1973, the electricity used by new refrigerators
installed in U.S. households was increasing year after year. In 1950 the average new refrigerator
used about 400 kWh per year; that had increased to about 1,800 kWh per year as of 1973. 77

96.         As a direct response to the increasing use of electricity in refrigerators, in 1977 the DOE,
through Oak Ridge National Laboratory, supported research into compressor efficiency, with an
intention to decrease electricity use by refrigerator-freezers and supermarket refrigeration



77“Energy Research at DOE, Was It Worth It? Energy Efficiency and Fossil Energy Research 1978 to 2000,”
Committee on Benefits of DOE R&D on Energy Efficiency and Fossil Energy, Board on Energy and Environmental
Systems, Division on Engineering and Physical Sciences, National Research Council (Washington, DC: National
Academy Press, 2001) p. 97.


                                                                                                                                    34
      Case 6:15-cv-01517-AA               Document 338-4           Filed 08/24/18         Page 39 of 129




systems. The DOE “targeted both improved components, starting with the electricity-intensive
refrigerator compressor, and computer tools for analyzing refrigerator design options. Early
successes included a compressor system that achieved 44 percent efficiency improvement over
the technology commonly used in refrigerators of the late 1970s.” 78

97.      Subsequently, actions by many organizations collectively transformed the refrigerator
market so that now the average new refrigerator uses less than 500 kWh per year, even though
the average size of new refrigerators is larger than in 1973. 79 After the technological advances,
these organizations created an innovative incentive for refrigerator manufacturers to conduct
R&D targeted toward energy efficiency, called the Super Efficient Refrigerator Program
(“SERP”). The first “Golden Carrot” program to be implemented in the U.S., SERP was a
competition among refrigerator manufacturers designed to accelerate development and
commercialization of super-efficient refrigerators. SERP featured a $30 million award,
competitively given to the refrigerator manufacturer that could develop, distribute, promote, and
sell the most energy-efficient, CFC-free refrigerator/freezer in the most cost-effective manner
possible. 80 Whirlpool was the ultimate winner, and the SERP led to other efforts to combine
federal R&D efforts with upstream manufacturing incentives. 81

98.      Once economically attractive reductions in energy use were possible, refrigerator
manufacturers embedded this technology into some models they put on the market. Utilities,
particularly those part of SERP, had promised to provide rebates in their service areas, thereby
providing a market pull to increase market share for the winner. 82

99.      Once energy efficient refrigerators were successfully commercialized, the State of
California imposed a sequence of appliance efficiency standards for refrigerators sold in


78 “Energy Research at DOE, Was It Worth It? Energy Efficiency and Fossil Energy Research 1978 to 2000,”
Committee on Benefits of DOE R&D on Energy Efficiency and Fossil Energy, Board on Energy and Environmental
Systems, Division on Engineering and Physical Sciences, National Research Council, (Washington, DC: National
Academy Press, 2001) pp. 95–96.
79 Sweeney, p. 23.

80 With consent of public utilities commissions, six utilities formed SERP Inc. for the Golden Carrot program and

ultimately 18 other public and private utilities, in partnership with the EPA and environmental groups, joined the
effort. The utilities promised to provide rebates in their service areas, thereby increasing the market share for the
winner. Sweeney, p 140, fn. 19.
81 See National Renewable Energy Laboratory, NREL/TP-461-7281, “The Super Efficient Refrigerator Program:

Case Study of a Golden Carrot Program,” July 1985, http://www.nrel.gov/docs/legosti/old/7281.pdf.
82 Sweeney, p. 141.




                                                                                                                   35
       Case 6:15-cv-01517-AA        Document 338-4         Filed 08/24/18     Page 40 of 129




California. Additional private sector and public sector research was further motivated by these
standards, and this research led to further efficiency improvements. 83

100.    In turn, those additional efficiency improvements led to even tighter California efficiency
standards. Federal standards followed, each requiring lower electricity use than the previous
standards. As a result of this combination of private sector and public sector actions, the average
electricity consumption of a new refrigerator decreased 72% from 1973–2014. 84

101.    Furthermore, the Energy Star voluntary program, described above, successfully
encouraged manufacturers to market refrigerators that qualify for the Energy Star label in
addition to those that just meet the minimum regulatory requirement. Energy Star has
encouraged a significant fraction of buyers to purchase refrigerators carrying its label. 85

102.    It was this combination of factors—technological advances funded by the DOE, advances
by private sector refrigerator manufacturers aided by funding from utilities through state public
utility commission-approved programs, appliance efficiency standards that progressively pushed
and pulled newer technologies into the marketplace, and Energy Star labeling—that reversed the
trend of annual increases in energy use by new refrigerators and led to the increases in energy
efficiency. The net result has been a fundamental transformation of the refrigerator market and a
substantial reduction in energy use for refrigeration.

103.    Finally, the federal government introduced tax credits and incentives for energy efficient
buildings and technologies with the Energy Policy Act of 2005, and extended them under the
Energy Improvement and Extension Act of 2008, the American Recovery and Reinvestment Act
of 2009, and the Tax Increase Prevention Act of 2014. 86




83 Sweeney, p. 141.
84 Sweeney, p. 141.
85 Sweeney, pp. 141–142.
86 Sweeney, p. 151.




                                                                                                    36
        Case 6:15-cv-01517-AA                       Document 338-4           Filed 08/24/18                  Page 41 of 129




104.       The various federal regulatory laws and tax incentives promoting energy efficiency are
summarized in Table 4, below. That table shows that energy efficiency standards and tax
incentives were signed into law by U.S. presidents in both Republican and Democratic
administrations. In fact, all but one Republican and one Democratic president since the Ford
administration signed such energy efficiency laws.

                     Table 4. Selected Federal Efficiency Standards and Tax Credits


Act/Action                                             Year                   Key Provision                        President      Party
Automobile Efficiency Standards
       Energy Policy and Conservation Act (ECPA)       1975   First CAFE standards                             Gerald Ford         R
       Energy Policy and Conservation Act (ECPA)       2007   Allowed CAFE standards to be raised              George W. Bush      R
       Administrative Action                           2012   Raised CAFE standards                            Barack Obama        D

Appliance Standards
       Energy Policy and Conservation Act (ECPA)       1975   First Federal appliance efficiency standards     Gerald Ford         R
       National Energy Conservation Policy Act         1978   Required manufacturer impact analysis            Jimmy Carter        D
       National Appliance Energy Conservation Act      1987   Expanded regulatory authority                    Ronald Reagan       R
       Energy Policy Act                               1992   Expanded regulatory authority                    George H.W. Bush    R
       Energy Policy Act                               2005   Expanded regulatory authority                    George W. Bush      R
       Energy Independence and Security Act            2007   Lighting efficiency standards                    George W. Bush      R

Tax Credits
       Energy Policy Act                               2005   Home energy efficiency standards                 George W. Bush      R
       Energy Policy Act                               2005   Tax credit for energy efficient vehicles         George W. Bush      R
       Energy Improvement and Extension Act            2008   Extended time of home efficiency tax credit      George W. Bush      R
       American Recovery and Reinvestment Act          2009   Extended time of home efficiency tax credit      Barack Obama        D
       Tax Increase Prevention Act                     2014   Extended time of home efficiency tax credit      Barack Obama        D



Source: James L. Sweeney, Energy Efficiency: Building a Clean, Secure Economy (Stanford, CA: Hoover Institution Press,
2016)



           B.         Affirmative Policy Steps Encouraging Low Carbon Energy Sources

105.       The federal government has also taken affirmative policy steps to facilitate the
development and adoption of renewable energy sources, such as hydropower, wind, solar, and
nuclear power, each of which produce very low carbon or zero-carbon energy.

106.       The federal government has continued its role as a major owner/operator of about one-
half of the total hydropower capacity in the U.S. 87 From 1990–2017, hydroelectric generation



87 Federal Energy Regulatory Commission Report, “Hydropower Primer,” February 2017,
https://www.ferc.gov/legal/staff-reports/2017/hydropower-primer.pdf.


                                                                                                                                       37
       Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18        Page 42 of 129




accounted for about 8% of electricity generation in the U.S., varying from year-to-year based on
precipitation. 88

107.    In the Pacific Northwest, hydroelectric projects provide a large percentage of power. For
example, Bonneville Power Administration (“BPA”), a federal power marketing administration
based in the Pacific Northwest, relies heavily on hydropower. 89 BPA is part of the DOE, but is
self-funding and covers its costs by selling its products and services. 90 BPA markets wholesale
electrical power from 31 federal hydroelectric projects in the Pacific Northwest, one nonfederal
nuclear plant, and several small nonfederal power plants. 91 BPA provides about 28 percent of
the electric power used in the Pacific Northwest and its resources—primarily hydroelectric—
make BPA power nearly carbon-free. 92

108.    The federal government has continued to take affirmative policy steps to advance nuclear
power, another very-low-carbon generator for electricity. A central organization is the DOE’s
Office of Nuclear Energy (“NE”). NE’s mission is “to advance nuclear power to meet the
nation’s energy, environmental, and national security needs.” 93
        “Under the guidance of three research objectives, NE resolves barriers to technical, cost,
        safety, security, and proliferation resistance through early-stage research, development,
        and demonstration to:
            •       Enhance the long-term viability and competitiveness of the existing U.S. reactor
                    fleet.
            •       Develop an advanced reactor pipeline.
            •       Implement and maintain national strategic fuel cycle and supply chain
                    infrastructure.”




88 U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Tale 7.2b Electricity Net
Generation: Electric Power Sector.
89 “About Us,” Bonneville Power Administration, undated, https://www.bpa.gov/news/AboutUs/Pages/default.aspx.
90 “About Us,” Bonneville Power Administration, undated, https://www.bpa.gov/news/AboutUs/Pages/default.aspx.
91 “About Us,” Bonneville Power Administration, undated, https://www.bpa.gov/news/AboutUs/Pages/default.aspx.
92 “About Us,” Bonneville Power Administration, undated, https://www.bpa.gov/news/AboutUs/Pages/default.aspx.
93 “About Us,” Office of Nuclear Energy, undated, https://www.energy.gov/ne/about-us, accessed August 11, 2018.




                                                                                                             38
       Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18       Page 43 of 129




109.    Nuclear power has provided about 20% of electrical generation in the U.S. since 1990, up
from 4% in 1973. 94 That increase has been the result of post-R&D electric utility investments,
sponsored in large part by the federal government. 95

110.    The DOE has provided funding for the development of photovoltaic (solar) cells through
industry, research groups, and national laboratories. In 1977 the federal government created the
Solar Energy Research Institute (“SERI”), a federal facility dedicated to finding and improving
ways to harness and use energy from the sun. In 1991, SERI was elevated to national laboratory
status and renamed the National Renewable Energy Lab. 96

111.    In 1999, the Office of Energy Efficiency and Renewable Energy launched the Wind
Powering America Initiative, which sought to advance the development and use of wind energy
throughout America. The program adopted two objectives: deliver 5% of the nation’s electricity
from wind power by 2020, and deliver 5% of the federal government’s electricity purchases
through wind power by 2010. 97

112.    In 2011, the DOE’s Solar Energy Technologies Office (“SETO”) launched the SunShot
Initiative with the objective of making solar electricity costs competitive with other generation
sources by 2020, without subsidies. Meeting that goal would allow the private sector to
implement broad-scale solar. In September 2017, SETO announced the utility-scale solar goal
had been met three years ahead of schedule. SETO is continuing to work to lower the cost of
solar energy, with the goal of cutting its cost in half by 2030. 98

113.    New installations of wind and solar electricity generation capacity have grown greatly
since 2010 as a result of actions by private sector entities within the U.S., by private and public
sectors entities in other countries, by state and local governments, and by the federal
government. In 2010, new installations of wind and solar capacity accounted for 28% of total


94 U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Tale 7.2b Electricity Net
Generation: Electric Power Sector.
95 “US Nuclear Policy,” World Nuclear Association, May 2018, http://www.world-nuclear.org/information-

library/country-profiles/countries-t-z/usa-nuclear-power-policy.aspx, accessed August 3, 2018.
96 “EERE Timeline,” Office of Energy Efficiency & Renewable Energy, undated,

https://www.energy.gov/eere/timeline/eere-timeline.
97 “EERE Timeline,” Office of Energy Efficiency & Renewable Energy, undated,

https://www.energy.gov/eere/timeline/eere-timeline.
98 “About the Solar Energy Technologies Office,” Solar Energy Technology Offices, undated,

https://www.energy.gov/eere/solar/about-solar-energy-technologies-office, accessed August 3, 2018.


                                                                                                          39
          Case 6:15-cv-01517-AA                   Document 338-4             Filed 08/24/18   Page 44 of 129




new electricity generation capacity in the U.S., while coal accounted for 32% of new generation.
In 2012 and 2013, wind and solar new capacity had grown to 50% and 34% of new electricity
generation capacity, respectively, and coal had dropped to 16% and 10%. In 2015 and 2016,
wind and solar new capacity had grown to 69% and 65% of new electricity generation capacity,
respectively, and coal had dropped to zero in both years. Figure 7 shows these data, which are
published by the Solar Energy Industries Association. 99

                          Figure 7. New U.S. Electricity Generating Capacity Additions
                                                           2010–2016

      % Share of New
     Capacity Additions

       100%                                                                        5%
                      4%           3%               4%                                            3%          6%
                                                                    9%
        90%
                                                                    7%
                      24%          29%                                             25%
        80%                                                                                                  26%
                                                                    10%                           39%
                                                    41%

        70%                                                                        1%

                                   10%
        60%
                      32%
                                                                                                             29%
        50%                                                         47%
                                                    16%                            43%
                                                                                                  29%
        40%
                                   51%
        30%
                                                    31%
                      36%
        20%                                                                                                  39%
                                                                    27%            27%            30%
        10%
                                   8%               9%
                      4%
         0%
                     2010          2011             2012            2013           2014           2015       2016

                                          Solar       Natural Gas         Coal    Wind    Other

Source: Solar Energy Industries Association Report, “Solar Market Insight Report 2016 Year In Review”
Note: Percentages shown may not sum to 100% due to rounding.




99“U.S. Solar Market Insight,” GTM Research, undated, https://www.seia.org/research-resources/solar-market-
insight-report-2016-year-review. Note that these data are based on generating capacity, not the amount of electricity
that would be generated. Capacity factors of intermittent resources, wind and solar, are substantially lower than
capacity factors of nuclear, natural gas, and coal facilities. A capacity factor is the ratio of actual production over a
given time horizon, divided by the maximum possible (i.e., full capacity) production for the same period.


                                                                                                                       40
       Case 6:15-cv-01517-AA           Document 338-4          Filed 08/24/18       Page 45 of 129




114.    In 2015, the Obama administration announced the Clean Power Plan, which sought to cut
GHG emissions from U.S. power stations by nearly one-third over 15 years. The Clean Power
Plan also included provisions that would place significant emphasis on wind, solar, and other
renewable energy sources. 100 The Supreme Court stayed implementation of the Clean Power
Plan in February 2016, and the EPA under the Trump administration subsequently proposed to
repeal the Clean Power Plan in 2017, citing concerns over the EPA’s regulatory authority and
other policy concerns. 101 More specific to the policy concerns, the EPA stated that repealing the
measure would “facilitate the development of U.S. energy resources and reduce unnecessary
regulatory burdens associated with the development of those resources.” 102 This example
illustrates the trade-offs that the executive branch and federal agencies consider when setting
energy policy.

115.    Tax credits and federal funding for renewable energy use, research, and development
have existed since the National Energy Act of 1978 and were expanded or extended under the
Energy Security Act of 1980, the Energy Policy Act of 1992, the Energy Independence and
Security Act of 2007, the Energy Improvement and Extension Act of 2008, and the American
Recovery and Reinvestment Act of 2009. 103

116.    Since 1992, the U.S. has offered the production tax credit (“PTC”) to eligible renewable
sources of electricity including wind and solar facilities. 104 Using data from Aldy et al. (2018) on
wind farm construction, capacities, realized capacity factors, and PTC-eligibility, a back-of-the-
envelope calculation shows that there were roughly $2 billion in PTC payments during the 2014




100 “Climate Change: Obama Unveils Clean Power Plan,” BBC, August 3, 2015, http://www.bbc.com/news/world-

us-canada-33753067, accessed August 3, 2018.
101 Lisa Friedman and Brad Plumer, “E.P.A. Announces Repeal of Major Obama-Era Carbon Emissions Rule,” New

York Times, October 9, 2017, https://www.nytimes.com/2017/10/09/climate/clean-power-plan.html, accessed
August 3, 2018.
102 Lisa Friedman and Brad Plumer, “E.P.A. Announces Repeal of Major Obama-Era Carbon Emissions Rule,” New

York Times, October 9, 2017, https://www.nytimes.com/2017/10/09/climate/clean-power-plan.html, accessed
August 3, 2018.
103 “History of Major Energy Policy Landmarks,” Department of Geography, Penn State, undated, https://www.e-

education.psu.edu/geog432/node/116, accessed August 11, 2018. See also House Resolution 6049, 110th Congress,
2009.
104 26 U.S.C. § 45a.




                                                                                                           41
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 46 of 129




calendar year for wind farms alone. 105 Accounting for solar, biomass, and other renewable
production tax credits would increase this number. 106

117.    Renewable energy facilities that came online after January 1, 2009 can also elect to
receive an investment subsidy (Section 1603 grant) in lieu of the PTC. 107 The Section 1603
grants cover up to 30% of the investment costs of a new facility, and between 2009 and 2017
payments have totaled over $26 billion. 108 This represents more than $3.25 billion on average
each year.

118.    Plaintiffs’ object to the subsidies paid for fossil fuel productions. However, a rough
comparison of the subsidy per BTU (a quantity of heat) of renewable energy production to fossil
fuel production shows that the renewable energy subsidy is more than twice as large.

119.    The Complaint lists $13.2 billion of production and consumption subsidies for fossil
fuels. 109 In 2014, a total of 69.6 quadrillion BTUs were produced from fossil fuels in the U.S. 110
Taking the $13.2 billion of subsidies listed in the Complaint as given and dividing it by 69.6
quadrillion BTUs results in $0.19 of subsidies per million BTU (MBTU). For context, a gallon
of gasoline has a heating value of 120,429 BTU; 111 8.3 gallons of gasoline have a heating value
of a million BTU. Thus the average subsidy using the figure in the Complaint is about 2 cents
per gallon of gasoline. 112

120.    Total renewable production (including hydroelectric, geothermal, and biomass
production) was 11.14 quadrillion BTU. Adding together the roughly $2 billion in PTC


105 This is calculated taking into account the $23/MWh production tax credit, along with 423 PTC-eligible plants

assuming an 81.15 MW average capacity per plant and a 0.34 average capacity factor for each plant. See Joseph E.
Aldy et al., “Investment Versus Output Subsidies: Implications of Alternative Incentives for Wind Energy,”
December 2016, Table 1.
106 2014 is the most recent data available in the Aldy et al. paper. See Joseph E. Aldy et al., “Investment Versus

Output Subsidies: Implications of Alternative Incentives for Wind Energy,” December 2016.
107 Joseph E. Aldy et al., “Investment Versus Output Subsidies: Implications of Alternative Incentives for Wind

Energy,” December 2016.
108 “Final Overview of the §1603 Program,” U.S. Treasury, March 1, 2018,

https://www.treasury.gov/initiatives/recovery/Pages/1603.aspx.
109 Complaint, ¶¶173, 174.
110 U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Table 1.1 Primary Energy

Overview.
111 The motor gasoline considered contains about 10% fuel ethanol by volume. “Energy Units and Calculations

Explained,” U.S. Energy Information Administration.
https://www.eia.gov/energyexplained/index.php?page=about_energy_units, accessed August 11, 2018.
112 Note that ($0.19 / 1 MBTU) / (8.3 gallons / 1 MBTU) = $0.02 / gallon




                                                                                                                 42
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 47 of 129




expenditure for wind power and the $3.25 billion annual average Section 1603 grant
expenditures for renewables and dividing by total renewable production, one would arrive at
$0.47 per million BTU. This does not include PTC expenditure for other renewable electricity
sources besides wind power. These calculations err on the side of overestimating the relative
size of the fossil fuel subsidy, and still show that renewable subsidies are over two times larger
than fossil fuel subsidies on a per BTU basis. 113

        C.       CO2 from Fossil Fuel Production

121.    Other actions by the federal government had the impact of reducing the amount of CO2
from fossil fuel production.

122.    One approach to reducing the impact of CO2 from fossil fuel production is carbon capture
and storage (“CCS”). 114 CCS is an advanced concept which aims to reduce the CO2 emitted into
the atmosphere by capturing it at the point it would otherwise be released, or by direct air
capture. Since 1997, the DOE’s Office of Fossil Energy has run an active carbon storage
program. 115 This program has significantly advanced the CCS knowledge base through a diverse
portfolio of applied research projects: 116
        “The portfolio includes industry cost-shared technology development projects, university
        research grants, collaborative work with other national laboratories, and research
        conducted in-house through the National Energy Technology Laboratory’s Research and
        Innovation Center.
        The primary focus of the Program going forward is on early-stage R&D to develop
        coupled simulation tools, characterization methods, and monitoring technologies that will
        improve storage efficiency, reduce overall cost and project risk, decrease subsurface
        uncertainties, and identify ways to ensure that operations are safe, economically viable,
        and environmentally benign.
        Key Program goals include:
             •   Determining the CO2 storage resource potential of on and offshore oil, gas, and
                 saline bearing formations


113 In particular, I have only listed a few of the more well-known subsidies for renewable power investment and

production and have not attempted to compile a comprehensive list of all renewable subsidies.
114 Carbon capture and storage is also referred to as “carbon capture and sequestration.”
115 “Carbon Storage Research,” Department of Energy, https://www.energy.gov/fe/science-innovation/carbon-

capture-and-storage-research, accessed August 3, 2018.
116 “Carbon Storage Research,” Department of Energy, https://www.energy.gov/fe/science-innovation/carbon-

capture-and-storage-research, accessed August 3, 2018.


                                                                                                                  43
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 48 of 129




             •   Improving carbon storage efficiency and security by advancing new and early-
                 stage monitoring tools and models
             •   Improving capabilities to evaluate and manage environmental risks and
                 uncertainty through integrated risk-based strategic monitoring and mitigation
                 protocols
             •   Disseminating findings and lessons learned to the broader CCS community and
                 key stakeholders.”

123.    Three components 117—“Storage Infrastructure, Core Storage Research and Development,
and Strategic Program Support”—“address significant technical challenges in order to meet
program goals that support the scale-up and widespread deployment of CCS.”

124.    In 1975 President Ford signed a bill that repealed the percentage depletion allowance for
large companies. 118 Elimination of the percentage depletion allowance for large companies
reduces incentives for these companies to produce oil and gas. However, in 2005, President
Bush signed the Energy Policy Act, which expanded the percentage depletion allowance to apply
to a larger group of drillers. In 2013, the percentage depletion allowance provided an annual
deduction of 15% of revenues from oil and gas wells, but only of independent producers and
royalty owners. 119 It is not available for integrated companies. 120 The small independent
producers of oil and gas, to which the percentage depletion allowance currently applies, account
for just 19% of oil and 12% of natural gas production. 121




117 “Carbon Storage Research,” Department of Energy, https://www.energy.gov/fe/science-innovation/carbon-
capture-and-storage-research, accessed August 3, 2018.
118 See “Congress Votes Largest Tax Cut in History,” CQ Almanac 1975 (Washington, DC: Congressional

Quarterly, 1976), pp. 95–111, http://library.cqpress.com/cqalmanac/cqal75-1213141. “[Percentage] [d]epletion is a
form of depreciation for mineral resources that allows for a deduction from taxable income to reflect the declining
production of reserves over time.” “Percentage Depletion,” Energy Tax Facts, undated,
http://energytaxfacts.com/wp-content/uploads/2017/10/Fact-Sheet-Percentage-Depletion.pdf.
119 “Percentage Depletion,” Energy Tax Facts, undated, http://energytaxfacts.com/wp-content/uploads/2017/10/Fact-

Sheet-Percentage-Depletion.pdf.
120 “Percentage Depletion,” Energy Tax Facts, undated, http://energytaxfacts.com/wp-content/uploads/2017/10/Fact-

Sheet-Percentage-Depletion.pdf.
121 “Percentage Depletion,” Energy Tax Facts, undated, http://energytaxfacts.com/wp-content/uploads/2017/10/Fact-

Sheet-Percentage-Depletion.pdf.


                                                                                                                44
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 49 of 129




        D.       Participation in International Climate Change Initiatives

125.    Starting with the first “Earth Summit,” held in Rio de Janeiro in 1992, the U.S. has been
engaged in international cooperation to address global climate change. 122 The stated objective of
the United Nations Framework Convention on Climate Change (“UNFCCC”), signed by
President George H. W. Bush and the leaders of 153 other nations, was “stabilization of
greenhouse gas concentrations in the atmosphere at a level that would prevent dangerous
anthropogenic interference with the climate system.” 123 Not only did the U.S. participate in these
meetings and sign the treaty, but it also took the lead in implementing its objectives. 124, 125

126.    In 1997, the U.S. participated actively in the development of the Kyoto Protocol, with
Vice President Al Gore personally attending the meetings and instructing the U.S. negotiating
teams “to show increased negotiating flexibility if a comprehensive plan can be put in place, one
with realistic targets and timetables, market mechanisms, and the meaningful participation of key
developing countries.” 126 President Clinton signed the Kyoto Protocol in 1998, 127 but it was
never ratified by the Senate.

127.    The Kyoto Protocol put the obligation to reduce current emissions on developed countries
and not on developing countries. Before the Kyoto Protocol had been negotiated, the U.S.
Senate unanimously passed the Byrd–Hagel Resolution in July 1997. That resolution made it



122 Sweeney, p. 85.
123 “United Nations Framework Convention on Climate Change,” United Nations, 1992, p. 4,
https://unfccc.int/resource/docs/convkp/conveng.pdf.
124 George Bush, “Statement on Signing the Instrument of Ratification for the United Nations Framework

Convention on Climate Change,” The American Presidency Project, October 13, 1992,
http://www.presidency.ucsb.edu/ws/?pid=21611. See also James Brooke, “The Earth Summit; President, in Rio,
Defends His Stand on Environment,” New York Times, June 13, 1992,
https://www.nytimes.com/1992/06/13/world/the-earth-summit-president-in-rio-defends-his-stand-on-
environment.html, accessed August 6, 2018.
125 From 2016 – 2017, the United States was the largest contributor to the UNFCCC at 21%. See “Indicative Scales

of contributions from parties to the Convention and the Kyoto Protocol for the biennium 2016-2017,” United
Nations Climate Change Secretariat, December 2015, https://unfccc.int/sites/default/files/scale.pdf. For 1996-1997,
the United States contribution was 25%. See “Report of the Conference of the Parties on Its First Session, Held at
Berlin from 28 March to 7 April 1995,” United Nations Framework Convention on Climate Change, 1995,
https://unfccc.int/resource/docs/cop1/07a01.pdf#page=44.
126 Al Gore, “Kyoto Climate Change Conference,” Clinton Whitehouse Archive, December 8, 1997,

https://clintonwhitehouse3.archives.gov/WH/EOP/OVP/speeches/kyotofin.html, accessed August 3, 2018. See
video at https://www.youtube.com/watch?v=oKRJAlT4dqw.
127 Laurie Goering, “Clinton Signs Pact on Global Warming,” Chicago Tribune, November 13, 1998,

http://articles.chicagotribune.com/1998-11-13/news/9811130120_1_greenhouse-gas-emissions-greenhouse-gases-
global-warming, accessed August 3, 2018.


                                                                                                                 45
       Case 6:15-cv-01517-AA           Document 338-4          Filed 08/24/18       Page 50 of 129




clear that the Senate would not ratify the Kyoto Protocol unless the agreement also mandated
specific commitments from developing countries and would not ratify the Kyoto Protocol if it
would result in serious harm to the U.S. economy. 128

128.    In this example, the outcome was based on the checks and balances built into the U.S.
system of government. Although the president and vice president supported the Kyoto Protocol,
the Senate did not.

129.    The U.S. has continued to participate in the Conference of the Parties (“COP”) of the
UNFCCC. The COP is the annual decision-making body of the Convention. The delegates to
the annual COPs review implementation of the UNFCCC and negotiate legal instruments and
international agreements to implement the UNFCCC. 129

130.    At the 2015 COP in Paris, the 185 national parties came to particularly significant
agreements to curb CO2 and other GHG emissions and to mitigate impacts of global climate
change. Each nation, including the U.S., committed to Nationally Determined Contributions
(“NDCs”). The U.S. committed to “reduce its greenhouse gas emissions by 26-28 percent below
the 2005 level in 2025, and to make ‘best efforts’ to reduce emissions by 28 percent.” 130

131.    President Obama signed the Paris Agreement in 2016. 131 However, he did not ask for
Senate ratification. The White House asserted that the President has the legal authority to ratify
the accord without a Senate vote, arguing that the Paris Agreement was merely an “executive
agreement.” 132

132.    On June 1, 2017 President Trump announced that the U.S. would cease all participation
in the Paris Agreement. President Trump stated that “[t]he Paris accord is very unfair at the




128 Senate Resolution 98, 105th Congress, 1997.
129 “Becoming a UNFCCC delegate: what you need to know,” International Institute for Environment and
Development, 2016, p. 10, http://pubs.iied.org/pdfs/17385IIED.pdf, accessed August 3, 2018.
130 “What is the U.S. Commitment in Paris?” State of the Planet, December 11, 2015,

http://blogs.ei.columbia.edu/2015/12/11/what-is-the-u-s-commitment-in-paris/, accessed August 3, 2018.
131 Tanya Somanader, “President Obama: The United States Formally Enters the Paris Agreement,” Obama

Whitehouse Archives, September 3, 2016, https://obamawhitehouse.archives.gov/blog/2016/09/03/president-obama-
united-states-formally-enters-paris-agreement, accessed August 3, 2018.
132 Valerie Richardson, “White House Defends Obama Evading Senate on Paris Climate Deal,” Washington Times,

August 29, 2016, https://www.washingtontimes.com/news/2016/aug/29/obama-will-bypass-senate-ratify-paris-
climate-acco/, accessed August 3, 2018.


                                                                                                           46
       Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18       Page 51 of 129




highest level to the United States.” 133 At the time he announced plans to withdraw from the Paris
accord, President Trump also stated an intent to seek to renegotiate that agreement on terms more
favorable to the U.S. 134 He went on to state: “The Paris accord will undermine our economy,”
and that it “puts us at a permanent disadvantage.” 135

133.    This example underscores the tensions between economic and climate goals. One
president took actions consistent with placing more emphasis on the fundamental environmental
objective in signing the Paris Agreement, but did not ask the Senate whether it would ratify the
agreement. The next president took actions consistent with placing more emphasis on the
fundamental economic goals.

        E.       The Federal Government Has Adopted Complex Energy Policy Strategies to
                 Address Multiple Policy Goals

134.    Various U.S. presidents have had complex energy policy strategies that include multiple
actions and policy instruments to reduce climate change, maintain security, and promote the
economy, balancing the three objectives.

135.    Most recently, President Obama, in his 2013 State of the Union address, reviewed U.S.
energy progress since he had taken office and described an “all-of-the-above” approach for
further progress. The accompanying White House Fact Sheet described the impacts of the “all-
of-the-above” approach on the economy, energy security and the environment: 136
        “Since President Obama took office, oil and gas production has increased each year,
        while oil imports have fallen to a 20-year low; renewable electricity generation from
        wind, solar, and geothermal sources has doubled; and our emissions of the dangerous
        carbon pollution that threatens our planet have fallen to their lowest level in nearly two
        decades. In short, the President’s approach is working. It’s a winning strategy for the
        economy, energy security, and the environment.”


133 Bamini Chakraborty, “Paris Agreement on Climate Change: US Withdraws as Trump Calls it ‘Unfair,’” Fox
News, June 1, 2017, http://www.foxnews.com/politics/2017/06/01/trump-u-s-to-withdraw-from-paris-climate-pact-
calls-it-unfair-for-america.html, accessed August 3, 2018.
134 Michael D. Shear, “Trump Will Withdraw U.S. from Paris Climate Agreement,” New York Times, June 1, 2017,

https://www.nytimes.com/2017/06/01/climate/trump-paris-climate-agreement.html, accessed August 13, 2018.
135 Bamini Chakraborty, “Paris Agreement on Climate Change: US Withdraws as Trump Calls it ‘Unfair,’” Fox

News, June 1, 2017, http://www.foxnews.com/politics/2017/06/01/trump-u-s-to-withdraw-from-paris-climate-pact-
calls-it-unfair-for-america.html, accessed August 3, 2018.
136 White House Press Release, “Fact Sheet: President Obama’s Blueprint for a Clean and Secure Energy Future,”

March 15, 2013, https://www.whitehouse.gov/the-press-office/2013/03/15/fact-sheet-president-obama-s-blueprint-
clean-and-secure-energy-future, accessed August 3, 2018.


                                                                                                             47
       Case 6:15-cv-01517-AA           Document 338-4          Filed 08/24/18        Page 52 of 129




136.    This “all-of-the-above” approach, taking into account impacts on the economy, energy
security, and the environment, has remarkable parallels to the Project Independence Report and
the many actions from President Ford’s administration, such as legislatively creating the CAFE
standards for light duty cars and trucks.

137.    President George W. Bush was very explicit in describing the overall strategy of his
administration. In announcing his “Clear Skies and Global Climate Change Initiatives,” he
summarized his approach to addressing global climate change, an approach that stressed a
positive relationship between economic growth and creating instruments to protect the
environment: 137
        “Addressing global climate change will require a sustained effort, over many generations.
        My approach recognizes that sustained economic growth is the solution, not the problem
        – because a nation that grows its economy is a nation that can afford investments in
        efficiency, new technologies, and a cleaner environment.”

138.    In his announcement, President George W. Bush proposed a set of specific actions in
support of his overall strategy, actions that for the most part were implemented: 138
        • New 10 Percent Tax Credit for Co-Generation (Combined Heat and Power
        Systems). The President has proposed a new 10 percent tax credit for investments in
        combined heat and power systems between 2002 and 2006….
        • First-Ever Tax Credit for Residential Solar Energy Systems. The President has
        proposed a new 15 percent tax credit for individuals who purchase photovoltaic
        equipment or solar water heating systems used in a residence, up to a maximum credit of
        $2,000 for each type of equipment….
        • Expanded Tax Credit for Electricity Produced from Wind or Biomass. The
        President has proposed extending and modifying the tax credit for electricity produced
        from wind or biomass….
        • Tax Credit for New Methane Landfill Projects. The President has proposed
        encouraging the development of a new alternative source of energy by providing tax
        credits for energy produced from landfill gas….
        • New Tax Credit for New Hybrid or Fuel-Cell Vehicles. The President has proposed
        a new temporary tax credit of up to $4,000 for the purchase of new hybrid vehicles and
        up to $8,000 for the purchase of fuel cell vehicles between 2002 and 2007….



137 White House Press Release, “Global Climate Change Policy Book,” 2002, https://georgewbush-
whitehouse.archives.gov/news/releases/2002/02/climatechange.html, accessed August 3, 2018.
138 White House Press Release, “Global Climate Change Policy Book,” 2002, https://georgewbush-

whitehouse.archives.gov/news/releases/2002/02/climatechange.html, accessed August 3, 2018.


                                                                                                      48
         Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18     Page 53 of 129




           • Increased Funding for Geothermal Energy. The President’s 2003 budget proposal
           for the U.S. Geological Survey (USGS) supports alternative, non-fossil fuel energy
           development….
           • Increased Funding for Renewable Energy Resources on Public Lands. The
           President’s ‘03 budget proposal calls for a major effort by the Bureau of Land
           Management (BLM) to increase its renewable energy activities in support of the
           President’s National Energy Policy….
           • EPA’s ‘Climate Leaders’ Initiative: EPA will launch a new, voluntary Climate
           Leaders program with a group of major companies….
           • Business Challenges. The President challenges American businesses and industries to
           reduce emissions….
           • Transportation Programs. The Administration is promoting the development of fuel-
           efficient motor vehicles and trucks, researching options for producing cleaner fuels, and
           implementing programs to improve energy efficiency….
           • Carbon Sequestration. The President’s FY ‘03 budget requests over $3 billion … as
           the first part of a ten year (2002-2011) commitment to implement and improve the
           conservation title of the Farm Bill, which will significantly enhance the natural storage of
           carbon….


VIII. Many Policy Options Suggested in the Complaint Have Been Implemented


139.       Plaintiffs complain that many particular policy initiatives favored by Plaintiffs have not
been accepted by Congress or federal administrations. For example, Plaintiffs very early in their
complaint assert that policy initiatives proposed in the EPA study, Policy Options To Stabilizing
Global Climate (the “EPA Study”) were not adopted: 139
           “The United States Environmental Protection Agency (‘EPA’) in 1990 and the
           Congressional Office of Technology Assessment in 1991 prepared plans to significantly
           reduce our nation’s CO2 emissions, stop global warming, and stabilize the climate system
           for the benefit of present and future generations.
           …
           Defendants never implemented either plan.”

140.       In fact, many of the recommendations in the EPA Study were implemented by the federal
government, contrary to Plaintiffs’ assertion.




139   Complaint, ¶3.


                                                                                                        49
         Case 6:15-cv-01517-AA             Document 338-4          Filed 08/24/18       Page 54 of 129




141.       Much of the EPA Study argues the importance of energy efficiency and reducing the CO2
emissions from what they would be otherwise. 140 The federal government has implemented
many energy efficiency programs designed to accomplish precisely these goals. In fact, energy
efficiency has been fundamental to the objectives articulated in the EPA Study and has led to
large decarbonization of the U.S. economy.

142.       The EPA Study suggests that the U.S. conduct R&D for solar technology, designed to
make solar more cost-effective. 141 The U.S. has done exactly that. Solar and wind have become
more cost-effective and have been implemented in greater quantities over time by market
participants. In 2015 and 2016, roughly two-thirds of the new installed electricity generation
capacity was wind or solar. 142

143.       The EPA Study also suggests that the U.S. expand use of natural gas as a substitute for
coal in generating electricity. 143 That is exactly what has been happening over the last decade
and has contributed importantly to continuing decarbonization of the U.S. energy supply. 144

144.       The EPA study further suggests as an option that the U.S. continue to promote nuclear
power as a clean energy alternative. 145 The federal government has done just that, continuing to
fund R&D and a broad range of programs to promote nuclear power. 146

145.       As another example, Plaintiffs’ expert Professor Eric Rignot recommends that the U.S.
Defendants be ordered to “take strong steps to increase the U.S. capacity for carbon
sequestration.” 147 This option is already being developed through the DOE. 148 Carbon capture
and storage (carbon capture and sequestration) technologies have been successfully implemented
in some limited applications, but whether such technologies can be scaled effectively is open to




140   “Policy Options For Stabilizing Global Climate,” U.S. Environmental Protection Agency Report, 1990, pp. V76–
77.
141 “Policy Options For Stabilizing Global Climate,” U.S. Environmental Protection Agency Report, 1990, p. 29.
142 See Figure 7.
143 “Policy Options For Stabilizing Global Climate,” U.S. Environmental Protection Agency Report, 1990, p. 34.
144 See Figure 6.
145 “Policy Options For Stabilizing Global Climate,” U.S. Environmental Protection Agency Report, 1990, p. 31.
146 See Section VII.B.
147 Expert Report of Eric Rignot, Ph.D., filed April 11, 2018 (“Rignot Report”), p. 19.
148 “Carbon Storage Research,” Department of Energy, https://www.energy.gov/fe/science-innovation/carbon-

capture-and-storage-research, accessed August 3, 2018.


                                                                                                                 50
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 55 of 129




question. 149 As discussed above, the DOE has multiple programs to promote carbon capture and
sequestration and has significantly advanced the knowledge base in order to increase the U.S.
capacity for carbon sequestration.


IX.     Policy Initiatives Demanded by Plaintiffs’ Experts Have Been Considered, Debated,
        and Rejected by Congress or Federal Administrations


146.    As shown above, the federal government has taken many steps to promote energy
efficiency and renewable energy. Although these approaches may not have been the policy
instruments that some of Plaintiffs’ experts prefer, they have been effective in reducing GHG
emissions from what they would otherwise have been. 150 There are cases in which the federal
government has considered and ultimately did not pursue the policies Plaintiffs suggest.

147.    In particular, Professor Stiglitz states that the federal government should impose a carbon
tax in order to create incentives for private firms and individuals to emit less CO2. 151 Legislators
and the executive branch agencies have proposed and debated but rejected policy incentives that
would have mitigated GHGs through putting a price on carbon emissions or a tax on energy from
fossil fuels, as I discuss in subsequent paragraphs.

148.    In what follows, I summarize attempts by federal policy makers to use such a carbon
pricing strategy, as advocated by Professor Stiglitz. The extended consideration of carbon
pricing provides an example of the energy policy balancing act—either other objectives have
received greater weight than environmental objectives or other instruments, such as direct
regulations on energy efficiency or R&D initiatives, have been favored by federal policy makers.

149.    In early 1993, the Clinton administration proposed a tax on producers, refiners, and
transporters of nonrenewable energy sources, with the tax based on the amount of BTU used.




149 “Carbon Storage Research,” Department of Energy, https://www.energy.gov/fe/science-innovation/carbon-

capture-and-storage-research, accessed August 3, 2018.
150 See Figures 4, 5, and 6 as well as the discussion in Section VI.
151 I also have publicly advocated and still advocate in favor of creating incentives for private sector firms and

individuals to reduce GHG emissions, through carbon pricing, either a carbon tax or a cap-and-trade system. Stiglitz
Report, ¶45.


                                                                                                                 51
       Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18       Page 56 of 129




Accordingly, the tax was known as the “BTU tax.” 152 President Clinton argued that the
incentives associated with the tax would encourage energy conservation, reduce pollution, and
lessen U.S. dependence on foreign oil, 153 and that it was the fairest and most environmentally
sound way to raise revenue in order to lower the budget deficit. 154 Opponents argued that such a
tax would make energy-intensive industries, such as petrochemicals, steel, and glass, less
economically competitive in international markets and thereby would harm the U.S. economy. 155
Analysts believed that the BTU tax would have, on average, raised electricity prices for
consumers by 30%. 156 The BTU tax, it was believed, would create incentives leading to security
and environmental benefits but would have negative economic consequences. The tax was
approved by the House of Representatives (“House”), but later abandoned after it did not receive
a majority vote in the Senate. 157

150.    A second class of carbon pricing policy measures would create incentives to limit GHG
emissions through a cap-and-trade system. This system would set an economy-wide limit, or
cap, on GHG emissions each year, and the cap would decline over time. The government would
issue allowances, each allowing a company to emit one ton of CO2. Allowances could be
distributed free of charge, auctioned off, or otherwise sold. Firms would be required to surrender
allowances equal to the number of tons of CO2 they emitted. Firms could buy and sell the
allowances on markets, possibly futures markets, in which the price of the allowances would be
determined by market forces. The price on the allowances—the carbon price—would provide


152 Steven Greenhouse, “Clinton’s Economic Plan: The Energy Plan; Fuels Tax: Spreading the Burden,” New York
Times, February 18, 1993, https://www.nytimes.com/1993/02/18/us/clinton-s-economic-plan-the-energy-plan-fuels-
tax-spreading-the-burden.html, accessed August 3, 2018.
153 David S. Hilzenrath, “Miscalculations, Lobby Effort Doomed BTU Tax Plan,” Washington Post, June 11, 1993,

https://www.washingtonpost.com/archive/business/1993/06/11/miscalculations-lobby-effort-doomed-btu-tax-
plan/d756dac3-b2d0-46a4-8693-79f6f8f881d2/?noredirect=on&utm_term=.0283a25da88e, accessed August 3,
2018.
154 David Rosenbaum, “Clinton Backs Off Plan for New Tax on Heat in Fuels,” New York Times, June 9, 1993,

https://www.nytimes.com/1993/06/09/us/clinton-backs-off-plan-for-new-tax-on-heat-in-fuels.html, accessed August
3, 2018.
155 David Rosenbaum, “Clinton Backs Off Plan for New Tax on Heat in Fuels,” New York Times, June 9, 1993,

https://www.nytimes.com/1993/06/09/us/clinton-backs-off-plan-for-new-tax-on-heat-in-fuels.html, accessed August
3, 2018.
156 Ted Nordhous and Michael Shellenberger, “Getting Real on Climate Change,” The American Prospect,

December 2008, https://thebreakthrough.org/blog/PDF/Getting%20Real%20on%20Climate%20Change.pdf.
157 David S. Hilzenrath, “Miscalculations, Lobby Effort Doomed BTU Tax Plan,” Washington Post, June 11, 1993,

https://www.washingtonpost.com/archive/business/1993/06/11/miscalculations-lobby-effort-doomed-btu-tax-
plan/d756dac3-b2d0-46a4-8693-79f6f8f881d2/?noredirect=on&utm_term=.0283a25da88e, accessed August 3,
2018.


                                                                                                             52
       Case 6:15-cv-01517-AA            Document 338-4           Filed 08/24/18       Page 57 of 129




companies incentives to reduce emissions whenever the cost of reduction would be lower than
the price of allowances.

151.    Cap-and-trade systems were first proposed legislatively by the Climate Stewardship Act
of 2003 (McCain-Lieberman), which failed to pass the Senate. 158 The Bush administration
argued that the bill would lead to job losses and that “the administration instead is promoting fuel
and appliance efficiency standards and building codes that will conserve energy.” 159 In fact, as
discussed above, the administration was taking such steps. Later McCain-Lieberman bills would
also fail to pass the Senate when they were reintroduced in 2005 and 2007. 160 More recently, the
House passed the American Clean Energy and Security Act of 2009, but the bill failed to pass the
Senate, with statements of economic concerns. 161 The ongoing recession was said to add to
many Americans’ long-term economic uncertainty or fear, making it much more difficult to pass
clean energy and global warming legislation. 162 Economic issues, especially issues of impacts on
particular industries and regions of the country, were given high priority by the administration
and Congress.

152.    Recently, two bills were introduced in the House in 2015. H.R. 972 was a cap-and-trade
system that included a provision that the revenues be returned as dividends to taxpayers. 163 H.R.
1027 was a “cap-and-dividend” system, essentially a cap-and-trade system in which all
allowances would be auctioned and in which all auction revenues would be returned to each U.S.
resident with a valid social security number. 164 Neither of these bills went any further than their
referrals to the Subcommittee on Energy and Power.

153.    A third class of policy measures to limit GHG emissions is carbon taxes. Such plans
would typically set a tax on the production or first importation of products whose use would
release CO2 into the atmosphere. The tax would be proportional to the carbon content of the

158 Senate Resolution 139, 108th Congress, 2003.
159 Juliet Ellperin, “U.S. Firms Look Ahead to Emissions Cuts Overseas,” Washington Post, October 3, 2004,
http://www.washingtonpost.com/wp-dyn/articles/A2936-2004Oct2.html, accessed August 3, 2018.
160 Senate Resolution 1151, 109th Congress, 2005; see also Senate Resolution 280, 110th Congress, 2007.
161 Bryan Walsh, “Why the Climate Bill Died,” Time, July 26, 2010, http://science.time.com/2010/07/26/why-the-

climate-bill-died/, accessed August 3, 2018.
162 Daniel J. Weiss, “Anatomy of a Senate Climate Bill Death,” Center for American Progress, October 12, 2010,

available at https://www.americanprogress.org/issues/green/news/2010/10/12/8569/anatomy-of-a-senate-climate-
bill-death, accessed August 3, 2018.
163 House Resolution 972, 114th Congress, 2015.
164 House Resolution 1027, 114th Congress, 2015.




                                                                                                                 53
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 58 of 129




product. Typically, the products included would be coal, petroleum, or natural gas. The
revenues collected by the tax could be added to the general fund, returned to taxpayers
(“recycled”), or could allow reductions in other taxes.

154.    The first bill proposing a carbon tax was H.R. 4805, authored by Representative Fortney
Pete Stark in 1990. He made similar proposals in 1991 (H.R. 1086) and 1993 (H.R. 804).
Opponents offered H.R. 438, to express the sense of the House that no such carbon taxes should
be imposed. All of the bills were referred to the House Ways and Means committee. They made
it no further in the legislative process. 165

155.    Carbon tax bills continued to be introduced periodically into Congress, but none received
enough support to become law. Recent bills were introduced in the Senate and in the House in
2015. H.R. 309, H.R. 2202, and H.R. 4283 were introduced in the House and referred to various
committees. S.1548 and S.2399 were introduced in the Senate and referred to the Committee on
Finance. None of these bills received enough support to advance further. 166

156.    Such carbon tax proposals are still (as of July 2018) being considered. Press reports
assert that “Rep. Carlos Curbelo (R-Fla.) is preparing to introduce legislation that would pause
federal regulations on climate change in exchange for an escalating tax on carbon emissions….”
The article goes on to say: “…GOP opponents are already targeting it as anathema to Republican
principles on economic growth. The House Rules Committee is meeting today on whether to
allow a vote on a resolution that calls carbon taxes ‘detrimental’ to the economy.” 167 The
proposal and the opposition again show the conflict between economic objectives and
environmental objectives. 168



165 House Resolution 4805, 101st Congress, 1990; House Resolution 1086, 102nd Congress, 1991; House
Resolution 804, 103rd Congress, 1993; “Know the Legislation,” Price on Carbon,
https://priceoncarbon.org/business-society/history-of-federal-legislation/, accessed August 3, 2018.
166 House Resolution 309, 114th Congress, 2015; House Resolution 2202, 114th Congress, 2015; House Resolution

4283, 114th Congress, 2015; Senate Resolution 1548, 114th Congress, 2015; Senate Resolution 2399, 114th
Congress, 2015.
167 Zack Colman and Nick Sobczyk, “House Republican Will Introduce $23 Carbon Tax Next Week,” eenews.net,

July 17, 2018, https://www.eenews.net/climatewire/2018/07/17/stories/1060089315, accessed August 6, 2018.
168 A much more complete discussion of cap-and-trade or carbon tax is the web site: “Price on Carbon,”

https://priceoncarbon.org/. In particular, the web page “Know the Legislation,” provides a much more complete
discussion of legislative attempts to put a price on carbon through a cap-or-trade system or a carbon tax. See “Know
the Legislation,” Price on Carbon, https://priceoncarbon.org/business-society/history-of-federal-legislation/,
accessed August 3, 2018.


                                                                                                                 54
         Case 6:15-cv-01517-AA             Document 338-4          Filed 08/24/18   Page 59 of 129




157.       A review of the past legislative history makes it clear that Congress has actively
considered these alternative proposals to place a tax on carbon and has done so many times since
1990. Many bills were introduced and considered in committees. Some were voted on the floor
of the House or Senate. But none received the required votes to be passed by both the House and
the Senate. The class of policy instruments advocated by Professor Stiglitz has been considered
many times by federal policy makers and has, so far, been rejected.

158.       The potential consequences of these proposals have been discussed in the economic
literature and presumably have been understood by members of Congress and past
administrations. The U.S. Congress has not chosen to make the changes proposed by Plaintiffs.
Plaintiffs’ experts are thus asking the Court to override the trade-offs that have been made
deliberately in the legislative processes.


X.         There Is an Important Economic Distinction between the Federal Government’s
           Direct Emissions and the Federal Government’s Role and Potential Role as
           Regulator of Third-Party Emissions


159.       Plaintiffs assert that the federal government has not caused the U.S. economy to reduce
emissions of GHG as much as the federal government should have. 169 There is an important
economic distinction to make between the direct emissions of the federal government and the
federal government’s role in regulating the emissions of third parties such as companies,
individuals, and state and local governments. The federal government directly controls its own
emissions, but does not control the conduct of third parties. As a result, the federal government




169   Complaint, ¶98, Hansen Report, pp. 3–4, and Speth Declaration ¶10.


                                                                                                     55
       Case 6:15-cv-01517-AA                     Document 338-4               Filed 08/24/18      Page 60 of 129




must rely on either command-and-control mandates or a system of regulations that create
incentives to induce third parties to engage in the conduct it desires.


                       Figure 8. Sources of Greenhouse Gas Emissions in the U.S.
                                                                2016


                                           Residential 5%      Other 1%




                                                Commercial
                                                   6%



                                                                                 Transportation
                                  Agriculture
                                                                                      28%
                                      9%




                                          Industry
                                            22%

                                                                      Electricity generation
                                                                                28%




Source: U.S. Environmental Protection Agency, 2018, “Inventory of U.S. Greenhouse Gas Emissions and Sinks: 1990–2016.”
Note: Other refers to “U.S. Territories” in the EPA dataset.

160.      The vast majority of GHG emissions in the U.S. come from activities of private sector
firms, individual residents of the U.S., and state and local governments from consumption and
production activities, such as driving cars and trucks, growing and transporting food, lighting and
heating their homes and offices, manufacturing goods and services. 170 Figure 8 shows the 2016
estimate of these various sources. Importantly, only a very small fraction of these sources is
directly controlled by the federal government. For example, electricity generation is primarily
regulated by states, with limited direct oversight by the federal government. Transportation is
dominantly cars and trucks purchased and driven by individuals or businesses. The federal


  As I discuss in Section XI, the direct emissions of the Federal government are a small proportion of U.S.
170

emissions.


                                                                                                                         56
       Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18         Page 61 of 129




government has passed laws (CAFE standards) creating minimum fuel economy standards, but
does not regulate how much anyone drives or rides in a vehicle. Most aircraft passenger-miles
are provided by private sector airlines.

161.     The federal government does not directly control the actions of these third parties.
Therefore, reducing emissions by third parties would require providing incentives for third
parties to choose actions that emit less. From an economics perspective, even banning emissions
(a form of direct mandate) can be viewed as providing a (dis)incentive. Given the (dis)incentives
of choosing certain actions, private entities will weigh the benefits of emitting against the
potential costs. Costs under an emissions ban would include the penalties associated with
emitting taking into account the likelihood of getting caught. Bans come with their own costs
such as potentially generating black markets for the banned goods and requiring enforcement by
the government. Before instituting a ban (or other form of (dis)incentive), it is important to
consider the costs and benefits of the intervention.

162.     As an example, I examine some of the economic considerations associated with fossil
fuel production, distinguishing between the direct decisions of the federal government and the
federal government’s role in regulating third parties.

163.     Plaintiffs state that the federal government has allowed “excessive” production of fossil
fuels from federal lands 171 and that the federal government has allowed, permitted, and
subsidized production of fossil fuels in the U.S. by private sector firms and individuals on lands
owned by private parties. 172 Although Plaintiffs emphasize the negative externalities, judgments
about the appropriate amount of fossil fuel production depends on a comparison of the benefits
and costs. Plaintiffs appear to have not examined this balance.

164.     There is an economic benefit to the U.S. of producing these natural resources. First,
these fossil fuels are used by private sector firms, individual residents of the U.S., and state and
local governments, among others, who value use of the fossil fuels. If these fuels are not
available, these users would derive the value from fossil fuels produced elsewhere or would not

171 Complaint, Section II. B. Note that the majority of each of the fossil fuels was not produced on federal lands. In

2016, 24% of the crude oil was produced on federal lands, 14% of the natural gas, and 40% of the coal. See
National Resources Revenue Data, U.S. Department of the Interior, https://revenuedata.doi.gov/explore/, accessed
August 3, 2018.
172
    Complaint ¶110–112.


                                                                                                                    57
       Case 6:15-cv-01517-AA        Document 338-4        Filed 08/24/18      Page 62 of 129




derive that value at all. For example, users would either need to substitute towards more
expensive or inconvenient forms of transportation, manufacturing, space heating, etc. or to forgo
these end uses of energy altogether. Second, production of these fossil fuels provides jobs,
particularly in some regions facing only limited employment options. Third, production of these
fossil fuels provides profit for the producing firms. Fourth, production of these fossil fuels
provides revenues to the federal government in the form of bonus bids, royalties, and taxes.
Finally, production of fossil fuels decreases energy imports into the U.S. and thus reduces U.S.
vulnerability to energy supply disruptions, thereby enhancing national security.

165.    Subtracting from the economic benefits are the economic costs, particularly the
environmental externalities associated with fossil fuel production and use.

166.    Stopping production would have negative consequences, including economic losses to
regions of the country, individuals, and industries, and a loss of revenues captured by the
government. Reducing crude oil production could be expected to increase the price of crude oil
and gasoline, leading to a redistribution of wealth from both the developing and developed oil-
importing countries to the oil exporting countries (and in many cases, to their rulers.) Reducing
natural gas production could be expected to increase the price of electricity. These cost increases
would have negative income impacts on consumers of gasoline, electricity, and other energy.
Stopping production would lead to job losses, concentrated in energy producing areas of the
U.S., some of which have only limited employment options. It would lead to increased imports
of energy with the resulting reductions in national security. Stopping production implies that the
federal government would have to either increase taxes to cover the losses, reduce the provision
of federally provided services, or increase the national debt.

167.    These consequences have been valued differently by different segments of the U.S.
population. Federal administrations have had the opportunity to expand or contract the federal
leasing, based on their judgments of the array of consequences. Congress has the opportunity of
influencing the nature and extent of leasing. But given the very negative consequences of halting
production, I have not found it surprising that there has been a consistent policy of using the
natural resources, including for the production of fossil fuels.




                                                                                                   58
       Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18        Page 63 of 129




168.     Plaintiffs ask that the Court “order Defendants to cease their permitting, authorizing, and
subsidizing of fossil fuels….” 173 Plaintiffs have made this recommendation but apparently have
not laid out the negative consequences, including economic losses to regions of the country,
individuals, and industries, the loss of revenues captured by the government, and the national
security reductions.


XI.      Plaintiffs and Their Experts Fail to Establish that the Acts of the Federal
         Government Caused Their Alleged Injuries


169.     In this section I turn from U.S. energy policy and the merits of Plaintiffs’ allegations
regarding U.S. energy policy to Plaintiffs’ theory of harm.

170.     Plaintiffs allege that their injuries were caused by three elements of Defendants’ alleged
conduct (the “conduct at issue”), each of which caused GHG emissions to increase:
         (i)      the U.S. government’s consumption of fossil fuels;

         (ii)     Defendants’ affirmative regulatory acts (e.g., tax subsidies for fossil fuel
                  production, permits for extraction of fossil fuels from public lands, and other
                  measures), which increased the supply of fossil fuels available for purchase and
                  consumption by entities other than the federal government; and

         (iii)    Defendants’ alleged failure to develop policies to eliminate the use of fossil fuels
                  and mitigate GHG emissions by entities other than the federal government.

171.     I show in this section that Plaintiffs fail to establish a causal link from the conduct at
issue to the injuries they allege. Plaintiffs attribute their injuries to the conduct at issue, but
ignore the fact that at least 96% of cumulative global CO2 emissions since 1990 — the root cause
of rising atmospheric CO2 concentrations and climate change effects that purportedly lead to
Plaintiffs’ alleged injuries — are associated with fossil fuel consumption unrelated to the
conduct at issue. 174


173Complaint, ¶12.
174For purposes of rebuttal, I assume arguendo that the conduct at issue began as of 1990. Global CO2
concentration as of 1990 was approximately 350 ppm, the level that Plaintiffs propose in their request for relief. See
Complaint, ¶259. Further, in terms of the expectation that the government should have known and should have
made policy based on its knowledge, 1990 is a reasonable date. Professor Hansen published his seminal climate


                                                                                                                    59
      Case 6:15-cv-01517-AA               Document 338-4           Filed 08/24/18        Page 64 of 129




         a.   Countries other than the U.S. accounted for 79% of cumulative energy-related CO2
              emissions from 1990 to 2015. 175

         b.   The remaining 21% of global CO2 emissions during that period occurred in the
              United States. A large majority of these emissions were not caused by the conduct at
              issue.

         c.   CO2 emissions caused directly by the government through its consumption of fossil
              fuels comprise approximately 0.25% of global CO2 emissions. Thus approximately
              99.75% of global energy-related CO2 emissions were caused by countries other than
              the United States, or by entities in the United States other than the Federal
              government.

         d.   I estimate that CO2 emissions caused by all of the conduct at issue, including
              emissions allegedly caused directly by Defendants, emissions allegedly caused by
              Defendants’ affirmative policy acts, and emissions allegedly caused by Defendants’
              alleged failure to act, comprise no more than 4% of global emissions. Note that this
              figure includes emissions from the actions of entities in the U.S. other than the
              federal government, including private sector firms, individual residents of the U.S.,
              and state and local governments. Thus at least 96% of global emissions were caused
              by (i) countries other than the U.S., or (ii) fossil fuel consumption by entities other
              than the federal government that would have occurred absent Defendants’ conduct at
              issue.



change paper in 1981 and testified before the U.S. Senate in 1988 and 1989, and the EPA published a study of
climate stabilization options (“Policy Options for Stabilizing Global Climate”) in 1990. See Hansen Report, pp. 12-
13, 16 and Complaint, ¶3. Plaintiffs claim that a 1965 report published by the White House (“Restoring the Quality
of Our Environment”) is a further example of the “extensive knowledge Defendants have had about the dangers they
caused to present and future generations.” See Complaint, ¶6. However, the White House Report also conveys a
great deal of uncertainty and does not appear to be a sufficiently strong foundation to dictate energy policy. For
example, the report states that “the increase in atmospheric CO2 … may be sufficient to produce measurable changes
in climate,” but that “at present it is impossible to predict these effects quantitatively,” and that “even today, we
cannot make a useful prediction concerning the magnitude or nature of the possible climatic effects.” See
“Restoring the Quality of Our Environment,” The White House, 1965, pp. 114, 126, 127.
175 U.S. Energy Information Administration, International Energy Statistics. Plaintiffs state that “[b]etween 1751

and 2014, the United States has been responsible for emitting 25.5% of the world’s cumulative CO2 emissions.”
Complaint, ¶151. Defendants have stated that “from 1850 to 2012, CO2 emissions from sources within the United
States (including from land use) comprised more than 25 percent of cumulative global CO2 emissions.” See
Answer, ¶151.


                                                                                                                  60
       Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18       Page 65 of 129




172.    Finally, I conclude that Plaintiffs fail to establish a causal link between their alleged
injuries and climate change effects allegedly caused by the conduct at issue. I conclude that
factors other than the conduct at issue are the primary causes of the climate change effects that
the Plaintiffs allege to have caused injuries.

        A.       Plaintiffs and Their Experts Fail to Establish Causation

173.    Plaintiffs and their experts appear to attribute their alleged injuries solely and exclusively
to the alleged conduct at issue. However, many factors other than the conduct at issue have
contributed to a higher atmospheric CO2 concentration and consequent climate change effects.
Given this, Plaintiffs’ implicit argument that their injuries are attributable primarily to U.S.
emissions is incorrect. Plaintiffs and their experts fail to account for these factors and isolate the
incremental contribution of the conduct at issue to Plaintiffs’ alleged injuries.

174.    Plaintiffs state that:

             a. The conduct at issue caused an increase in the supply and consumption of fossil
                 fuels in the U.S. and an increase in U.S. CO2 emissions. 176

             b. Increased U.S. CO2 emissions in turn caused an increase in the atmospheric
                 concentration of CO2. 177

             c. Higher CO2 concentration in turn caused climate change effects, including higher
                 temperatures, changes in precipitation patterns and amounts, an increase in the
                 likelihood of extreme weather events, and other changes in climate. 178

             d. Climate change effects in turn allegedly caused Plaintiffs’ injuries (e.g. health
                 effects, psychological effects, loss of recreational enjoyment, property damage,
                 etc.). 179

175.    Based on Defendants’ Answer and for purposes of this litigation, I understand that the
links in the middle of the chain (i.e., (a)-(c) above) are not contested. 180 However, items (a)-(c)


176 Complaint, ¶¶151–153.
177 Complaint, ¶98.
178 Complaint, ¶¶131, 220.
179 Complaint, ¶¶16–97.
180 Answer, ¶1.




                                                                                                       61
         Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18        Page 66 of 129




alone are not sufficient to establish that the conduct at issue was the sole or primary cause of
Plaintiffs’ alleged injuries. Plaintiffs and their experts do not present any analysis that controls
for the impact of emissions from sources other than the federal government. Thus even if they
can establish that global climate change caused their injuries, they have not presented any
analysis to show that Defendants’ emissions (or emissions caused by Defendants’ conduct at
issue) caused Plaintiffs’ alleged injuries.

176.       Plaintiffs and their experts fail to state what CO2 concentrations and U.S. CO2 emissions
would have been absent the conduct at issue. Indeed, Plaintiffs do not say when the conduct at
issue first began, which makes it impossible to determine the counterfactual level of emissions
and CO2 concentration. 181

177.       Further, they fail to state the amount (if any) by which the “unusually dangerous risks,”
“imminent dangers,” and other injuries alleged in the complaint increased as a result of changes
in CO2 concentration and consequent climate change effects. These are glaring omissions.

           B.       Plaintiffs’ Experts Fail to Identify the Incremental Impact of the Conduct at
                    Issue on Cumulative CO2 Emissions and CO2 Concentration

178.       The U.S. has contributed 21% of cumulative global energy-related CO2 emissions since
1990. 182 It follows that 79% of global energy-related CO2 emissions since 1990 are attributable
to countries other than the U.S. However, Plaintiffs fail to account for this fact. If
approximately 79% of the change in CO2 concentration since 1990 is attributable to sources
other than the U.S., then Plaintiffs’ apparent belief that their injuries are attributable solely to the
conduct at issue is wrong on its face.

179.       Further, Plaintiffs fail to identify the portion of U. S. territorial emissions (i.e., all energy-
related emissions generated in the United States) that are specifically attributable to the conduct
at issue. I show in the following sections that a large majority of U.S. territorial emissions were
unrelated to the conduct at issue, whether construed narrowly as emissions from Defendants’
consumption of fossil fuels, or broadly as emissions generated by entities other than the
government as a result of Defendants’ conduct at issue. Emissions from Defendants’ direct


181   For purposes of rebuttal, I assume arguendo that the conduct at issue began as of 1990.
182   U.S. Energy Information Administration, International Energy Statistics.


                                                                                                             62
       Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18          Page 67 of 129




consumption of fossil fuels were a very small part of total U.S. emissions, and emissions caused
by Defendants’ affirmative policy acts (e.g., subsidies) were small as well.

                  1.       Defendants’ Direct Consumption of Fossil Fuels


180.     Although the U.S. government is a large consumer of energy relative to other economic
actors in the U.S., 183 it represents only a small fraction of U.S. territorial emissions, and therefore
a very small fraction of global emissions, hence its contribution to CO2 concentration (which
depends on global emissions) is very small. 184

181.     EIA data show that the federal government accounted for 1.2% of total U.S. energy
consumption from 1990 to 2015. 185 Assuming that the carbon intensity of the government’s
energy consumption is the same as the carbon intensity of the U.S. economy as a whole, it
follows that the federal government accounted for 1.2% of U.S. energy-related CO2 emissions
from 1990 to 2015 and 0.25% of global energy-related CO2 emissions from 1990 to 2015. 186

182.     Thus 99.75% of all energy-related global CO2 emissions from 1990 to 2015 was caused
by entities other than the federal government.




183 The government consumes energy to operate more than 350,000 buildings and power more than 600,000
vehicles. See “Government Energy Management,” Office of Energy Efficiency and Renewable Energy,
https://www.energy.gov/eere/efficiency/government-energy-management, accessed August 3, 2018. The
Department of Defense is the largest energy consumer among government agencies, except for the use of gasoline
by the U.S. Postal Service, which accounted for 40% of the U.S. government’s total gasoline consumption. See
“U.S. federal government energy costs at lowest point since fiscal year 2004,” U.S. Energy Information
Administration, https://www.eia.gov/todayinenergy/detail.php?id=33152, accessed August 3, 2018.
184 Note also that the federal activities that emit GHGs have important value to the fundamental objectives–

economic welfare, national security, and environmental protection. Shutting these activities down would lead to
severe negative consequences, unless these activities were conducted by private sector firms. In that case, the
greenhouse gas emissions could be expected to be as great as they are now. And in some cases, such as national
defense, it is very unlikely that the function could be conducted nearly as effectively if it were not the responsibility
of the Federal government.
185 U.S. Energy Information Administration, “July 2018 Monthly Energy Review,” Table 2.1 Energy Consumption

by Sector, Table 2.7 U.S. government energy consumption by agency, fiscal years.
186 Approximately 0.21 (U.S. share of global energy-related CO emissions from 1990 to 2015) * 0.012 (U.S. federal
                                                                  2
government’s share of U.S. energy-related CO2 emissions from 1990 to 2015) = 0.0025 (U.S. federal government’s
share of global energy-related CO2 emissions).


                                                                                                                      63
       Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18         Page 68 of 129




                  2.       Defendants’ Affirmative Policy Acts


183.     As of 2015, the majority of U.S. fossil fuel production was on private land and was
therefore unaffected by government permitting policies for public lands. 187 Moreover, because
the U.S. is a net importer of fossil fuels, 188 sources other than U.S. public lands account for an
even larger proportion of U.S. fossil fuel consumption.

184.     As for subsidies, which affect production incentives on private and public land, academic
research has shown that while subsidies may induce fossil fuel production from otherwise
unprofitable sources, the incremental impact is small and decreases as the price of oil
increases. 189 Moreover, the subsidies themselves are available only for small, independent
producers; integrated suppliers are not eligible. 190 Further, the aggregate subsidies are small: as
explained previously, the average subsidy paid to fossil fuel producers was approximately $0.02
per gallon of gasoline. By comparison, the average tax on a gallon of gasoline from 1990 to
2015 was approximately $0.53 per gallon, or more than twenty times the size of subsidies. 191

185.     Further, the subsidies at issue would likely have a negligible impact on global production
and consumption of fossil fuels and GHG emissions because changes to domestic fossil fuel
production would likely be offset by changes in world production, and because demand for fossil


187 As of 2016, less than half of fossil fuel production in the U.S. was on federal lands. Public land accounted for
14% of U.S. natural gas production, 24% of U.S. crude oil production, and 40% of U.S. coal production. See
National Resources Revenue Data, U.S. Department of the Interior, https://revenuedata.doi.gov/explore/, accessed
August 3, 2018.
188 U.S. Energy Information Administration, “May 2018 Monthly Energy Review,” Table 1.4b Primary Energy

Exports by Source and Total Net Imports.
189 For example, Jewell et al. (2018) find that “removing fossil fuel subsidies would have an unexpectedly small

impact on global energy demand and CO2 emissions and would not increase renewable energy use by 2030.” See
Jessica Jewell et al., “Limited Emission Reductions from Fuel Subsidy Removal Except in Energy-Exporting
Regions,” Nature 554, 2018, pp. 229. Erickson et al. (2017) find that tax preferences and direct subsidies can push
oil production from being unprofitable to profitable. Their result depends on oil prices. If oil prices increase to $75
per barrel, the impact of subsidies will be limited. See Peter Erickson et al., “Effect of Subsidies to Fossil Fuel
Companies on United States Crude Oil Production,” Nature Energy 2, 2017, pp. 891–898.
190 David Blackmon, “Oil And Gas Tax Provisions Are Not Subsidies For ‘Big Oil’,” January 2, 2013, Forbes,

https://www.forbes.com/sites/davidblackmon/2013/01/02/oil-gas-tax-provisions-are-not-subsidies-for-big-
oil/#6bd8d0ca52e8, accessed August 12, 2018.
191 As of January 1, 2018, the federal gasoline tax was $0.18 per gallon, and average state tax was $0.28. From 1990

to 2015, the average combined federal and state gasoline tax was approximately $0.53 per gallon. See “How much
tax do we pay on a gallon of gasoline and a gallon of diesel fuel?” U.S. Energy Information Administration,
https://www.eia.gov/tools/faqs/faq.php?id=10&t=10, accessed August 11, 2018. See also “Highway Statistics
2015,” U.S. Department of Transportation, Table MF–205 State Motor-Fuel Tax Rates, Table FE–101A Federal
excise tax rates on motor fuels and lubricating. oil. See also “Highway Statistics 2000,” U.S. Department of
Transportation, Table MF–1, State Motor-Fuel Tax Rates, 1985–2000.


                                                                                                                    64
      Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 69 of 129




fuels is relatively inelastic (i.e., not sensitive to price changes). 192 Figure 9 shows the impact on
fossil-fuel consumption if the U.S. were to remove subsidies. The bottom fossil fuel supply line
shows the quantity of fossil fuels that producers would provide at a given price with subsidies in
place from the federal government. Removing the subsidies would reduce U.S. fossil fuel output
and shift global supply to the transitional supply line, which exhibits a higher price required to
produce a given quantity of fossil fuels than the original supply line. The increase in price,
however, would induce additional production from the rest of the world and partially offset the
reduction in supply from the U.S. This is depicted in the figure by the movement from the
transitional supply line to the final supply line with no U.S. subsidies. Thus the overall quantity
of fossil fuel production and consumption is relatively small. Furthermore, because demand is
inelastic (the line representing demand is almost vertical), movements in the supply curve do not
translate into large changes in the quantity of fossil-fuel production and consumption.




192John C.B. Cooper, “Price Elasticity of Demand for Crude Oil: Estimates for 23 Countries,” OPEC Review 27,
no. 1, 2003, pp. 1 (“The estimates so obtained confirm that the demand for crude oil internationally is highly
insensitive to changes in price.”).


                                                                                                                 65
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 70 of 129




       Figure 9. Global Fossil Fuel Market Response to Removal of U.S. Subsidies




                 3.       Defendants’ Alleged Failure to Develop Policies to Mitigate GHG
                          Emissions by Entities Other Than the Federal Government.


186.    Plaintiffs and their experts offer no analysis to link the failure to develop policies to the
impacts on GHG emissions. Thus I conduct two back-of-the-envelope calculations to distinguish
between GHG emissions caused by the conduct at issue, and emissions not caused by the
conduct at issue.

187.    Suppose the U.S. had ceased policies facilitating fossil fuel supply and consumption, and
acted to encourage the development of clean energy, and assume for illustration that these
hypothetical policy changes could have reduced past U.S. energy-related emissions by 20%.
Then global emissions would have been about 4% lower. 193 If all emissions directly attributable
to the federal government were halted, that would add an additional 0.25%. Thus approximately
96% of global emissions are attributable to sources other than the conduct at issue: 79% of


193This takes U.S. emissions to have been 21% of historical global energy-related CO2 emissions, energy use to be
approximately 95% of world CO2 emissions, and emissions from energy uses to be reduced by 20%. Multiplying
these three factors gives 3.99% reduction.


                                                                                                                66
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 71 of 129




global past emissions are attributable to other countries, 17% are attributable to remaining
emissions by non-federal U.S. entities, and only 4% can be attributed to the policies and direct
conduct of the federal government.

188.    Second, for discussion, I take the extreme assumption that somehow the U.S. was able to
eliminate all fossil fuel production and consumption from 1990 onward. This extreme
assumption would have been impossible, but it allows some observations.

189.    Because the U.S. was a net importer of fossil fuels as of 1990, if the U.S. had ceased both
production and consumption of fossil fuels in 1990, aggregate global demand would have
contracted by a larger amount than aggregate global supply, equilibrium prices for fossil fuels
would have fallen as a result, rest-of-world fossil fuel consumption would have increased in turn
by a relatively small amount, and rest of the world production would increase approximately
making up for the reduction in net imports to the United States. Thus, global fossil fuel
consumption and production would have declined, but by an amount somewhat smaller than the
decrease in the U.S. fossil fuel consumption.

190.    If nothing else happened in this hypothetical scenario, the global emissions from 1990
until now would have fallen by 21%. The global emissions would still have been 79% of their
actual level. However, the hypothetical scenario likely would have displaced energy-intensive
industries from the U.S. to other locations in which consumption of fossil fuels remained
permissible. In that case, rest-of-world fossil fuel consumption and CO2 emissions would likely
have increased due to displacement of these industries. As a result, rest-of-world CO2 emissions
would have increased and global emissions would have decreased by less than the 21%. 194 In
this hypothetical scenario, more than 79% of global emissions would still be attributable to
sources other than the United States.

191.    If we postulated a less severe, but still hypothetical scenario, in which beginning in 1990,
the U.S. production and consumption of fossil fuels were cut in half from their actual levels, then
more than 90% of global emissions would still be attributable to sources other than the United

194See Sweeney, p. 116 (“Structural shifts are particularly significant for the industrial sector because of the
movement of manufacturing to China.). See also Sweeney, pp. 116–117, fn. 3 (“This point has particular relevance
for examining global climate change issues. If the particularly carbon-intensive products are manufactured in China
and exported to the United States, then although the carbon emissions in the United States decrease, the U.S.
decreases are matched by roughly equivalent Chinese increases in emissions.”).


                                                                                                                 67
       Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18         Page 72 of 129




States. 195 However, I hasten to add, that such a scenario could not have been accomplished by
the federal government.

192.     I understand that Defendants’ expert Professor Weyant has carried out a more formal
counterfactual analysis, and likewise concludes that the incremental contribution of the conduct
at issue to changes in CO2 concentration and Plaintiffs’ alleged injuries was quite small. Using
climate modeling software, Professor Weyant computes CO2 concentrations assuming that (i)
U.S. CO2 emissions fell by 25% after 1990, and (ii) U.S. CO2 emissions were zero (i.e., declined
by 100%) after 1990. These two scenarios correspond to the assumption that the conduct at issue
caused, respectively, 25% and 100% of U.S. CO2 emissions.

193.     The first scenario likely overstates the incremental contribution of all the conduct at issue
to U.S. CO2 emissions, and the second scenario corresponds to my hypothetical scenario. Actual
CO2 concentrations increased by 13% from 1990 to 2015. 196 Professor Weyant finds that CO2
concentrations would have increased by 12% had the U.S. reduced its CO2 emissions by 25% as
of 1990, and by 10% had the U.S. eliminated its CO2 emissions as of 1990. These results
demonstrate that a large majority of the changes in CO2 concentration since 1990 are attributable
to causal factors other than the conduct at issue.

194.     Further, simple economic analysis suggests that in the rest of the world, fossil fuel
consumption and CO2 emissions would have increased by a small amount in response to the
U.S.’s hypothetical conduct of eliminating CO2 emissions. 197 Global CO2 emissions therefore
would not have decreased by the amount of the reduction in the U.S. emissions, hence the
change in CO2 concentration would have been smaller than the 3 percentage point difference
noted above, for the reasons discussed above.




195 This takes U.S. emissions to have been 21% of historical global energy-related CO2 emissions, energy use to be
approximately 95% of world CO2 emissions, and emissions from energy uses to be reduced by 50%. Multiplying
these three factors and adding direct federal emissions share of 0.25% gives 10.225% reduction.
196 CO concentration was 354 ppm in 1990 and 399 ppm in 2015. Data from National Oceanic and Atmospheric
        2
Administration, Earth System Research Laboratory, Global Monitoring Division,
ftp://aftp.cmdl.noaa.gov/products/trends/co2/co2_annmean_gl.txt, accessed August 3, 2018.
197 The climate change literature recognizes this general economic principle. See, e.g., Christoph Böhringer et al.,

“Introduction to the EMF 29 Special Issue on the Role of Border Carbon Adjustment in Unilateral Climate Policy,”
Energy Economics 34, sup. 2, 2013, pp. S95–S96.


                                                                                                                   68
         Case 6:15-cv-01517-AA          Document 338-4         Filed 08/24/18     Page 73 of 129




           C.      Plaintiffs Fail to Establish a Causal Link Between Their Alleged Injuries and
                   Climate Change Effects Caused by the Conduct at Issue

195.       I demonstrated in the previous section that, except in hypothetical scenarios, substantially
all (96%) of cumulative CO2 emissions since 1990 are attributable to factors other than the
conduct at issue, namely emissions from other countries (79%) and emissions from entities
within the U.S. other than the federal government that would have occurred absent the alleged
misconduct (17%).

196.       Plaintiffs fail to control for the impact of factors other than the conduct at issue, and
instead assume that the climate change effects that allegedly caused their injuries are attributable
entirely to the conduct at issue.

197.       But this reasoning is wrong on its face. If factors other than the conduct at issue have
caused substantially all of cumulative CO2 emissions since 1990, it follows that those factors,
rather than the conduct at issue, are the primary cause of the increase in atmospheric CO2
concentration since 1990 and, therefore, the climate change effects that the Plaintiffs’ alleged to
have caused their injuries.

198.       Examples from the Complaint demonstrate the error in Plaintiffs’ logic:

                a. Plaintiffs allege that named plaintiff Kelsey Cascadia Rose Juliana has already
                   sustained injury due to a 2015 salmon die-off caused by “record-setting heat and
                   low water levels.” 198 Plaintiffs fail to show whether the “record heat,” and “low
                   water levels,” that caused the salmon die-off events would occur absent the
                   conduct at issue. Instead, they appear to assume that absent the conduct at issue,
                   these climate change effects and consequent injuries would not occur.

                b. First, this assertion fails to show that the changes were not the result of natural
                   variability of weather. The assertion also fails to account for the fact that absent
                   the conduct at issue, substantially all of the increase in atmospheric CO2
                   concentration since 1990 would remain, as would the resulting climate change
                   effects.



198   Complaint, ¶17.


                                                                                                          69
         Case 6:15-cv-01517-AA               Document 338-4    Filed 08/24/18     Page 74 of 129




                c. Plaintiffs also allege that named plaintiff Jacob Lebel and his family have been
                    forced to invest in an irrigation system “in order to contend with the increasing
                    drought conditions as a result of climate destabilization caused by Defendants.” 199
                    Plaintiffs appear to assume that absent the conduct at issue, there would be no
                    “increasing drought conditions,” and that construction of the irrigation system
                    would therefore not be necessary. Again, this logic fails to account for the fact
                    that absent the conduct at issue, substantially all of the increase in atmospheric
                    CO2 concentration since 1990 would remain, as would the resulting climate
                    change effects that made the Lebels’ irrigation system necessary.

199.       The remaining injury claims set forth in the Complaint exhibit similar errors in logic.

200.       Finally, Plaintiffs ignore the benefits they may have realized as a result of the conduct at
issue. Plaintiffs’ injuries (if any) attributable to the conduct at issue will be overstated unless
Plaintiffs also account for benefits received as a result of those acts. Plaintiffs likely benefitted
from U.S. climate policies since 1990; those benefits include living in a safer nation due to
national security priorities, benefitting from government and private services that relied on fossil
fuels, including the U.S. armed forces. In order to accurately assess Plaintiffs’ injuries (if any),
all of the benefits and harms that Plaintiffs received from current policies must be considered and
compared to the benefits and harms they would realize under the counterfactual climate policy
scenario. Plaintiffs have not shown this more complete and balanced accounting.


XII.       Plaintiffs’ Experts’ Proposed Transformations of the U.S. Energy System Are Not
           Technically or Economically Feasible


201.       Plaintiffs have submitted expert reports from Professor Jacobson and Professor Williams,
both of whom propose highly ambitious changes to the U.S. energy system that they claim would
eliminate or dramatically reduce energy-related GHG emissions in the U.S. 200

202.       Professor Jacobson proposes a transition by 2050 from the current U.S. energy
infrastructure to a “100% clean, renewable energy system for all energy sectors” based on energy


199   Complaint, ¶32, emphasis added.
200   Jacobson Report, p. 2; Williams, Report, p. 3.


                                                                                                         70
       Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18         Page 75 of 129




generated exclusively from renewable sources (wind, water, and solar). 201 Professor Jacobson
asserts that his proposed transition is “technically and economically feasible,” that any barriers
impeding the transition are “social and political,” 202 and that the unit price of electricity as of
2050 would be lower than the unit price under the conventional system in use today. 203

203.     Professor Williams concludes that a “deep decarbonization pathway” leading to a
reduction of 80% in U.S. GHG emissions by 2050 is “technically feasible” using “commercially
demonstrated or near-commercial technologies.” 204 Professor Williams estimates the cost for a
transformed energy system as of 2050 as 0.8% of 2050 GDP. 205

204.     Professor Williams concedes that this level of mitigation is not sufficient to meet the 350
ppm target set forth in Plaintiffs’ demand for relief. He concludes in particular that 80%
mitigation of GHGs is not sufficient to avoid “dangerous anthropogenic interference with the
climate system over the long term,” and that mitigation of 96% of fossil fuel CO2 emissions
world-wide is necessary in order to return the atmosphere to a safer CO2 concentration of 350
ppm (the level adopted by Plaintiffs in their demand for relief). 206 Professor Williams states this
higher level of mitigation must rely on “emerging” technologies and will require higher “unit
costs,” additional economic losses through early retirement of fossil fuel infrastructure, and
“changes in the consumption of energy services and/or rates of consumption growth.” 207

205.     Many elements of the energy system transformations proposed by Professors Jacobson
and Williams are not technically feasible. Both assume the existence of technologies that are in
development and, at best decades from commercial acceptance. For example, as I explain below,
both assume that vehicle demand will shift entirely from gasoline-powered vehicles to electric
vehicles by a given date (2030, in Professor Jacobson’s case), despite the fact that existing
technology is not cost-effective and has so far captured very little market share. Professor


201
    Jacobson Report, p. 2.
202 Jacobson Report, pp. 4, 11.
203 Jacobson Report, p. 10.
204 Williams Report, pp. 4–5.
205 As an aside, I note that Professor Williams and Professor Jacobson contradict each other with respect to the cost

of decarbonization. Professor Jacobson promises a higher level of GHG mitigation than Professor Williams (100
percent rather than 80 percent), yet the cost of Professor Jacobson’s 100 percent mitigation is lower than that of the
80 percent mitigation in Professor Williams’ model.
206 Williams Report, pp. 3, 10.
207 Williams Report, p. 12.




                                                                                                                     71
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 76 of 129




Jacobson further assumes that (i) by 2040, hydrogen–and electric–powered airplanes will replace
existing fossil-fuel-powered jet airplanes; 208 and (ii) underground thermal energy storage
(“UTES”) will replace existing heating and cooling systems for residential and commercial
buildings, requiring a retrofit of almost all residential and commercial buildings in the United
States. He assumes this even though the largest deployment of the technology in North America
is a 52-home demonstration project in which homes were purpose-built to accommodate
UTES. 209

206.    Neither Professor Jacobson nor Professor Williams provides a credible estimate of the
full costs of their respective proposals. They both focus on costs of energy supply, that is, the
infrastructure necessary to deliver power to users, but overlook the significant investment
required for consumers or businesses to invent, develop, and/or adopt new low-carbon energy
technologies. As a result, their respective proposals omit many of the massive costs that the U.S.
would incur in shifting to a low-carbon energy system.

207.    Even if technically feasible, the energy system transformations proposed by Professors
Jacobson and Williams are not economically viable and would likely require an unprecedented
level of government intervention in the economy. Professor Jacobson’s and Professor Williams’
proposals require implicitly: (i) major consumer behavioral change, (ii) significant costs borne
by the government or directly by energy users, and (iii) leaps in technology.

208.    Plaintiffs’ experts’ proposed energy systems would require regulatory intervention on a
massive scale. Neither of Plaintiffs’ experts provide a sense of the wide-ranging scope of the
changes required nor do they lay out the means to accomplish the required changes. They
provide no evidence that their proposals can be accomplished in the context of a market
economy. Furthermore, Plaintiffs’ experts fail to consider all of the ramifications of the required
policies.

209.    Professor Jacobson offers no discussion of the policy and regulatory measures necessary
to induce firms to invent and develop these low-carbon technologies (e.g. hydrogen-powered
airplanes, electric cement plants) nor to produce and market them. He offers no discussion of the

  Jacobson Report, pp. 6, 17.
208

  Christopher T. M. Clack et al., “Supporting Information for the Paper ‘Evaluation of a Proposal for Reliable
209

Low-Cost Grid Power with 100% Wind, Water, and Solar,’” PNAS, 2017, p. 5.


                                                                                                                 72
       Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18         Page 77 of 129




policy and regulatory measures necessary to induce consumers and firms to adopt low-carbon
technologies (e.g., vehicles, heating systems, manufacturing processes) that are more costly than
alternatives based on fossil fuels.

210.     While Professor Williams addresses questions of policy in Exhibit E of his report, his
analysis raises questions about the economic system that would be consistent with his proposals.

211.     Both experts ignore significant economic and/or technical obstacles to their respective
proposals, and simply assert, without support, that there are no such obstacles. 210 The fact is that
there are numerous technical and economic barriers that would impede the adoption of their
proposed energy systems. Ignoring these obstacles and ordering policy based on these proposals
would not lead to the desired outcome Plaintiffs seek.

212.     Plaintiffs’ experts’ proposed energy systems, implementation timelines, and cost
estimates deviate greatly from the conclusions set forth in a large body of literature that studies
the problem of decarbonization and GHG mitigation.

213.     I explore each of these points in the sections that follow.

         A.       Several Examples Demonstrate the Technical and Economic Infeasibility of
                  Converting Energy End Use to All-Electric or All-Hydrogen Systems

214.     I demonstrate the technical and economic infeasibility by analyzing two sectors
(transportation and industrial) that would be difficult if not impossible to convert to zero
emissions given present technology.

215.     Given these obstacles, one can infer that Professor Jacobson’s and Professor Williams’
proposed energy systems could become a reality only if the government abandoned free market
principles throughout the economy, adopted a command-and-control approach, and mandated the
adoption of the technologies proposed in their energy system, or provided massive subsidies,
which would require tax increases to pay for the subsidies. Such a drastic move, however, still


210 Jacobson Report, p. 4 (“Our research suggests that it is technologically and economically possible to electrify

fully the energy infrastructures of all 50 United States and provide that electricity with 100% clean, renewable wind,
water, and sunlight (WWS) at low cost, if the transition is commenced immediately.”). Williams Report, p. 12 (“It
is technically feasible to achieve an 80% reduction in greenhouse gas emissions below 1990 levels by 2050 in the
United States, while maintaining current levels of energy services without requiring any conservation measures… I
believe that a reduction in natural emissions as deep as 96% below present levels is technologically feasible given
current and emerging technologies… but will not diminish basic quality of life and standards of living.”).


                                                                                                                    73
       Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18        Page 78 of 129




would not guarantee success, as centrally planned economies have in general not been
successful.

                  1.       Transportation: Automobiles


216.     Professors Jacobson and Williams each propose an aggressive, highly ambitious
transformation of automobile transportation in the U.S. from vehicles largely powered by
internal combustion engines to all-electric, plug-in hybrid electric vehicles (“PHEVs”), or
hydrogen-powered vehicles, which I will refer to collectively as zero emission vehicles
(“ZEVs”). 211 The timeline set forth in Professor Jacobson’s report requires that ZEVs comprise
100% of new vehicle sales by 2030; Professor Williams’ plan sets 2040 as the deadline by which
ZEVs comprise 100% of new vehicle sales. 212 Professor Jacobson does not discuss the policies
necessary to facilitate this transformation. Professor Williams, on the other hand, suggests the
need for “a combination of upfront cost reductions, consumer incentives, and roll-out of a
convenient fueling infrastructure coordinated with the share of alternative vehicles in the [light-
duty vehicle] fleet.” 213 Neither Professor Williams nor Professor Jacobson offers any discussion
about the cost of those policies.

217.     As I explain in this section, these goals are far more aggressive than even the most
ambitious state-level ZEV adoption plans currently in place in the U.S., and there is considerable
doubt as to whether the states will realize their more modest goals. Technical challenges, such as
the lack of infrastructure, hinders consumer adoption. Putting aside the question of whether
100% of consumers would actually purchase electric vehicles, I examine the cost of inducing
consumers to do so. As a preliminary approximation, I compute the total payments that would


211 Although both hybrid electric vehicles (“HEVs”) and plug-in hybrid electric vehicles (“PHEVs”) have internal
combustion engines and electric motors, the two types of vehicles differ in a few ways. HEVs use the internal
combustion engine as the main power source with the electric motor as a complement, whereas PHEVs utilize the
electric motor as the main power source. HEVs also generate electricity on board and result in less substantial
energy savings compared to PHEVs. PHEVs in contrast use grid-supplied electricity. Both are considered electric
vehicles (“EVs”). See Alex McEachern, “Hybrids: What is the Difference Between Traditional and Plug-in?”
Electric Vehicle News, June 8, 2012, https://www.fleetcarma.com/hybrids-what-is-the-difference-between-
traditional-and-plug-in/.
212 Jacobson Expert Report, p. 17. Williams Report, Exhibit D, p. D83.
213 Williams Report, Exhibit E, p. E70 (“Such strategies require working across industries – for example, with auto

manufacturers and electric utilities – and need to be robust to changes in factors that affect consumer purchasing
decisions, such as gasoline prices and interest rates.”).


                                                                                                                  74
       Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18         Page 79 of 129




be required under California’s current electric vehicle subsidy program if, as Professor Jacobson
assumes, 100% of car buyers were to purchase electric vehicles (“EVs”). I find that subsidy
payments would account for nearly a quarter of the state budget after removing the essential
expenditures of education, corrections, and health and human services. Given low consumer
acceptance of EVs to date, and the prohibitive costs of inducing consumers to purchase EVs
rather than gasoline-powered vehicles, command-and-control—that is, requiring consumers to
purchase EVs—may be the only regulatory mechanism to achieve Professor Jacobson’s and
Professor Williams’ visions for complete automobile decarbonization.

218.     There are considerable obstacles to consumer adoption of ZEVs over traditional gasoline-
powered cars, as automobile market share data clearly demonstrate. ZEVs have been available
in the U.S. for nearly two decades, yet despite generous federal and state financial incentives, 214
they accounted for 1% of U.S. light-duty vehicle sales in 2017. 215 The EIA estimates that electric
and hybrid vehicle sales will comprise 13% of passenger vehicle sales by 2030, 17% by 2040,
and 19% by 2050. 216, 217

219.     Battery cost, recharging time, and the absence of infrastructure for out-of-home battery
charging are key technical obstacles to widespread consumer adoption of ZEVs. Dramatic
improvements in battery technology are necessary to bring electric vehicles to cost parity with
gasoline-powered vehicles. At current cost levels, an electric vehicle costs less to operate than a
gasoline-powered vehicle only if the price of oil exceeds $350 per barrel. 218 In the last five

214 An example of direct financial incentive is the federal income tax credit of $2,500 to $7,500 for all-electric and
plug-in hybrid vehicles purchases in or after 2010. See “Federal Tax Credits for All-Electric and Plug-in Hybrid
Vehicles,” U.S. Department of Energy, https://www.fueleconomy.gov/feg/taxevb.shtml; U.S. Internal Revenue
Service Bulletin: 2009–48, November 30, 2009, https://www.irs.gov/irb/2009-48_IRB#NOT-2009-89.
215 Even if hybrid electric vehicles are considered, their market share in the U.S. has been at most merely 3.4% since

1999. Data from hybridcars.com and U.S. Department of Energy, Alternative Fuels Center.
216 U.S. Energy Information Administration Report, “Annual Energy Outlook 2018,” February 6, 2018, pp. 9, 114.

This is under the reference (business-as-usual) EIA scenario from 2018. The reference case reflects current laws
and regulations including sunset dates for laws that have them. The reference case also reflects trend improvement
in known technologies and current views of leading economic forecasters and demographers. The potential impacts
of proposed legislation, regulations, and standards are not included.
217 The National Renewable Energy Laboratory Electrification Futures Study indicates that even in their “high”

scenario, PHEVs only account for 84 percent of the light duty fleet in 2050. The “high” scenario represents “a
combination of technology advancements, policy support and consumer enthusiasm that enables transformational
change in electrification.” See Trieu Mai et al., “Electrification Futures Study: Scenarios of Electric Technology
Adoption and Power Consumption for the United States,” Department of Energy Report #DE-AC36_08GO28308,
2018, pp. x, xii, https://www.nrel.gov/docs/fy18osti/71500.pdf.
218 This calculation does not account for subsidies. Thomas Covert et al., “Will We Ever Stop Using Fossil Fuels?”

Journal of Economic Perspectives, 2016, pp. 1–26, at p. 18. See also Jim Gorzelany, “Which (Of Only A Few)


                                                                                                                    75
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 80 of 129




years, oil prices have ranged from $26 to $111. 219 As for infrastructure, the DOE estimated in
2017 that 15 million battery electric vehicles and PHEVs would require 600,000 non-residential
plugs and 25,000 direct current fast charging (“DCFC”) plugs, and that roughly 8,000 uniformly
distributed DCFC stations would be required to provide a minimum level of coverage in cities
and towns such that a battery electric vehicle or PHEV would never be more than three miles
from a charging station. 220 As of August 4, 2018, just 18,551 public electric charging stations
were available in the U.S., over 4,500 of them located in California. 221 In Washington State there
were only 792 charging stations. 222

220.    California has ambitious plans to accelerate the adoption of ZEVs, which include goals
for the number of ZEVs in use; demand- and supply-side incentive programs and other
regulatory mechanisms to induce the purchase of ZEVs; and public investment in the
infrastructure necessary to support ZEVs.

             a. California’s most recently proposed plan (as of January 2018) calls for at least 5
                 million ZEVs on California roads by 2030, or approximately 20% of registered
                 vehicles. 223

             b. Under the state’s Clean Vehicle Rebate Project (“CVRP”), California residents
                 receive up to $7,000 for the purchase or lease of a new, eligible ZEV or PHEV. 224




Hybrids Make Financial Sense,” Forbes, August 26, 2016, available at
https://www.forbes.com/sites/jimgorzelany/2016/08/26/cheap-gas-means-few-hybrids-make-financial-sense-to-
own/#1c23cdc85d7c.
219 “Crude Oil Prices: West Texas Intermediate (WTI) - Cushing, Oklahoma,” Economic Research Federal Reserve

Bank of St. Louis, August 1, 2018, https://fred.stlouisfed.org/series/DCOILWTICO.
220 Eric Wood et al., “National Plug-In Electric Vehicle Infrastructure Analysis,” U.S. Department of Energy Report,

September 2017, pp.iv 39.
221 “Alternative Fueling Station Counts by State,” U.S. Department of Energy, August 4, 2018,

https://www.afdc.energy.gov/fuels/stations_counts.html, accessed August 4, 2018.
222 “Alternative Fueling Station Counts by State,” U.S. Department of Energy, August 4, 2018,

https://www.afdc.energy.gov/fuels/stations_counts.html, accessed August 4, 2018.
223 Office of Governor Edmund G. Brown Jr. Press Release, “Governor Brown Takes Action to Increase Zero-

Emission Vehicles, Fund New Climate Investment,” January 26, 2018,
https://www.gov.ca.gov/2018/01/26/governor-brown-takes-action-to-increase-zero-emission-vehicles-fund-new-
climate-investments/. Note that the 20% figure is an approximation. In 2017, 26 million automobiles and
motorcycles were registered in California. If the number of registered vehicles increases by 2030, 5 million ZEVs
would represent less than 20% of registered vehicles.
224 “Drive clean and save,” California Clean Vehicle Rebate Project, https://cleanvehiclerebate.org/eng.




                                                                                                                 76
       Case 6:15-cv-01517-AA             Document 338-4          Filed 08/24/18        Page 81 of 129




                 From 2010 to July 2018, CVRP paid $549 million in rebates for about 247,000
                 ZEVs and PHEVs (an average of about $2,200 per vehicle). 225

             c. On the supply side, California’s proposed 2018 plan would implement a cap-and-
                 trade system for ZEV credits. Under this system, each manufacturer must meet a
                 minimum threshold for ZEV sales as a proportion of its total vehicle sales in
                 California. Manufacturers earn credits either by selling ZEVs, or by purchasing
                 credits from another manufacturer. 226 The ZEV threshold begins at 4.5% of sales
                 in 2018, and increases to 22% of sales in 2025. 227

             d. California will invest a total of $2.5 billion over a period of eight years in subsidy
                 payments and ZEV infrastructure (pending legislation approval). 228 The state’s
                 objective is to install 200 hydrogen-fueling stations and 250,000 vehicle charging
                 stations by 2025. 229

221.    Nine other states (the “Section 177 States”) have adopted California’s ZEV regulation, as
allowed by Section 177 of the Clean Air Act. 230 In 2013, seven of the Section 177 States and
California set a collective goal of 3.3 million ZEVs on their roads by 2025. 231

222.    Despite the array of policies implemented to facilitate ZEV adoption, there is
considerable uncertainty about whether California and the Section 177 States will meet their
ZEV goals. In California, for example, ZEVs must comprise approximately 15% of total new


225
    “CVRP Rebate Statistics,” California Clean Vehicle Rebate Project.
226 The number of credits awarded for a ZEV sale varies depending on certain vehicle characteristics.
227 Small Volume Manufactures with less than 4,500 vehicle sales per year are not subject to the requirements.

California Environment Protection Agency Presentation, “California’s ZEV Regulation for 2018 and Subsequent
Model Year Vehicles,” 2016, pp. 1–51 at pp. 6, 11, 35.
228 Office of Governor Edmund G. Brown Jr. Press Release, “Governor Brown Takes Action to Increase Zero-

Emission Vehicles, Fund New Climate Investment,” January 26, 2018,
https://www.gov.ca.gov/2018/01/26/governor-brown-takes-action-to-increase-zero-emission-vehicles-fund-new-
climate-investments/.
229 Office of Governor Edmund G. Brown Jr. Press Release, “Governor Brown Takes Action to Increase Zero-

Emission Vehicles, Fund New Climate Investment,” January 26, 2018,
https://www.gov.ca.gov/2018/01/26/governor-brown-takes-action-to-increase-zero-emission-vehicles-fund-new-
climate-investments/.
230 California Environment Protection Agency, Air Resources Board Report, “California’s Advanced Clean Cars

Midterm Review,” January 18, 2017, p. E-1. The nine additional states are Connecticut, Maine, Maryland,
Massachusetts, New Jersey, New York, Oregon, Rhode Island, and Vermont.
231 “Eight States Plan for 3.3 Million Zero-Emission Vehicles by 2025,” United States Department of Energy,

October 30, 2018, https://www.energy.gov/eere/vehicles/articles/eight-states-plan-33-million-zero-emission-
vehicles-2025.


                                                                                                                 77
       Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18        Page 82 of 129




vehicle sales from 2018 through 2030 in order to meet the state’s 2030 goal, but were just 4.7%
of sales in 2017. 232 In the Section 177 States, progress toward the ZEV target adopted in 2013
has been sluggish at best. Annual ZEV sales have remained flat, both in absolute terms and as a
proportion of total car sales. 233

223.    Setting aside the open question of consumer adoption of ZEVs over gasoline-powered
vehicles, I turn to the question of the cost of Professor Jacobson’s 100% ZEV vision. Suppose
that California’s current subsidy payment was sufficient to induce 100% of car buyers (rather
than just 15%) to purchase a ZEV instead of a gasoline-powered vehicle. Assuming average
sales of 2 million vehicles and an average subsidy payment of $2,400 yields a total outlay of $4.8
billion per year. 234 This amounts to more than 25% of spending under California’s 2017 budget
after excluding education, corrections, and health and human services. 235 Expanding the rebate
program nationwide would require $20 billion of additional federal expenditure annually. 236

                 2.       Transportation: Aircraft


224.    Under Professor Jacobson’s timetable for decarbonization of air transportation, all new
small, short-range aircraft must be electric by 2035, and all remaining new aircraft must be


232 ZEV sales in California was 96,731 in 2017, out of the total 2,047,632 vehicles sold in California that year.
“Advanced Technology Vehicle Sales Dashboard,” Auto Alliance, https://autoalliance.org/energy-
environment/advanced-technology-vehicle-sales-dashboard/. “California Auto Outlook: Comprehensive
Information on the California Vehicle Market,” California New Car Dealers Association, February 2018,
https://www.cncda.org/wp-content/uploads/California-Covering-4Q-2017-1.pdf. 15 percent is calculated by taking
the 5 million ZEV goal divided by approximately 34 million new light duty vehicle registrations from 2018–2030
(assuming the growth rate in new light duty vehicle registrations remains constant from 2018–2030 as the previous
10-year average).
233 California Environment Protection Agency, Air Resources Board Report, “California’s Advanced Clean Cars

Midterm Review,” January 18, 2017, pp. B-15–B-16.
234 New vehicle sales in 2017 in California were 2.05 million. See “California Auto Outlook: Comprehensive

Information on the California Vehicle Market,” California New Car Dealers Association, February 2018. The
average CVRP subsidy payment in 2017 was approximately $2,400. “CVRP Rebate Statistics,” California Clean
Vehicle Rebate Project.
235 California’s 2017 state budget after excluding K-12 and higher education, corrections, and health and human

services was $19 billion. “Summary Charts,” California State Budget – 2018–19, p. 18, Figure SUM-02,
http://www.ebudget.ca.gov/2018-19/pdf/Enacted/BudgetSummary/SummaryCharts.pdf.
236 Calculation assumes the average rebate per vehicle is $2,400 and sales of 8.5 million new light-duty vehicles in

2017: $2,400*$8.5 million=$20.4 billion. U.S. Energy Information Administration Report, “Annual Energy
Outlook 2018,” Table 39, https://www.eia.gov/outlooks/aeo/data/browser/#/?id=48-
AEO2018&cases=ref2018&sourcekey=0. The budget for the primary federal programs that support electric vehicle
technologies is about $7.5 billion over 10 years, from 2009 through 2019. See Congressional Budget Office Report,
“Effects of Federal Tax Credits for the Purchase of Electric Vehicles,” p. 9, September 2012,
https://www.cbo.gov/sites/default/files/112th-congress-2011-2012/reports/electricvehiclesone-col.pdf.


                                                                                                                  78
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 83 of 129




hydrogen fuel cell-electric hybrids by 2040. 237 Further, because Professor Jacobson maintains
that U.S. energy-related CO2 emissions will be zero by 2050, he implicitly assumes that the
existing stock of airplanes will either be decommissioned or retrofitted to use electric- or
hydrogen-based power, potentially before the end of their useful economic life. In contrast to
Professor Jacobson, Professor Williams does not include an explicit plan for decarbonization of
air travel in his model.

225.    Professor Jacobson offers no evidence to establish any possibility that his stated goal can
be met, and offers no evidence to establish when or at what cost these massive changes in
aviation technology might materialize. In particular, he offers no evidence to establish (i) that
prototype electric-powered or hydrogen fuel cell-electric hybrid aircraft will approach
commercial viability by 2035–2040, (ii) that these technologies will capture 100% of sales of
short- and long-range aircraft by 2040, (iii) that the necessary airport infrastructure changes will
materialize and mature by 2040, or (iv) that airlines will scrap their existing aircraft.

226.    Research on hydrogen- and electric-powered aircraft is in its infancy and focuses on
small, experimental aircraft. 238 In discussing the long-run industry outlook, the Federal Aviation
Administration and the two largest aircraft manufacturers, Boeing and Airbus, do not mention
hydrogen- or electric-powered passenger or cargo aircraft. 239 Similarly, a Boeing representative
stated in a recent interview that “large long-range commercial aircraft, like the Boeing 777 or
787, are unlikely to be displaced by electric aircraft in the foreseeable future.” 240

227.    Further, examples of the development timelines for recently introduced aircraft
demonstrate that Professor Jacobson’s proposed goal—complete market acceptance of hydrogen-
and electric-powered aircraft within 20 years—is not realistic. Airbus delivered the Airbus 380




237 Jacobson Report, p. 17.
238 See, e.g., Samantha Masunaga, “No flying Tesla? That’s because electric planes are a steeper challenge than
electric cars,” L.A. Times, September 9, 2016, http://www.latimes.com/business/la-fi-electric-aircraft-20160830-
snap-story.html.
239 Boeing Report, “Current Market Outlook: 2017 – 2036,” June 19, 2017; Airbus Global Market Forecast,

“Growing Horizons: 2017 / 2036,” 2017.
240 Marisa Garcia, “Future Proof: Fuel Cell Systems Could Power Aircraft Cabin Parts,” APEX, February 5, 2018,

https://apex.aero/2018/02/05/fuel-cell-systems-power-commercial-aircraft-cabin-parts, accessed on May 9, 2018.


                                                                                                                   79
       Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18         Page 84 of 129




more than 13 years after it first announced development plans. 241 Development of the Boeing
787 required eight years. 242

228.     Additionally, the production rate of new aircraft required to meet Professor Jacobson’s
proposal would be unrealistically high. Even after the development and first commercial use of a
new airplane model, it takes time to produce each new unit. For context, in 2017 Boeing
estimated that the number of North American airplanes in service would reach 10,130 by 2036
and estimated that 8,640 new planes would be produced from 2017 to 2036. 243 Conservatively
holding the number of airplanes in service constant from 2036 to 2050, even if production of
electric- and hydrogen-powered airplanes began immediately in 2035 (assuming the technology
was ready by then), Professor Jacobson’s timetable for zero GHG emissions leaves only 15 years
to produce over 10,000 airplanes to replace the entire conventional U.S. fleet. This would
require a production rate that substantially surpasses historical levels of production.

229.     Finally, Professor Jacobson’s proposed decarbonization timeline would require the
premature retirement of operational airplanes. Based on a study by SGI Aviation, even if
commercial production and use of electric and hydrogen-powered airplanes would begin in 2025,
over 50% of conventional airplanes sold near 2025 would still have a useful economic life in
2050. 244 With 2018 list prices for passenger airplanes (of at least 100 seats) ranging from $77
million to $445 million, 245 the cost burden on commercial airlines would be astronomical if they

241 Airbus announced plans to develop an all-new large airliner in 1994 and began development in 2000. The first

superjumbo Airbus entered service nearly seven years later, in October 2007. See David Bowed, “Airbus Will
Reveal Plan for Super-Jumbo: Aircraft Would Seat at Least 600 People and Cost Dollars 8bn to Develop,” The
Independent, June 4, 1994, https://www.independent.co.uk/news/business/airbus-will-reveal-plan-for-super-jumbo-
aircraft-would-seat-at-least-600-people-and-cost-dollars-8bn-1420367.html, accessed May 9, 2018; Peter Pae,
“Airbus Giant-Jet Gamble OKd in Challenge to Boeing,” Los Angeles Times, December 20, 2000,
http://articles.latimes.com/2000/dec/20/news/mn-2453, accessed May 9, 2018. See also “A380 Superjumbo Lands
in Sydney,” BBC, October 25, 2007, http://news.bbc.co.uk/2/hi/business/7061164.stm accessed May 9, 2018.
242 Boeing first announced development plans for the 787 Dreamliner on January 29, 2003, and over eight years

later, on October 26, 2011, the Dreamliner flew its first commercial flight. See “History of the Boeing 787,” Seattle
Times, Associated Press, June 23, 2009,
http://old.seattletimes.com/html/nationworld/2009373399_apusboeing787historyglance.html, accessed May 9, 2018;
and Tim Kelly, “Dreamliner Carries Its First Passengers and Boeing’s Hopes,” Reuters, October 26, 2011,
https://www.reuters.com/article/us-dreamliner/dreamliner-carries-its-first-passengers-and-boeings-hopes-
idUSTRE79P02Q20111026, accessed May 9, 2018.
243 Boeing Report, “Current Market Outlook: 2017 – 2036,” June 19, 2017, p. 59.
244 From 1980–2015, the average retirement age of U.S. aircraft was 26.5 years and only 10% of aircraft were retired

before the age of 15. SGI Aviation Report, “Aircraft Retirements and Part-Out: Effective Use of Existing Trends
and Opportunities in the Market,” September 15, 2016.
245 “About Boeing Commercial Airplanes,” Boeing, http://www.boeing.com/company/about-bca/#/prices, accessed

May 9, 2018; “Airbus Aircraft 2018 Average List Price (USD Millions),” Airbus,


                                                                                                                  80
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 85 of 129




were forced to replace these airplanes before the end of their useful life, as implicitly required by
Professor Jacobson’s proposal.

                 3.       Industrial Energy Use


230.    Both Professor Jacobson and Professor Williams state objectives for reduction of
emissions in the industrial sector. Under Professor Jacobson’s proposed timeline, all new
devices, and all new high-temperature heating equipment for industrial applications must be
electric by 2023. 246 As in the case of automobiles and aircraft, Professor Williams’ proposal is
somewhat less ambitious; he concludes that by 2050, the industrial sector can reduce its GHG
emissions by as much as 84% relative to 2014 GHG emissions. 247

231.    Professor Jacobson and Professor Williams both appear to rely on little more than
unsupported assumption. For example, Professor Williams’ predicted emissions for the
decarbonized industrial sector in 2050 assume that industrial firms will switch to low-carbon
energy sources, 248 but he offers no explanation whatsoever of the factors that will induce firms to
make the switch.

232.    Technical feasibility is a serious impediment. For some energy-intensive industries that
rely on energy sources other than electricity, manufacturing processes based on electricity have
not been developed or proven at scale. Further, economic feasibility can be an impediment even
when technical feasibility is not. Often the cost of manufacturing processes based on non-
electric energy sources is lower than the cost of processes that rely on electricity. I describe two
examples to illustrate these points: iron and steel, where economic feasibility is an impediment
to electrification and reduced GHG emissions, and cement, which cannot be fully decarbonized.
These examples illustrate that there are significant technical and economic barriers to the GHG
mitigation that Professor Williams and Professor Jacobson predict.


http://www.airbus.com/content/dam/corporate-topics/publications/backgrounders/Airbus-Commercial-Aircraft-list-
prices-2018.pdf, accessed May 9, 2018.
246 Jacobson Report, p. 16. See also Mark Z. Jacobson et al., “Low-Cost Solution to the Grid Reliability Problem

with 100% Penetration of Intermittent Wind, Water, and Solar for All Purposes,” Proceedings of the National
Academy of Sciences 112, no. 49, 2015 (“Jacobson 2015b”), pp. 15060–15065, at p. 15060.
247 Williams Report, Exhibit D, p. D38.
248 See, e.g., Williams Report, Exhibit D, p. D52, noting that for firms whose industrial processes rely on steam,

coal, coke, and petroleum fuels “are replaced by” electricity or pipeline gas.


                                                                                                                 81
       Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18          Page 86 of 129




233.     EIA survey data indicate that the iron and steel industry is energy-intensive—as of 2014,
it accounted for just 0.6% of U.S. GDP, but 6% of industrial energy use 249—but has made
significant progress in electrification of manufacturing. However, the production technology
that Professor Williams proposes can decarbonize only part of iron and steel production, and its
costs are higher than the conventional production methods. 250

234.     I understand that steel-making is a two-stage process. The first stage reduces iron ore,
while the second stage further processes the reduced iron ore into steel. 251 In the last 50 years,
U.S. manufacturers have electrified the majority of the second stage of the production process. 252
However, there does not exist today a commercially mature zero-emission process for the first
stage of production. Research into the possibility of using hydrogen in the reduction of iron ore
is ongoing, but industry press suggests that an economically viable hydrogen-based process is
decades away. 253

235.     Additionally, I understand that the direct reduced iron (“DRI”) method that Professor
Williams proposes is a broad category for processes that reduce iron in its solid state, 254 and that
the DRI method has been proven to reduce emissions. 255 However, the unit cost of production
based on the DRI method is more than twice the cost of production based on traditional



249 U.S. Energy Information Administration, 2014 MECS Survey Data, October 2017, Table 1.1 First Use of Energy
for All Purposes (Fuel and Nonfuel), 2014. The iron and steel industry produced goods in 2014 with an estimated
value of about $113 billion in 2014 compared to a total U.S. 2014 GDP of $17.4 trillion. Michael D. Fenton, “Iron
and Steel,” U.S. Geological Survey Mineral Commodities Summaries, January 2015,
https://minerals.usgs.gov/minerals/pubs/commodity/iron_&_steel/mcs-2015-feste.pdf.
250 Williams Report, Exhibit D, p. D52.
251 Since pure iron (Fe) is not readily available in nature due to its reactivity with air and moisture, iron ore (Fe O )
                                                                                                                     2 3
mined is reduced to pure iron when heated in a furnace at high temperatures in the presence of hydrocarbon-rich
gases. See “Iron and Steel,” Energy Technology Systems Analysis Programme, International Energy Agency, May
2010. F. Grobler and R.C.A. Minnitt, “The Increasing Role of Direct Reduced Iron in Global Steelmaking,” Journal
of the South African Institute of Mining and Metallurgy, March/April 1999.
252 In 2015, the majority (65%) of raw steel production plants in the US operated using electric arc furnaces. See

Tom Balcerek, “Turning Away from Blast Furnaces Still Leaves Problems for Steel Industry,” Platts, October 20,
2015, blogs.platts.com/2015/10/20/blast-furnaces-problems-steel-industry/.
253 Stuart Burns, “Hydrogen to Replace Coking Coal in the Reduction of Iron Ore Steelmaking? Maybe One Day,”

Metal Miner, February 13, 2017, https://agmetalminer.com/2017/02/13/hydrogen-to-replace-coking-coal-in-the-
reduction-of-iron-ore-in-steelmaking-maybe-one-day/.
254 Direct reduced iron (“DRI”) is produced by removing oxygen from iron ores in the solid state (in the form of

lumps or pellets). Natural gas or coal are used as a reducing agent to enable this process. “Iron and Steel,” Energy
Technology Systems Analysis Programme, International Energy Agency, May 2010. “DRI Production,”
International Iron Metallics Association, https://www.metallics.org/dri-production.html, accessed July 13, 2018.
255 “Iron and Steel,” Energy Technology Systems Analysis Programme, International Energy Agency, May 2010,

Table 1, p. 6.


                                                                                                                      82
       Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18         Page 87 of 129




methods. 256 Besides technology and cost issues, shipping and handling of the iron from the DRI
process also requires an inert atmosphere to prevent self-heating and fires. 257

236.     Cement manufacturing is another example of an energy-intensive industry. According to
the EIA, cement manufacturing is “the most energy intensive of all manufacturing industries”;
the cement industry’s share of national energy use is roughly 10 times its share of the nation’s
gross output of goods and services. 258 Neither Professor Williams nor Professor Jacobson
provides guidance for reduction of emissions from the cement industry, and for good reason—
the technology to electrify its production has not yet matured. I am aware of two pilot projects
seeking to decarbonize cement production. The first, a pilot study in Sweden, concluded that
electric furnaces are largely unsuitable. 259 The second project, SOLPART, aims to develop solar
processes in substitution of fossil fuels used as part of cement production, but thus far has failed
to do so. 260 To date, SOLPART has failed to reach the required temperature level. 261

237.     Further, more than half of GHG emissions from cement production are attributable to the
production process itself, rather than to generation of energy used to fuel production. The
literature indicates that the chemical reaction involved in one part of the production process
accounts for more than half of GHG emissions. Substitution to a zero-emission energy source
cannot eliminate these emissions. 262 Even using zero-emission energy sources, the cement
industry CO2 emissions will not be reduced to zero.


256 As of 2010, unit cost was $92 per ton (including energy inputs) using a conventional blast furnace and basic
oxygen furnace, but $214 per ton for production based on DRI and electric arc furnace combinations. “Iron and
Steel,” Energy Technology Systems Analysis Programme, International Energy Agency, May 2010, p. 1.
257 International Iron Metallics Association Report, “Ore-Based Metallics: Adding Value to the EAF,” May 2017, p.

21, http://seaisi.org/seaisi2017/file/file/full-paper/Session7B%20Paper2.pdf.
258 See “The Cement Industry Is the Most Energy Intensive of All Manufacturing Industries,” U.S. Energy

Information Administration, July 1, 2013, https://www.eia.gov/todayinenergy/detail.php?id=11911.
259 Clinker sintering, a critical step in cement production, requires a temperature of 1450◦C, but electric furnaces that

reach this temperature typically do not have the cylindrical shape necessary to produce clinker. See Cédric Philibert,
“Renewable Energy for Industry: From Green Energy to Green Materials and Fuels,” International Energy Agency
Report, 2017, p. 43. See also Vattenfall Press Release, “Vattenfall and Cementa Focusing on Zero Emissions,” June
29, 2017, https://group.vattenfall.com/press-and-media/news--press-releases/pressreleases/2017/vattenfall-and-
cementa-focusing-on-zero-emissions.
260 Cédric Philibert, “Renewable Energy for Industry: From Green Energy to Green Materials and Fuels,”

International Energy Agency Report, 2017, p. 42
261 Cédric Philibert, “Renewable Energy for Industry: From Green Energy to Green Materials and Fuels,”

International Energy Agency Report, 2017, p. 43.
262 Lisa J. Hanle et al., “CO Emissions Profile of the U.S. Cement Industry,” U.S. Environmental Protection
                               2
Agency Report, pp. 5–6. See also Cédric Philibert, “Renewable Energy for Industry: From Green Energy to Green
Materials and Fuels,” International Energy Agency Report, 2017, p. 42 (“More than half of the cement industry’s


                                                                                                                      83
        Case 6:15-cv-01517-AA           Document 338-4           Filed 08/24/18        Page 88 of 129




         B.      Plaintiffs’ Experts Understate Costs of their Proposed Energy Systems

238.     Plaintiffs’ experts’ understate the costs of their proposed energy systems. Moreover, the
estimates they provide are necessarily highly uncertain, as they both forecast energy costs over
nearly 40 years. While Professor Williams acknowledges the unavoidable uncertainty in his
estimates, Professor Jacobson papers over the issue and fails to report the uncertainty in the
forecast data on which his cost estimates rely. As for energy costs, neither Professor Jacobson
nor Professor Williams considers the full range of costs associated with their proposed energy
systems. Both focus narrowly on the costs of energy supply. Neither offers a model of energy
demand (i.e., a model in which the quantity of energy consumed responds to the price of energy),
and neither attempts to estimate the broad economic effects that would arise in response to an
increase in the price of energy (“macroeconomic effects”). As I explain below, other research
shows that the macroeconomic effects of decarbonization are substantially larger than the cost
estimates that Professor Williams provides. Finally, I find Professor Jacobson’s conclusion as to
electricity costs under his “WWS” system is incorrect. Professor Jacobson asserts that electricity
costs would be lower under his proposed system than under the current, conventional energy
system. As I explain below, inspection of his cost analysis reveals that this incorrect result
depends entirely on unsupported assumptions as to the trajectory of initial investment costs over
time.

                 1.       Plaintiffs’ Experts’ Cost Estimates Are Highly Uncertain

239.     The cost estimates that Professor Williams and Professor Jacobson present rely on a wide
variety of assumptions as to technical progress across a wide variety of scientific and engineering
domains, and further assumptions as to the trajectory of energy demand, technology costs, and
fossil fuel prices over a period of nearly 40 years. As a result, their estimates must be regarded
as highly uncertain.

240.     Professor Williams documents the degree of uncertainty in his estimates of the
incremental cost of his proposed energy system, and concedes that “technology cost and fossil



CO2 emissions are process emissions from the clinker production process, in which limestone (CaCO3) is heated to
produce lime (CaO) and thus release CO2.”).


                                                                                                               84
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 89 of 129




fuel projections 40 years into the future are very uncertain.” 263 He estimates that incremental
costs for 80% mitigation will be 0.8% of 2050 GDP. However, the dispersion in Professor
Williams’ estimates is quite large: the 25th and 75th percentile values for estimated incremental
costs are, respectively, -0.2% and 1.8% of GDP, and 25% of estimates are greater than 1.8% of
GDP. 264 Setting aside the factors that cause Professor Williams to understate the cost of his
proposed transformation, this means that energy expenditure as a proportion of GDP could
increase by 23% or more over its level under the current energy system. 265

241.    Professor Jacobson offers little information to describe the degree of uncertainty in his
cost estimates. He reports estimates of average costs for electricity in 2050 by generation
technology, 266 but he reports nothing about the uncertainty associated with the forecast data from
which he constructs his cost estimates. 267 For example, 2040 fuel prices in the EIA 2014 forecast
Professor Jacobson relies on vary from their median estimate by -41% to 222% for coal, -36% to
53% for natural gas, and -47% to 72% for oil. 268 This variation does not appear in Professor
Jacobson’s model. Instead Professor Jacobson extends the EIA baseline case projection to 2050
and arbitrarily uses +/- 10% as his high and low scenarios. 269 As a result, Professor Jacobson’s
cost estimates do not have a known error rate.




263 Williams Report, Exhibit D, p. D27. Emphasis added.
264 Williams Report, p. 3. See also Williams Report Exhibit D, pp. D16, D43.
265 Energy expenditures were 8% of GDP on average from 2005–2016. An increase equivalent to 1.8% of GDP

represents a 23% increase, since 9.8 / 8.0 = 1.23. See U.S. Energy Information Administration Report, “July 2018
Monthly Energy Review,” Table 1.7 Primary Energy Consumption, Energy Expenditures, and Carbon Dioxide
Emissions Indicators.
266 Mark Z. Jacobson et al., “100% Clean and Renewable Wind, Water, and Sunlight (WWS) All-Sector Energy

Roadmaps for the 50 United States,” Energy & Environmental Science 8, no. 7, 2015 (“Jacobson 2015a”), Table 5.
267 Data that Professor Jacobson relies on to construct estimated average costs include a forecast of power plant

capacity, fuel costs, and transmission and distribution costs published by the EIA. See Jacobson 2015a,
Supplemental Information, pp. 45, 52, 60, 61.
268 See U.S. Energy Information Administration Report, “Annual Energy Outlook 2014,” Table: Electric Power

Projections by Electricity Market Module Regions, All Scenarios.
269 Jacobson 2015a, Supplemental Information, p. 60.




                                                                                                                85
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 90 of 129




                 2.       Plaintiffs’ Experts Cost Estimates Are Incomplete and Understate the
                          Full Economic Impact of Decarbonization

242.    Neither Professor Jacobson nor Professor Williams presents a complete analysis of the
costs associated with their proposed energy systems. The estimates they present are incomplete
and therefore understate the full costs to society of their proposed energy systems.

243.    A complete accounting of economic impact must include cost changes in three different
categories: (i) energy supply costs; (ii) costs for replacement of the stock of equipment necessary
to use energy (e.g., appliances, systems for heating, ventilation, and cooling of residential and
commercial buildings, and equipment for industrial and manufacturing processes); and (iii)
macroeconomic effects arising from an energy price shock (i.e., effects throughout the economy,
rather than the energy sector alone, in response to a change in energy prices). 270

244.    Professor Jacobson considers only the cost of electricity (i.e., the average or “levelized”
cost of electricity), 271 and fails to analyze or report costs in the other two categories. Given these
omissions, his conclusions as to average cost are not a reliable indicator of the overall cost to
society of his proposed energy system. Moreover, as I show below, his estimates of average cost
are incorrect.

245.    Professor Williams’ analysis is marginally more complete, as it includes both energy
supply costs and an estimate of costs associated with the stock of end-use equipment and
infrastructure. However, Professor Williams fails to include any estimate of the macroeconomic
effects of his proposed energy system. A thorough analysis would account for the economic
impact of changing energy costs outside of the energy sector. Indeed, Professor Williams states
he does not account for changes in energy demand in response to higher energy prices, that




270 As to the second category, the energy systems proposed by Professors Jacobson and Williams would require
replacement of end-use infrastructure. For example, both Professor Jacobson and Professor Williams call for
industrial power users to adopt new manufacturing processes using electricity rather than high-carbon fuels, which
would require new manufacturing equipment. See Jacobson Report, p. 16 and Williams Report, Exhibit E, p. E52.
271 Levelized costs measure the unit cost of electricity from a generation facility over the operating life of the

facility. Levelized cost includes initial capital investment, financing costs, fixed and variable operating costs,
maintenance costs, and fuel costs over the life of the facility. See, e.g., U.S. Energy Information Administration
Report, “Levelized Cost and Levelized Avoided Cost of New Generation Resources in the Annual Energy Outlook
2018,” March 2018, https://www.eia.gov/outlooks/aeo/pdf/electricity_generation.pdf. I refer to levelized cost as
average cost.


                                                                                                                 86
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 91 of 129




“economic accounting in PATHWAYS is limited to energy system costs,” and that
“PATHWAYS…does not include pricing or macroeconomic feedback.” 272

246.    Professor Williams’ failure to examine the impact of changes in energy prices on the
overall economy is a critical omission. Academic studies have shown that these macroeconomic
effects comprise a large proportion of the overall cost of decarbonization. For example, the
Energy Modeling Forum 24 (“EMF 24”) studies, 273 which use economic models to examine the
macroeconomic impact arising from climate policy intervention and decarbonization, show that
estimated consumption losses and losses in economic output (GDP) are on the order of $1 to $6
trillion. 274 Professor Williams’ cost estimates are an order of magnitude smaller; he reports that
the median incremental cost for his proposed energy system is “just over $300 billion.” 275

247.    Given the importance of macroeconomic effects, the cost estimates that Professor
Williams presents are not a reliable indicator of the overall cost of his proposed system to
society.


                 3.       Professor Jacobson Understates the Cost of Electricity Under His
                          Proposed Energy System

248.    Professor Jacobson asserts that the cost of electricity in 2050 would be lower under his
proposed 100% WWS system than under a projection of the current U.S. energy system (the
“business-as-usual system”). 276, I conclude that Professor Jacobson’s conclusion is incorrect
because his analysis understates the cost of electricity under his proposed energy system.

249.    A simple comparison with Professor Williams’ results suggests that Professor Jacobson’s
conclusion is implausible. Professor Williams concludes that 80% mitigation of U.S. GHG


272 Williams Report, Exhibit D, pp. D27. Emphasis added. PATHWAYS is one of the models Professor Williams
uses to assess the feasibility of reducing GHG emissions by 80% of 1990 levels. Williams Report, Exhibit D, p.
D14.
273 EMF 24 is an energy modeling research project coordinated by the Stanford University Energy Modeling Forum

that studied the economic impact of various climate intervention policies (e.g., economy-wide cap and trade, and
sector-specific policies for transportation and electricity generation) given different GHG reduction goals (50% and
80%) and varying assumptions about technology. The studies compared results from seven different energy-
economic models using a variety of measures, including carbon price, consumption loss, GDP loss, and equivalent
variation. See Allen A. Fawcett et al., “Overview of EMF 24 Policy Scenarios,” Energy Journal 35, 2014 (“EMF 24
Policy Scenarios”).
274 EMF 24 Policy Scenarios, Figure 7 and Figure 9.
275 Williams Report, Exhibit D, p. D43.
276 Jacobson Report, p. 3. See also Jacobson 2015b, p. 15064 and Jacobson 2015a, pp. 2104–2105.




                                                                                                                  87
       Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18        Page 92 of 129




emissions—a lower level than Professor Jacobson promises—would cause energy expenditures
to increase by 14% relative to the current energy system, 277 and that costs would increase still
more to attain the higher level of mitigation (96%) necessary to reduce CO2 concentrations to
350 ppm by 2100. 278 Professor Jacobson promises an even higher level of mitigation (100%)
under his proposed energy system, yet claims electricity costs under this system would be lower
than costs (excluding social costs) under the current fossil-fuel-based energy system.

250.    Professor Jacobson’s conclusion as to electricity costs depends on two elements of his
analysis that understate the cost of electricity under his proposed energy system.

251.    First, Professor Jacobson assumes in his analysis of electricity generation costs that initial
capital costs for wind and solar generation facilities will fall much more rapidly under his 100%
renewable scenario than under the reference case (“business-as-usual”) scenario. 279

252.    This assumption has a decisive impact on the relative cost of electricity in Professor
Jacobson’s 100% renewable and conventional scenarios. I find that absent the assumption that
costs decline at a dramatically accelerated rate in the 100% renewable scenario, electricity costs
in the 100% renewable scenario are higher than in the conventional scenario. 280 Professor
Jacobson’s conclusion that his proposed 100% renewable energy system yields lower electricity
prices collapses without his aggressive and unsupported assumption that costs fall more rapidly
in the 100% renewable scenario.

253.    Second, Professor Jacobson relies on artificially low discount rates in his computation of
average costs. While he applies the same rate to both energy systems—his proposed 100%
renewable system, and the business-as-usual system used as a comparator—the effect of his




277 See Williams Report, Exhibit E, p. E30, noting that “average retail electricity rates are only modestly higher
(14%)” than rates under a business-as-usual scenario.
278 Williams Report, pp. 11–12.
279 For example, by 2050, the levelized initial capital cost for on-shore wind power is 2.25 cents per kWh in the

100% renewable scenario, and 2.98 cents per kWh in the business-as-usual scenario, despite the fact that costs today
are identical. See Jacobson 2015a, Supplemental Information, Table S13.
280 Professor Jacobson reports that the levelized cost of electricity is 9.78 cents / kWh in the 100% renewable

scenario and 10.55 cents / kWh in the conventional scenario. After removing the accelerated cost decline
assumption, costs in the renewable and conventional scenarios are, respectively 11.33 cents / kWh and 10.55 cents /
kWh. Jacobson 2015a, Table 6.


                                                                                                                  88
       Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18         Page 93 of 129




mistake is to overstate costs in the business-as-usual scenario relative to costs for the 100%
renewable system. 281

254.     Professor Jacobson uses discount rates of 1.5%, 3%, and 4.5%. 282 These rates are well
below those used in other estimates of levelized costs, and well below corporate borrowing costs
in capital markets. For example, Lazard—a widely used source for energy costs—assumes an
8% cost of debt and 12% cost of equity in its published estimates of levelized energy costs. 283
Further, average interest rates on 15- and 30-year high-quality corporate bonds over the last 25
years have been, respectively, 6.1% and 6.6%. 284 The IPCC baseline discount rate for calculating
the cost from wind and solar investments is 8%. 285

255.     Professor Jacobson attempts to justify these rates on public policy grounds as “social
discount rates” that should be low because electricity projects are long-lived and have
intergenerational effects. 286 However, one cannot make investment decisions based on “social
discount rates.” The appropriate discount rate is the market rate of interest, as this measures the
opportunity cost of the investor’s capital.

         C.       Plaintiffs’ Experts’ Proposed Energy Systems Would Require Regulatory
                  Intervention on a Large Scale

256.     Even if Plaintiffs’ experts’ proposals were technically feasible and properly accounted for
costs, they gloss over or ignore the political and economic barriers to implementation.
Implementation of their proposals would require extensive changes across the economy, not only



281 The reason for this is straightforward. The 100% renewable system has no fuel costs, hence most costs are
incurred during initial construction. The conventional energy system, on the other hand, incurs fuel costs over the
operating life of the system. As a result, the computation of discounted costs is more sensitive to the choice of
discount rate.
282 See Jacobson 2015a, Supplemental Information, Table S13.
283 “Lazard’s Levelized Cost of Energy Analysis – Version 11.0,” Lazard, November 2017,

https://www.lazard.com/media/450337/lazard-levelized-cost-of-energy-version-110.pdf.
284 Federal Reserve Bank of St. Louis, 15-Year High Quality Market (HQM) Corporate Bond Spot Rate,

https://fred.stlouisfed.org/series/HQMCB15YR; 30-Year High Quality Market (HQM) Corporate Bond Spot Rate
https://fred.stlouisfed.org/series/HQMCB30YR.
285 Christopher T. M. Clack et al., “Supporting Information for the Paper ‘Evaluation of a Proposal for Reliable

Low-Cost Grid Power with 100% Wind, Water, and Solar,’” PNAS, 2017, p. 8.
286 Jacobson 2015a, Supplemental Information, p. 44. Social discount rates depend on relative time preferences.

For example, given a choice between policy that ensures rapid short-term growth but limited long-run growth, and
policy that ensures long-run growth, the first policy would be preferred given a high rate of time preference, and the
latter policy would be preferred given a low rate of time preference. See, e.g., William D. Nordhaus, “A Review of
the Stern Review on the Economics of Climate Change,” Journal of Economic Literature 45, no. 3, 2007, p. 690.


                                                                                                                    89
       Case 6:15-cv-01517-AA                Document 338-4            Filed 08/24/18          Page 94 of 129




in the energy sector but in many other parts of the economy such as transportation, industry,
residential housing, commercial real estate, and consumer goods (e.g. appliances). Plaintiffs’
experts’ do not provide an accurate sense of the magnitude of changes that would need to occur
to implement their proposals. Additionally, they provide no evidence that their proposals can be
accomplished in the context of a market economy.

257.     Implementing Plaintiffs’ experts’ proposals would require wide-ranging changes across
the economy. According to the Report of the High-Level Commission on Carbon Prices (co-
authored and cited by Professor Stiglitz), “[a]chieving the Paris Agreement temperature target
requires a large-scale transformation of economic activity and the underlying systems.” 287
Furthermore, the High-Level Commission recognizes that what is required is substantial
including both structural and technological changes, involving “large uncertainties.” The
changes are not simply technological, but may impact “social norms.” 288 Plaintiffs’ experts do
not explain what such an undertaking may entail.

258.     The scope of decisions that would need to be influenced to be consistent with Plaintiffs’
experts’ proposed energy systems is immense. Essentially Plaintiffs require not only actions by
the U.S. government, but also full support by state regulators, as well as participation and
adoption by all producers and consumers of energy. The energy system affects choices
regarding what capital to invest in, what areas to focus R&D on, what products to purchase, how
new buildings should be designed, how plants should operate, and many others. For example,
electrifying the steel industry will require developing new processes and retrofitting existing
plants. The government, at present, does not directly control the choices of businesses in the
industry as to what R&D to pursue or what capital investments to make. 289


287 UNFCCC Report, Carbon Pricing Leadership Coalition, “Report of the High-Level Commission on Carbon

Prices,” May 29, 2017, p. 6.
288 “The required action [to keep a temperature rise below 2 degrees C] implies structural change, learning,

experimentation, and technological changes, and involves large uncertainties. These uncertainties include those
related to the availability and cost of various technologies (e.g., the availability of CCS at scale, at reasonable cost),
the social and political acceptability of some technologies (e.g., nuclear energy or large-scale land mobilization for
biofuel production), the quality of policies, and possible changes in consumption patterns or social norms (e.g.,
related to transportation or the human diet and meat consumption).” UNFCCC Report, Carbon Pricing Leadership
Coalition, “Report of the High-Level Commission on Carbon Prices,” May 29, 2017, p. 7.
289 Even if one argues that government does work in R&D, its contributions are small relative to the private sector.

In 2015, approximately 69% of R&D came from the private sector. See “US R&D Spending at All-Time High,
Federal Share Reaches Record Low,” American Institute of Physics, Nov. 8, 2016, https://www.aip.org/fyi/2016/us-
rd-spending-all-time-high-federal-share-reaches-record-low.


                                                                                                                        90
       Case 6:15-cv-01517-AA             Document 338-4      Filed 08/24/18      Page 95 of 129




259.    The case studies described earlier provide examples of the barriers that will impede
implementation of Plaintiffs’ experts’ energy system proposals. In transportation, a consumer
may have a preference for gas-fueled cars. How would they be convinced to buy an electric
vehicle? In industry, manufacturers tend to select the most cost-effective approach. How is an
iron manufacturer going to be convinced to select the twice as expensive (but lower emission)
DRI method? In cases where personal preferences, ingrained habits, or cost considerations
conflict with the lower-emissions choice, how are incentives to be aligned?

260.    Plaintiffs’ experts do not provide concrete plans to align the incentives of economic
agents with their energy system proposals. For example, Professor Williams and Professor
Jacobson do not provide a clear mechanism for how to induce firms to switch to electric or
hydrogen-powered energy. What type of policies will need to be put in place to incentivize or
force conversion? What are the costs of these programs?

261.    Professor Williams does acknowledge the need for substantial policy support in his
Exhibit E, which provides a list of 10 key policy requirements to support deep
decarbonization. 290 However, Professor Williams’ recommendations raise questions about the
economic system that would be consistent with his proposals. For example, he states that policy
should “create the right kinds of competition” and indicates that “scarce biomass feedstocks” are
being “[misallocated].” 291 Economics suggests that scarce resources will be allocated to their
highest valued use by prices in a market without the need for “encouraging” certain “kinds of
competition.” Other policy requirements that Professor Williams mentions include:

                 •        “Develop institutional structures for coordination across sectors.” 292

                 •        “Enable the required rates of consumer adoption” 293

                 •        “Anticipate investment needs and build a suitable investment
                 environment.” 294




290 Williams Report, Exhibit E, p. E14–15.
291 Williams Report, Exhibit E, p. E69.
292 Williams Report, Exhibit E, p. E67.
293 Williams Report, Exhibit E, p. E70.
294 Williams Report, Exhibit E, p. E64.




                                                                                                    91
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 96 of 129




                 •        “Integrate supply- and demand-side planning and procurement.” 295

                 •        “Minimize inequitable distributional effects.” 296

                 •        “Limit cost increases faced by consumers.” 297

262.    These requirements suggest that large scale economic direction and coordination is
required. Entrusting economic organization to a technocrat raises various concerns including
issues of efficiency. 298 There are several examples of failed attempts at centrally planning
economies. 299 Again, from an economics perspective, it is generally considered best to let
markets allocate resources. 300

263.    The policies also indicate that there could be non-trivial impacts on consumers in terms
of costs and the distribution of those costs. The issues that the policies must address suggest that
the impacts of pursuing these goals are widespread with ramifications across the entire economy.

264.    Not only is the volume of policies required large, the policy tools to bring them about
come with a price and their own set of complications. Professor Williams discusses various
policy tools to bring about energy transformation: “pricing, emissions caps, consumer rebates,
producer subsidies, performance standards, technology mandates, public-private partnerships,
and (research, development, and demonstration) RD&D support.” 301 As shown with the example
of electric cars, influencing behavior with incentives can be quite costly. Mandates and
standards, on the other hand, shift costs to individuals and businesses, but still require the costs
of enforcement.

265.    Professor Jacobson’s and Professor Williams’ goals are unrealistic considering the scope
of the decisions that would need to be influenced and the government intervention required.
They have not demonstrated how decisions made by economic agents other than the federal

295 “The capability to provide demand-side flexibility at the required capacity, spatial, and time scales must be
planned and procured in tandem with supply-side resources, and on the operational side wholesale electricity
markets and reliability standards must be re-designed to work on both sides.” Williams Report, Exhibit E, p. E68.
296 Williams Report, Exhibit E, p. E73.
297 Williams Report, Exhibit E, p. E72.
298 “Principles of Economics,” N. Gregory Mankiw, 2004, Third Edition, p. 150.
299 “IMF Projects Venezuela Inflation Will Hit 1,000,000 Percent in 2018,” Reuters, July 23, 2018,

https://www.reuters.com/article/us-venezuela-economy/imf-projects-venezuela-inflation-will-hit-1000000-percent-
in-2018-idUSKBN1KD2L9, accessed August 13, 2018.
300 See, for example, “Principles of Economics,” N. Gregory Mankiw, 2004, Third Edition, pp. 9-10.
301 Williams Report, Exhibit E, p. E15.




                                                                                                                92
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 97 of 129




government will be made to align with their proposals within the framework of a market
economy.

266.    Additionally, Professor Jacobson and Professor Williams do not consider all of the
ramifications of implementing these policies. For example, what is the impact of policies that
force energy consumers to switch to electricity or hydrogen? Some industries may choose to
relocate over-seas due to higher production costs. If so, are these policies simply shifting non-
zero emissions industries elsewhere, undermining any decrease, and potentially increasing global
emissions? Such essential considerations for policy makers are simply ignored in Plaintiffs’
experts’ proposals.


        D.       Plaintiffs’ Experts’ Proposed Energy Systems Deviate from Consensus Views
                 Regarding Decarbonization

267.     The lack of feasibility of Plaintiffs’ experts’ proposals is supported by the fact that
Professor Jacobson’s and Professor Williams’ proposed energy systems, implementation
timelines, and estimated costs are not consistent with the conclusions set forth in a large body of
literature that studies the problem of decarbonization and GHG mitigation. While the
conclusions set forth in this literature as to the feasibility, cost, and timing of different levels of
mitigation are not uniform, Professor Jacobson’s and Professor Williams’ conclusions are well
outside the range in several dimensions. In particular, they assert greater emissions mitigation
will be possible at lower costs than does most of the literature. When the literature does include
emissions mitigation closer to the levels in the proposals, it relies on the assumption of idealized
policy scenarios that will not hold in the practical applications of Professor Jacobson and
Professor Williams. I discuss these points further in what follows and also examine the literature
that Professor Jacobson claims supports his proposal.

268.    The mitigation goals of both Professor Williams and Professor Jacobson are overreaching
compared to the analysis of a large body of research. 302 In contrast to Professor Jacobson and

302The EMF 24 examines mitigation scenarios up to 80% relative to 2005. See Leon E. Clarke et al., “Technology
and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling Exercise,” Energy Journal 35, 2014, p. 9.
The IPCC states that only “a limited number of studies provide scenarios that… are characterized by concentrations
below 430 ppm CO2-eq by 2100 and 2050 emission reduction between 70% and 95% below 2010.” See IPCC
Report, “Climate Change 2014 Synthesis Report Summary for Policymakers,” 2014, p. 21.


                                                                                                                 93
       Case 6:15-cv-01517-AA            Document 338-4          Filed 08/24/18        Page 98 of 129




Professor Williams, many studies do not even examine the possibility of 96% or 100%
mitigation. For example, the California Council on Science and Technology (“CCST”)
concludes in its extensive analysis of decarbonization that (i) 60% mitigation by 2050 is feasible
given technologies available today; and (ii) 80% mitigation may be feasible, but will be difficult,
and will require solutions to the fuels problem that are not available today (in contrast to
Professor Williams’ analysis, which purportedly uses only available technology). 303

269.    Similarly, the EMF 24 304 studies find that (i) mitigation of 50% to 80% will require a
dramatic transformation of the energy system; 305 (ii) costs will be higher with fewer available
technologies; 306 (iii) the ability of models to produce mitigation scenarios is not sufficient to
draw conclusions about the “feasibility” of these scenarios in a more applied sense; 307 and (iv)
judgments of feasibility are ultimately bound up in subjective assessments of whether the U.S.
would be willing and capable of taking on the transformation required to meet the mitigation
goals, including bearing the associated macroeconomic costs and undergoing the required
technological, institutional, and social transitions. 308 The EMF 24 studies conclude that going
from 50% to 80% mitigation requires that the bulk of additional emissions reductions come from
non-electric sectors, which require increasingly higher costs. 309

270.    Besides adopting more aggressive GHG emission reduction targets than others (i.e.,
deeper emissions reductions within a shorter time frame), Professor Jacobson and Professor
Williams assume faster rates of growth in renewable energy generation capacity and greater rates
of decline in the carbon intensity of U.S. economic activity, often at much lower costs than
reflected in most of the literature on GHG transition pathways for the U.S. Professor Jacobson’s


303 Jane C. S. Long, “California’s Energy Future: The View to 2050,” California Council on Science and
Technology Report, May 2011, pp. 43–45.
304 The Energy Modeling Forum is a model intercomparison project that investigates the power sector and the

economy.
305 Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling

Exercise,” Energy Journal 35, 2014, p. 9.
306 Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling

Exercise,” Energy Journal 35 2014, p. 29–30.
307 Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling

Exercise,” Energy Journal 35, 2014, p. 20.
308 Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling

Exercise,” Energy Journal 35, 2014, p. 20.
309 Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling

Exercise,” Energy Journal 35, 2014, p. 21.


                                                                                                              94
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18        Page 99 of 129




combination of a 100% GHG emissions reduction target and the target year of 2050 at little or no
putative cost goes well beyond what others have presented in even their most optimistic
scenarios. The CCST summary study states that the reduction from 60% to 80% will require
significant levels of research, technology development, and innovation, suggesting that the
marginal cost of mitigation is significantly higher at levels above 80% (and is based on
technology that does not yet exist or has not been proven at scale). 310 One EMF 24 study found
that emissions reduction costs start to increase exponentially relative to the emissions reduction
benefits, with this “knee” in the marginal cost of abatement curve occurring around the 50% to
60% emission reduction target. 311

271.    Although both Professor Jacobson and Professor Williams focus only on U.S. transitions
to low-GHG futures by 2050, it is instructive to look briefly at projections of the costs of deep
transitions to very low GHG emissions levels at the global scale through the end of the century,
to see if there are any very low cost pathways that get global GHG emissions down near zero by
mid-century. The last IPCC review of such scenarios shows a small number of very idealized
global scenarios with near-zero GHG emissions by the end of the century, but not by 2050 and
not at zero or very low costs. 312

272.    Even Professor Williams’ higher cost range may be overly optimistic. Compared to EMF
24, Professor Williams’ cost estimate is on the low end of the range, 313 and does not account for
various demand-side costs or macroeconomic impacts, which could increase costs. 314
Furthermore, Professor Williams’ target of 80% reduction is relative to 1990 levels while the


310 Jane C. S. Long, “California’s Energy Future: The View to 2050,” California Council on Science and
Technology Report, May 2011, p. 45.
311 Sugandha D. Tuladhar et al., “Interaction Effects of Market-Based and Command-and-Control Policies,” Energy

Journal 35, 2014, p. 78.
312 IPCC Report, “Climate Change 2014 Synthesis Report Summary for Policymakers,” 2014, pp. 20, 24.
313 In his report, Professor Williams states: “From a cost standpoint, the PATHWAYS results ($1 to $2 trillion) are

consistent with those found in the EMF 24 studies, which ranged from $1 to $4 trillion for most of the 80% emission
reduction scenarios.” Williams Report, Exhibit D, p. D76. PATHWAYS is one of the models Professor Williams
uses to assess the feasibility of reducing GHG emissions by 80% of 1990 levels. Williams Report, Exhibit D, p.
D14.
314 “PATHWAYS calculates total energy system costs, and does not model changes in service demands in response

to higher prices.” Williams Report, Exhibit D, p. D76. “PATHWAYS uses a static forecast of activity levels based
on the AEO [U.S. Department of Energy’s Annual Energy Outlook], and thus does not include pricing or
macroeconomic feedbacks.” Williams Report, Exhibit D, p. D27. PATHWAYS is one of the models Professor
Williams uses to assess the feasibility of reducing GHG emissions by 80% of 1990 levels. Williams Report, Exhibit
D, p. D14.


                                                                                                                 95
       Case 6:15-cv-01517-AA             Document 338-4           Filed 08/24/18         Page 100 of 129




EMF 24 scenarios are with respect to 2005 levels. 315 Since U.S. emissions grew by about 20%
between 1990 and 2005, this implies that Professor Williams uses a more challenging baseline
than that examined by EMF 24. 316 Finally, the only EMF 24 scenarios that considered 80%
reduction of emissions by 2050 relative to 2005 were based on assumptions of a perfectly
implemented cap-and-trade system. 317

273.     These are very strong and idealistic assumptions, implying that these scenarios were
developed as “what if” scenarios and were not meant to provide a realistic picture of what might
ultimately be feasible at the federal, state, local, firm, or household levels. 318 The costs
associated with these assumptions are therefore the lower bound of what is possible. Once
institutional considerations at all levels of the U.S. economy are taken into consideration, the
actual cost of these emissions reduction programs could be quite a bit higher. In summary, there
are several reasons why Professor Williams’ cost estimates are biased downward.

274.     For example, the federal-level regulatory approaches considered in EMF 24—renewable
portfolio or clean energy portfolio standards, and enhanced fuel economy standards—were
projected to cost twice as much to reduce GHG emissions in 2050 by 50% from 2005 levels
compared to a perfectly implemented cap-and-trade system. 319

275.     Finally, Professor Jacobson cites 29 academic papers or reports in his Exhibit D relating
to his claim that “[o]ther studies in the U.S. and abroad… provide parallel support for the ability




315 Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling
Exercise,” Energy Journal 35, 2014, p. 9.
316 U.S. Energy Information Administration, International Energy Statistics.
317 For those scenarios the assumption is that “the most efficient policies for reducing GHG emissions generally

allow for maximal ‘when’, ‘where’, and ‘what’ flexibility, i.e. allow banking and borrowing allowances across time,
equalize the cost of abatement across all emissions sources, and cover all greenhouse gases.” Allen A. Fawcett et
al., “Overview of EMF 24 Policy Scenarios,” Energy Journal 35, 2014, p. 44.
318 These models were supposed to represent “the most efficient policies.” Allen A. Fawcett et al., “Overview of

EMF 24 Policy Scenarios,” Energy Journal 35, 2014.
319 Sugandha D. Tuladhar et al., “Interaction Effects of Market-Based and Command-and-Control Policies,” Energy

Journal 35, 2014, p. 77, Figure 10: Changes in Discounted PV of Welfare from 2010–2050 for Regulatory
Mandates Compared to the Efficient Frontier (Trillions of 2010$). Although focusing mostly on the U.S. electricity
sector, the range of transition rate and cost projections projected in the 2018 EMF 32 study across many models and
scenarios are similar to those contained in the EMF 24 report, providing a further basis for comparison. See Jared R.
Creason et al., “Effects of Technology Assumptions on US Power Sector Capacity, Generation and Emissions
Projections: Results from the EMF 32 Model Intercomparison Project,” Energy Economics 73, 2018, pp. 290–306.
See also John E. Bistline et al., “Electric Sector Policy, Technological Change, and U.S. Emissions Reductions
Goals: Results from the EMF 32 Model Intercomparison Project,” Energy Economics 73, 2018, pp. 307–325.


                                                                                                                  96
        Case 6:15-cv-01517-AA        Document 338-4        Filed 08/24/18      Page 101 of 129




to swiftly move away from fossil fuels.” 320 He also states that “several of these published studies
conclude that 100% renewable energy for all sectors by 2050 for France, the European Union,
and globally is feasible.” 321

276.       However, many of these articles (i) do not contemplate a transition to 100% renewables
in the specific sector studied (e.g., electricity); (ii) do not consider decarbonization of all sectors;
(iii) do not claim that the transition to renewables is costless for consumers; or (iv) do not claim
that the transition can be achieved by a 2050 deadline. Table 5 replicates Professor Jacobson’s
Exhibit D and provides a clear breakdown as to the aspect (or aspects) in which these papers do
not line up with Professor Jacobson’s proposal.




320
      Jacobson Report, p. 6.
321   Jacobson Report, pp. 6–7.


                                                                                                      97
      Case 6:15-cv-01517-AA                          Document 338-4                    Filed 08/24/18          Page 102 of 129




        Table 5. Review of Decarbonization Studies Cited in Jacobson Report Exhibit D


                                                                                        Areas that do not meet ( ) Dr. Jacobson's
                                                                                                        proposal

                                                                                                                                     Reviewed
                                                                       Change           100%     All Energy At Same                     by
No.                        Publication                               Modeled[1]         WWS[2]   Sectors[3]  Cost[4]    By 2050[5]    Heard[6]
1   Mason, I.G., SC Page, and AG. Williamson, 2010. A             100% renewable
    100% renewable electricity generation system for New          electricity in New
    Zealand utilizing hydro, wind, geothermal and biomass         Zealand
2    Connolly, D. and BV. Mathiesen, 2014. A technical and        100% renewable
     economic analysis of one potential pathway to a 100%         Ireland by 2050
     renewable energy system
3    Connolly, D., H. Lund, and BV. Mathiesen, 2016. Smart 100% renewable
     energy Europe: The technical and economic impact of   for all uses in
     one potential 100% renewable energy scenario for the Europe by 2050
     European Union
4    Mathiesen, BV., H. Lund, and K. Karlsson, 2011. 100%         100% renewable
     Renewable energy systems, climate mitigation and             for all uses by
     economic growth                                              2050
5    Mathiesen, BV., et al., 2015. Smart energy systems for       100% renewable
     coherent 100% renewable energy and transport                 for all uses                         See note [7]
     solutions
6    Elliston, B., I. MacGill, and M. Diesendorf, 2013. Least     100% renewable
     cost 100% renewable electricity scenarios in the             electricity
     Australian National Electricity Market
7    Elliston, B., I. MacGill, and M. Diesendorf, 2014.           100% renewable
     Comparing least cost scenarios for 100% renewable            electricity
     electricity with low emission fossil fuel scenarios in the
     Australian National Electricity Market
8    Budischak, C., et al., 2013. Cost-minimized                  90-99.9%
     combinations of wind power, solar power and                  renewable
     electrochemical storage, powering the grid up to 99.9%       electricity in US
     of the time                                                  territory covered
                                                                  by PJM

9    MacDonald, A.E., C.T. Clack, et.al., 2016. Future cost-      GHGs 78%
     competitive electricity systems and their impact on US       below 1990
     CO2 emissions                                                levels by 2030
10   Williams, J.H., B. Haley, F. Kahrl, J. Moore, A.D. Jones, GHGs 80%
     M.S. Torn, and H. McJeon, 2014. Pathways to deep          below 1990
     decarbonization in the United States                      levels by 2050
11   United States White House, 2016. U.S. Mid Century            All greenhouse
     Strategy for Deep Decarbonization                            gas emissions
                                                                  80%+ below
                                                                  2005 by 2050.
12   Hand, M.M., S. Baldwin, E. DeMeo, J.M. Reilly, T. Mai,       Renewables
     D. Arent, G. Porro, M. Meshek, and D. Sandor, eds. 4         could supply
     vols., 2012. Renewable Electricity Futures Study (Entire     80% of total U.S.
     Report) National Renewable Energy Laboratory                 electric
                                                                  generation by
                                                                  2050
13   Mai, T., D. Mulcahy, MM Hand; and SF Baldwin, 2014.          80% renewable
     Envisioning a renewable electricity future for the United    electricity by
     States                                                       2050
14   Arent, D., J. Pless, et.al., 2014. Implications of high 80% renewable
     renewable electricity penetration in the U.S. for water electricity by
     use, greenhouse gas emissions, land-use, and materials 2050
     supply




                                                                                                                                            98
      Case 6:15-cv-01517-AA                          Document 338-4               Filed 08/24/18          Page 103 of 129




        Table 5. Review of Decarbonization Studies Cited in Jacobson Report Exhibit D



                                                                                   Areas that do not meet ( ) Dr. Jacobson's
                                                                                                   proposal

                                                                                                                                   Reviewed
                                                                   Change          100%     All Energy At Same                        by
No.                       Publication                             Modeled[1]       WWS[2]   Sectors[3]  Cost[4]       By 2050[5]    Heard[6]
15 Mathiesen, B.V., H. Lund, et.al., 2015. Smart energy        100% renewable
    systems for coherent 100% renewable energy and             Denmark by                         Identical to article no. 5
    transport solutions                                        2050
16   Connolly, D., BV Mathiesen, 2014. A technical and         100% renewable
     economic analysis of one potential pathway to a 100%      Ireland by 2050                    Identical to article no. 2
     renewable energy system
17   Bogdanov, D. and C. Breyer, 2016. North-East Asian       100% renewable
     Super Grid for 100% renewable energy supply: Optimal electricity in NE
     mix of energy technologies for electricity, gas and heat Asia by 2030
     supply options
18   Parsons Brinckerhoff, 2009. Powering the Future:          80% reduction in
     Mapping our Low-Carbon Path to 2050                       CO2 in the UK
                                                               by 2050
19   Schellekens, G., A. Battaglini, J. Lilliestam, J.         100% renewable
     McDonnell, and A. Patt, 2010. 100% renewable              electricity in
     electricity: A roadmap to 2050 for Europe and North       Europe and N.
     Africa                                                    Africa by 2050
20   Wright, M. and P. Hearps, 2010. Zero Carbon Australia     100% renewable
     Stationary Energy Plan                                    stationary power
                                                               for Australia in
                                                               10 years
21   Denis, A., Jotzo, F., et.al., 2014. Pathways to Deep  Net zero
     Decarbonization in 2050: How Australia Can Prosper in emissions in
     a Low Carbon World                                    Australia by 2050
22   McKinsey & Company, KEMA, The Energy Futures Lab Reduce GHGs
     at Imperial College London, Oxford Economics, and   80% below 1990
     European Climate Foundation, 2010. Roadmap 2050: A levels by 2050
     Practical Guide to a Prosperous, Low Carbon Europe,
     Vol 1.: Technical Analysis

23   E3G, The Energy Research Centre of the Netherlands,       Reduce GHGs
     and European Climate Foundation, 2010. Roadmap            80% below 1990
     2050: A Practical Guide to a Prosperous, Low Carbon       levels by 2050
     Europe, Vol 2.: Policy Recommendations
24   Zervos, A., C. Lins, and J. Muth, 2010. Re-thinking       100% renewable
     2050: A 100% Renewable Energy Vision for the              energy for the
     European Union                                            EU by 2050
25   Blake, L., P. Allen, et.al., 2013. Zero Carbon Britain:   Net Zero GHG
     Rethinking the future                                     emissions in the
                                                               UK by 2030
26   Bataille, C., et al., 2015. Pathways to deep              90% below
     decarbonization in Canada                                 baseline
                                                               scenario in 2050
27   The négaWatt Association, 2017. The 2017-2050             100% renewable
     négaWatt Scenario                                         France by 2050
28   Aghahosseini, A., et al., 2018. Analysis of 100%         100% renewable
     renewable energy for Iran in 2030: Integrating solar PV, Iran by 2030
     wind energy and storage
29   Garcia-Olivares, A., et al., 2018. Transportation in a    100% renewable
     100% renewable energy system                              global
                                                               transportation




                                                                                                                                          99
       Case 6:15-cv-01517-AA                  Document 338-4               Filed 08/24/18            Page 104 of 129




Source: Expert Report of Marc Jacobson filed April 6, 2018 (“Jacobson Report”), Exhibit D; Heard et al. 2017

Note:
[1] As listed in Jacobson Report, Exhibit D.
[2] Professor Jacobson proposes a 2050 technology portfolio limited to wind, water, and solar with limited geothermal and
    hydropower. The studies marked in this column utilize one or more technologies that Professor Jacobson excludes, resulting
    in less than 100% GHG mitigation.
[3] Professor Jacobson proposes 100% renewable energy for all energy sectors (residential, commercial, industrial and
    transportation). The studies marked in this column exclude or do not consider one or more of these energy sectors.
[4] Professor Jacobson proposes a 100% renewable energy system that has “similar or less than today's direct energy cost.” The
    studies marked in this column indicate that costs would be higher than the business as usual scenario.
[5] Studies marked in this column either do not propose a timeline or do not meet the mitigation goal by 2050.
[6] Heard et al. 2017 concluded that for all of the 24 studies reviewed “the case for feasibility is inadequate for the formation of
    responsible policy directed at responding to climate change.” Studies marked in this column were either reviewed, or a
    similar study with the same author was reviewed, by Heard et al. 2017.
[7] The paper indicated is not a transition analysis but rather a grid integration analysis. Additionally, the study only indicates
    that it's proposed system could “potentially pave the way to a bioenergy-free 100% renewable energy and transport system.”




277.      Furthermore, several of the studies cited in Professor Jacobson’s Exhibit D (in addition to
Professor Jacobson’s study) were reviewed by Heard et al. 2017 who concluded that none of the
studies reviewed provides convincing evidence that the basic criteria for feasibility can be met. 322
In particular, Heard et al. 2017 states that Professor Jacobson’s work “depends strongly on
extraordinary assumptions relating to electrification, energy storage, and flexibility in demand…
[T]he results of such a simulation are likely to be meaningless because the underlying
assumptions are unrealistic.” 323

278.      A particular report cited by Professor Jacobson worth noting is the Renewable Electricity
Futures Study, 324 which examines “the implications and challenges of renewable electricity
generation levels—from 30% up to 90%, with a focus on 80%, of all U.S. electricity generation
from renewable technologies—in 2050.” 325 While the article concludes that this more modest
proposal is possible, unlike Professor Jacobson it recognizes that there are significant demand-
side costs associated with a transformation of the U.S. electricity system, including “average




322 B. P. Heard et al., “Burden of Proof: A Comprehensive Review of the Feasibility of 100% Renewable Electricity
Systems,” Renewable and Sustainable Energy Reviews 76, 2017, pp. 1122–1133.
323 B. P. Heard et al., “Burden of Proof: A Comprehensive Review of the Feasibility of 100% Renewable Electricity

Systems,” Renewable and Sustainable Energy Reviews 76, 2017, p. 1130.
324
    Maureen Hand et al., “Renewable Electricity Futures Study,” National Renewable Laboratory, 2012 (“Renewable
Electricity Futures Study”).
325
    Renewable Electricity Futures Study, p. xvi.


                                                                                                                                 100
        Case 6:15-cv-01517-AA              Document 338-4   Filed 08/24/18    Page 105 of 129




annual retail electricity price increases of 0.8%–1.2% per year (2011–2050, in real dollar terms),
compared to a rate of 0.3% per year in the baseline scenario.” 326


           E.       Addressing the Important Problem of Global Climate Change Requires
                    Realistic Methods

279.       Global climate change is an important problem to tackle, but it is also a challenging one.
Many hundreds of analysts around the world have struggled with the physical, technological, and
economic issues of creating a fully sustainable energy system, and many national laboratories,
universities, and think tanks have focused on the issues of decarbonizing the energy system.
Many journals, conference proceedings, conferences, and workshops report the findings of these
endeavors. There is now a large body of literature that studies the problem of decarbonization
and GHG mitigation.

280.       But Professor Jacobson’s proposal and to a lesser extent, Professor Williams’ proposal,
diverge greatly from the finding of these hundreds of analysts. Plaintiffs’ experts’ proposed
energy systems, implementation timelines, and cost estimates deviate from the conclusions set
forth in this large and growing literature. Unfortunately, many elements of the energy system
transformations proposed by Professors Jacobson and Williams are not technically feasible,
would require significant investment by consumers or businesses to invent, develop, and/or adopt
new low-carbon energy technologies, would require major consumer behavioral change, would
involve significant costs borne by the government or directly by energy users, and would require
leaps in technology. Such transformations would likely require an unprecedented level of
government intervention in the economy.

281.       Addressing global climate change is an important objective, but it must be pursued
realistically within the institutional framework of our economic and political system. Plaintiffs’
experts have not demonstrated that their approaches are realistic or likely to succeed in practice.




326
      Renewable Electricity Futures Study, p. A-77.


                                                                                                   101
Case 6:15-cv-01517-AA   Document 338-4   Filed 08/24/18   Page 106 of 129




                                                                            102
    Case 6:15-cv-01517-AA       Document 338-4         Filed 08/24/18   Page 107 of 129
                                          Appendix A




                                CURRICULUM VITAE
                          James L. Sweeney, Stanford University

                      Professor, Management Science and Engineering
               Senior Fellow, Stanford Institute for Economic Policy Research
                        Senior Fellow, Precourt Institute for Energy
        Senior Fellow, by courtesy, Hoover Institution on War, Revolution, and Peace

CONTACT INFORMATION:

Home:        Telephone:                                                 (650) 322-9835
             Mobile:                                                    (650) 787-4333

Work:        Department of Management Science and Engineering
             Yang & Yamazaki Environment & Energy Building – MC 4206
             Stanford University
             473 Via Ortega, Room 389, Stanford, CA 94305
             Telephone:                                            (650) 723-2847
             Email:                                     Jim.Sweeney@stanford.edu
             Web:                                              PEEC.stanford.edu
                              www.stanford.edu/dept/MSandE/people/faculty/sweeney

COLLEGES:
        Massachusetts Institute of Technology
                 B.S., Electrical Engineering                                   1966
        Stanford University
                 Ph.D., Engineering-Economic Systems                            1971


PROFESSIONAL EMPLOYMENT:

Stanford University
      Department of Engineering-Economic Systems:
            Research Assistant                                                  1967 - 1970
            Acting Instructor                                                   1970 - 1971
            Assistant Professor                                                 1971 - 1976
            Associate Professor                                                 1976 - 1980
            Professor                                                           1980 - 1996
            Department Chairman                                                 1991 - 1996
      Department of Engineering-Economic Systems and Operations Research:
            Professor                                                           1996 - 1999
            Department Chairman                                                 1996 - 1999
      Department of Management Science and Engineering:
            Professor                                                           2000 - current
      Department of Economics:


                                                                                       Page 1 of 12
    Case 6:15-cv-01517-AA        Document 338-4      Filed 08/24/18    Page 108 of 129




             Affiliated Professor                                               1978 - ??
             Cooperating Professor                                              1981 - 1982
      Energy Modeling Forum:
             Director                                                           1978 - 1984
             Senior Advisory Panel Member                                       1988 - ??
      Institute for Energy Studies:
             Chairman                                                           1981 - 1985
      Stanford Institute for Economic Policy Research (formerly, Center for Economic Policy
      Research):
             Director                                                           1984 - 1986
             Chairman: Energy, Natural Resources and the Environment Program 1984 - current
             Steering Committee                                                 1982 - ??
             Senior Fellow                                                      1998 - current
      Public Policy Program:
             Steering Committee                                                 1987-1991
      Program in Earth Systems Science:
             Steering Committee                                                 1992 - 2000
      Freeman Spogli Institute for International Studies
             Senior Fellow (by Courtesy)                                        2005 - 2014
             Steering Committee, Center for International Security and
                     Cooperation:                                               1996 - 2014
      Hoover Institution:
             Senior Fellow (by Courtesy)                                        2001 - current
      Interdisciplinary Program in Environment and Resources:
             Executive Committee                                                2002 -2007
      Precourt Energy Efficiency Center
             Director                                                           2006 - 2018

U.S. Federal Energy Administration
      Consultant                                                                1974
      Director, Office of Energy Systems                                        1974 - 1975
      Director, Office of Quantitative Methods                                  1975
      Director, Office of Energy Systems Modeling & Forecasting                 1975 - 1976

CURRENT CORPORATE BOARDS/ADVISORY BOARDS

      Geothermic Solution. Board of Advisors

MEMBERSHIP IN PROFESSIONAL/CIVIC SOCIETIES or ADVISORY BOARDS:

      California Council on Science and Technology
            Fellow 2000 - current
            Council Member 2007 – 2015, 2017 – current
            Council Chair -- 2018 – current
      Economic and Allocation Advisory Committee, of California Air Resources Board,


                                                                                     Page 2 of 12
    Case 6:15-cv-01517-AA        Document 338-4      Filed 08/24/18     Page 109 of 129




             2009 - 2010
      Governor Schwarzenegger’s Council of Economic Advisors, 2004 - 2011
      Independent Review Panel, Public Interest Energy Research Program (California Energy
             Commission), First, Second, Third, Fourth Panels
      International Association for Energy Economics – Past Vice President for Publications
      National Renewable Energy Laboratory,
             External Advisory Council, 2003 - current
      National Research Council Board on Energy and Environmental Systems, 1996 - 1999
      National Research Council Board on Environmental Change and Society, 2011 - 2014
      Palo Alto-University Rotary Club – Past President
      Stanford Campus Residential Leaseholders
             Board Member
             President of Board of Directors – 2002 - current
      U.S. Association for Energy Economics – Senior Fellow
      Petroleum Market Advisory Committee, California Energy Commission. 2015 - 2017
             Founding chair, 2015-2016
      Santa Clara County, Community Resources Group – 2000 – present.


PROFESSIONAL JOURNAL EDITORIAL POSITIONS:

      The Energy Journal, Editorial Board member (past)
      Resource and Energy Economics, Editorial Board member (past), Past Co-editor

AWARDS AND HONORS:

      Tau Beta Pi, MIT, 1966
      Eta Kappa Nu, MIT, 1966
      Federal Energy Administration Distinguished Service Award, 1975
      Excellence in Teaching Award, Stanford Society of Black Scientists
            and Engineers, 1989
      Senior Fellow, U.S. Association for Energy Economics, 1999 -
      National Associate of the National Academies 2004 –
      Adelman-Frankel Award, 2007. United States Association for Energy Economics.
              The award is given to “an individual or organization for a unique and innovative
              contribution to the field of energy economics.”
      Outstanding Contribution Award, 2008. International Association for Energy Economics.
              “The 2008 Award for Outstanding Contributions to the Profession of Energy
              Economics and to its Literature.”


JOURNAL ARTICLES

"Quality, Commodity Hierarchies, and Housing Markets," Econometrica, Volume 42, No. 1,
January 1974, pp. 147-167.


                                                                                     Page 3 of 12
    Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18    Page 110 of 129




"Modeling Housing Markets: Commodity Hierarchies in a Spatial Setting," Stanford Journal of
International Studies, Volume 10, Spring 1974, pp. 167-197.

"Housing Unit Maintenance and the Mode of Tenure," Journal of Economic Theory, Volume 8,
No. 2, June 1974, pp. 111-138.

"A Commodity Hierarchy Model of the Rental Housing Market," Journal of Urban Economics,
Volume 1, No. 3, July 1974, pp. 288-323.

"Economics of Depletable Resources: Market Forces and Intertemporal Bias," Review of
Economic Studies, Volume 44, No. 1, February 1977, pp. 125-141. Reprinted in The Economics
of Exhaustible Resources, Geoffrey Heal (ed.), Edward Elgar Publishing, Ltd., London, 1993.

"The Impact of the President's Proposed Gasoline Tax and Gas-Guzzler Tax on Gasoline
Consumption," DRI Energy Bulletin, August, 1977, pp. 6-11.

"Methodologies for Petroleum Product Price Forecasting: A Review," with M. Therese Flaherty,
Topics in Energy, Data Resources, Inc., September 1978, pp. 1-45.

"Optimal Growth with Depletable Resources," with P. C. Garg, Resources and Energy, Volume
1, No. 1, 1978, pp. 43-56.

"Energy Policy Models in the National Energy Outlook," with W. W. Hogan and M. H. Wagner,
Management Science, Volume 10, 1978, pp. 37-62.

"The Energy Modeling Forum: Past, Present, and Future," with J. P. Weyant, Journal of Business
Administration, Volume 10, Nos. 1 and 2, Fall, 1978 - Spring, 1979, pp. 295-320.

"Effects of Federal Policies on Gasoline Consumption," Resources and Energy, Volume 2,
September 1979, pp. 3-26.

"Aggregate Elasticity of Energy Demand," principal author with EMF 4 Working Group
members, The Energy Journal, Volume 2, No. 2, April 1981, pp. 37-75.

"World Oil: Preliminary Results from the Energy Modeling Forum Study," Kvartals Skrift,
Bergen Bank: March-April 1981, pp. 161-179.

"Modeling For Insights, Not Numbers: The Experiences of the Energy Modeling Forum," with J.
P. Weyant and H. G. Huntington, Omega, Volume 10, No. 5, November 1982, pp. 449-462.

"The Response of Energy Demand to Higher Prices: What Have We Learned?," American
Economic Review, Volume 74, No. 2, May 1984, pp. 31-37; also published in Global Energy
Interactions, R. K. Pachauri (ed.), Allied Publishers Private Limited, New Delhi, India, 1987, pp.
573-584.


                                                                                        Page 4 of 12
    Case 6:15-cv-01517-AA         Document 338-4       Filed 08/24/18     Page 111 of 129




"Analyzing Impacts of Potential Tax Policy Changes on U.S. Oil Security," The Energy Journal,
with M. J. Boskin, Volume 6, August 1985, pp. 89-108.

"Changing World Oil Markets: What Should We Expect?," Zeitschrift fur Energie Wirtschaft,
March 1986, pp. 73-74.

"On Economic Policy Responses to Disruptions: A Reply to Harry Saunders," with Bert
Hickman and Hillard Huntington, The Energy Journal, October 1989, Vol 10 no. 4, pp. 189-198.

"Oil Import Fees With Exemptions: An Empirical Examination," Resources and Energy, March
1990, Vol. 11 no.3, pp. 215-239.

“The California Electricity Crisis: Lessons for the Future,” The Bridge, Summer 2002, pp 23-31.

“An Energy Policy for the Twenty-first Century”, Hoover Digest, 2005, No. 1. pp. 33-36.

“Low Carbon Growth: Our Ethical Responsibility”, Development Outreach, World Bank
Institute. February 2008.

“Learning-by-Doing and the Optimal Solar Policy in California”, Arthur van Benthem, Kenneth
Gillingham, and James Sweeney, The Energy Journal, 2008, Volume 29, No. 4, pp 131-151.

“Climate Speculations” Review of Climatopolis: How Our Cities Will Thrive in the Hotter
Future by Matthew E. Kahn. Stanford Social Innovation Review. Winter 2011

“Recent trends in power system reliability and implications for evaluating future investments in
resiliency”, Peter H. Larsen, Kristina H. LaCommare, Joseph H. Eto, James Sweeney. Energy
Volume 117, Part 1, 15 December 2016, Pages 29–46.
http://dx.doi.org/10.1016/j.energy.2016.10.063

“Evaluation of a proposal for reliable low-cost grid power with 100% wind, water, and solar,”
Christopher T. M. Clack, Staffan A. Qvist, Jay Apt, Morgan Bazilian, Adam R. Brandt, Ken
Caldeira, Steven J. Davis, Victor Diakov, Mark A. Handschy, Paul D. H. Hines, Paulina
Jaramillo, Daniel M. Kammen, Jane C. S. Long, M. Granger Morgan, Adam Reed, Varun
Sivaram, James Sweeney, George R. Tynan, David G. Victor, John P. Weyants, and Jay F.
Whitacre, PNAS, Proceedings of the National Academy of Sciences, vol. 114 no. 26, 6722–6727,
doi: 10.1073/pnas.1610381114.

“Energy Efficiency: Still Low-hanging Fruit.” Hoover Digest, 2017, No. 2, Spring, Hoover
Institution

“How the West Was Wired” Hoover Digest, 2017, No. 4, Hoover Institution. Reprinted from
Sacramento Bee. March 03, 2017.



                                                                                        Page 5 of 12
    Case 6:15-cv-01517-AA        Document 338-4       Filed 08/24/18    Page 112 of 129




BOOKS/MONOGRAPHS:

A Dynamic Theory of the Housing Market, Ph.D. dissertation, Department of Engineering-
Economic Systems, Stanford University, 1971.

Handbook of Natural Resource and Energy Economics: A.V. Kneese and James L. Sweeney
(ed.), North Holland,Volumes I and II, 1985. (Translated into Chinese, 2001.)

Macroeconomic Impacts of Energy Shocks: Bert G. Hickman, Hillard Huntington, James
Sweeney (eds.), North Holland, 1987.

Potential Costs and Regulatory Burdens of the Energy Policy Act of 1992: Provisions for
Alternative Fuel Vehicles. (Monograph) W. David Montgomery, Margaret Rhodes, and James
Sweeney, DRI/McGraw-Hill and Charles River Associates, July 1993.

Handbook of Natural Resource and Energy Economics: A.V. Kneese and James L. Sweeney
(ed.), North Holland, Volume III, 1993. (Translated into Chinese, 2001.)

Environmentally Significant Consumption: Research Directions: Paul C. Stern, Vernon W.
Ruttan, Robert H. Socolow, and James L. Sweeney, editors. National Academy Press,
Washington, D.C., 1997.

Trade and Industry Impacts of the Kyoto Protocol. W. David Montgomery and James L.
Sweeney. (White Paper) The Business Roundtable. October 1999.

The California Electricity Crisis. James L. Sweeney. Hoover Institution Press. Stanford
California. July 2002.

Energy Efficiency: Building a Clean, Secure Economy. Hoover Institution Press. Stanford
California. 2016. Chinese Translation (translated by Sichuan Energy Internet Research Institute
of Tsinghua University) 2017

CONTRIBUTIONS TO BOOKS:

Project Independence Report, contributor, Federal Energy Administration, November, 1974.

"A Mathematical Model of Housing Markets," Proceedings: IEEE International Symposium on
Circuits and Systems, April 1974, pp. 468-472.

"Toward Housing Market Dynamics," Proceedings; IEEE Conference on Decision and Control,
November 1974, pp. 814-817.

"Demand for Gasoline: Application of Commodity Hierarchy Theory," with D. B. Cato and M.
E. Rodekohr, Proceedings: Business and Economic Statistics Section, American Statistical
Association, 1975.


                                                                                      Page 6 of 12
    Case 6:15-cv-01517-AA         Document 338-4       Filed 08/24/18    Page 113 of 129




National Energy Outlook, major contributor, directed development of supply/ demand/price
forecasts, Federal Energy Administration, February 1976.

"The Capital Stock Adjustment Process and the Demand for Gasoline; A Market Share
Approach," with D. B. Cato and M. E. Rodekohr, in Economic Dimensions and Energy Supply
and Demand, J. Kraft, B. Askin (eds.), Lexington Books, Lexington, Massachusetts, 1976.

"Energy Regulation: Solution or Problem?," in Options for U.S. Energy Policy, Institute for
Contemporary Studies, San Francisco, 1977 pp. 179-209.

"The Demand for Gasoline: A Vintage Capital Model," in Select Papers from Workshops on
World Energy Supply and Demand, International Energy Agency, Paris, 1978, pp. 240-277.

"A Price Forecasting System for Refined Petroleum Products," with G. R. Doenges, H. G.
Huntington, and E. R. Novicky, a report submitted to the Department of Energy, Data Resources,
Inc., JRB Associates, Inc., July 1978.

"Structural/Econometric Modeling of Gasoline Consumption," Proceedings: Second Lawrence
Symposium on Systems and Decision Sciences, October 1978, pp. 241-252.

"Effects of Federal Policies on Gasoline Consumption," Foresight: The Economic Impact of
Energy Conservation, Volume 3, Library of Congress, December 1978, pp. 241-225.

"New Car Efficiency Standards and the Demand for Gasoline," in Advances in the Economics of
Energy and Resources: The Structure of Energy Markets, Volume 1, Robert Pindyck (ed.), JAI
Press, Inc., Greenwich, Connecticut, 1979, pp. 105-133.

"U.S. Oil and Gas Supply Study," with J. P. Weyant, Proceedings: AIME Annual Meeting,
Council of Economics, Las Vegas, Nevada, February 1980, pp. 73-84.

"The Energy Modeling Forum, an Overview", in Validation and Assessment Issues of Energy
Models, Saul Gass (ed.), U.S. Department of Commerce/National Bureau of Standards Special
Publication 569, February 1980, pp. 65-96.

Electric Load Forecasting: Probing the Issues with Models, Energy Modeling Forum Working
Group 3, Volumes 1 and 2, Energy Modeling Forum, Stanford University, Stanford, California,
March 1980.

"Overview," in Electric Load Forecasting: Probing the Issues with Models, EMF Report 3,
Volumes 1 and 2, March 1980, pp. 5-15.

"Energy Problems and Policies," in The Economy in the 1980's: A Program for Growth and
Stability, Institute for Contemporary Studies, San Francisco, Spring 1980, pp. 353-392.



                                                                                       Page 7 of 12
    Case 6:15-cv-01517-AA         Document 338-4       Filed 08/24/18    Page 114 of 129




"Energy Policies and Automobile Use of Gasoline," in Selected Studies on Energy/Background
Papers for Energy: The Next Twenty Years, H. H. Landsberg, Spring 1980, pp. 93-125.

"Energy and Economic Growth: A Conceptual Framework," in Symposium Papers: Energy
Modeling and Net Energy Analysis, Institute of Gas Technology, Chicago, 1978; also in
Mathematical Modeling of Energy Systems, NATO Advanced Study Institute, Istanbul, Turkey,
1979; also in Directions in Energy Policy: A Comprehensive Approach to Energy Resource
Decision-Making, B. Kursunoglu, A. Permutter (eds.), Fall 1979, pp. 115-140; also in Preprint of
IBM Systems Science Symposium: Modeling and Prediction of Large Scale Systems, Nippon
IBM Co., Ltd., September 1980, pp. 1-32 (volume title translated from Japanese).

"The Energy Modeling Forum: Past, Present, and Future," with J. P. Weyant, in Energy Policy -
The Global Challenge, P. N. Nemetz (ed.) Institute for Research on Public Policy, Fall 1979, pp.
292-320; also in Energiemodelle für die Bundesrepublik Deutschland, A. Voss, K. Schmitz,
(eds.), Verlag TUV Rheinland Koln, Spring 1980, pp. 149-167.

"Energy Modeling Forum 5: U.S. Oil and Gas Supply," in Energy Modeling III: Dealing with
Energy Uncertainty, April 1981, pp. 283-303.

"The Theory and Practice of Energy Aggregation," with A. B. Borison and T. F. Wilson, in
Aggregate Elasticity of Energy Demand, Volume 2, Energy Modeling Forum.

"Price and Quantity Change Decomposition for Aggregated Commodities," in Aggregate
Elasticity of Energy Demand, Volume 2, Energy Modeling Forum.

"Energy Modeling Forum 4: Aggregate Elasticity of Energy Demand," with W. W. Hogan and J.
P. Weyant, Proceedings: Conference on Alternative Energy Sources.

"Resource Depletion, Research and Development and the Social Rate of Discount: A
Commentary and Extension," in The Rate of Return for Energy Investment, Robert Lind, Martin
Greenberger, (eds.).

"Model Comparison for Energy Policy and Planning," in Energy Policy Planning, Bayraktar,
Cherniavsky, Laughton, and Ruff, (eds.), NATO.

"The Relationship Between Energy Use and the Economy," in Energy Independence for the
United States, Nake M. Kamrany, The Newport Foundation, 1981. Also published in U.S.
Options for Energy Independence, Nake M. Kamrany, D. C. Heath & Co., 1982.

World Oil, Energy Modeling Forum Working Group 6, Energy Modeling Forum, Stanford
University, Stanford, California, January 1982.

"Energy Model Comparison: An Overview," in Large-Scale Energy Models -- Prospects and
Potential, Westview Press, Inc., Boulder, CO, 1983, pp. 191-217.



                                                                                       Page 8 of 12
    Case 6:15-cv-01517-AA        Document 338-4       Filed 08/24/18    Page 115 of 129




"Price Asymmetry in the Demand for Energy," with David Fenichel, Energy Demand Prospects
& Trends, Paul Stevens (ed.) Camelot Press Ltd. Southhampton, Great Britain, 1987, pp. 48-70.
Also in Papers and Proceedings of the Eighth Annual North American Conference, the
Changing World Economy, International Association of Energy Economists, Cambridge, MA,
May, 1987, pp. 218-222.

"Principles of Geographic Market Definition," Manual on Antitrust Economics, Economics
Committee Antitrust Division, American Bar Association.

"Optimal Control and Time Consistent Equilibria in Dominant Firm/Competitive Fringe
Dynamic Games," with Patricio del Sol, IFAC/IFORS/IAEE International Symposium on Energy
Systems, Management, and Economics, October 1989, Tokyo.

"Production Costs for Alternative Liquid Transportation Fuels," Methanol As An Alternative
Fuel Choice: An Assessment, Wilfrid Kohl (ed.), The Johns Hopkins Foreign Policy Institute,
Washington D.C., 1990.

Fuels to Drive our Future, Committee on Production Technologies for Liquid Transportation
Fuels, National Academy Press, Washington D.C. 1990. Principal Author, Chapter 3 and
Appendix D.

The National Energy Modeling System, Committee on the National Energy Modeling System,
National Research Council, National Academy Press, Washington D.C. 1992. Principal Author,
Chapter 3: "NEMS Architecture."

"Economic Theory of Depletable Resources: An Introduction," Chapter 17 in Handbook of
Natural Resource and Energy Economics, Volume III, A.V. Kneese and J.L. Sweeney (editors),
North Holland, 1993.

"Natural Resource Economics," in The Social Science Encyclopedia, Edition 2, Routledge,
London 1996.

“Energy Economics”, In: Neil J. Smelser and Paul B. Baltes, Editor(s)-in-Chief, International
Encyclopedia of the Social & Behavioral Sciences, Pergamon, Oxford, 2001, Pages 4513-4520
(www.sciencedirect.com/science/article/B7MRM-4MT09VJ-PS/2/17641810797ce56d07449fd00b951033)

"Natural Resource Economics," The Social Science Encyclopedia, Edition 3, Routledge, London
2004.

California Public Interest Energy Research: Independent PIER Panel Report, Independent
PIER Panel. California Council on Science and Technology, March 2000.

California Public Interest Energy Research: Independent PIER Panel Final Report,
Independent PIER Panel. California Council on Science and Technology, March 2001.



                                                                                      Page 9 of 12
     Case 6:15-cv-01517-AA         Document 338-4        Filed 08/24/18     Page 116 of 129




Energy Research at DOE: Was It Worth It? Committee on Benefits of DOE R&D in Energy
Efficiency and Fossil Energy. National Academy Press, Washington, D.C. July 17, 2001.

Effectiveness and Impact of Corporate Average Fuel Economy (CAFE) Standards. Committee
on Effectiveness and Impact of Corporate Average Fuel Economy (CAFE) Standards. National
Academy Press, Washington, D.C. July 30, 2001.

The Hydrogen Economy: Opportunities, Costs, Barriers, and R&D Needs. Committee on
Alternatives and Strategies for Future Hydrogen Production and Use. National Academy Press,
Washington, D.C. July 2004

Prospective Evaluation of Applied Energy Research and Development at DOE (Phase One): A
First Look Forward. Committee on Prospective Benefits of DOE’s Energy Efficiencey and
Fossil Energy R&D Programs (Phase One.) National Academy Press, Washington, D.C. 2005.

“California Electricity Restructuring, the Crisis, and its Aftermath;” Chapter 10 in Electricity
Market Reform: An International Perspective, Perry Shioshansi and Wolfgang Pfaffenberger
(eds.) Elsevier, April 2006

“Hydrogen for Light Duty Vehicles: Opportunities and Barriers in the United States”, Chapter 17
in Human-Induced Climate Change: An Interdisciplinary Assessment; Michael Schlesinger
(Ed.), Cambridge University Press, 2007

National Security Consequences of U.S. Oil Dependency. Independent Task Force Report No.
58, Council on Foreign Relations, 2006.

California Action Plan for Transportation Energy Security. California Strategic Transportation
Energy Partnership. CalStart, January 2007.

Prospective Evaluation of Applied Energy Research and Development at DOE (Phase Two.)
Committee on Prospective Benefits of DOE’s Energy Efficiencey and Fossil Energy R&D
Programs (Phase Two). National Academy Press, Washington, D.C. 2007.

Liquid Transportation Fuels from Coal and Biomass: Technological Status, Costs, and
Environmental Impact.) America's Energy Future Panel on Alternative Liquid Transportation
Fuels; National Academy of Sciences; National Academy of Engineering; National Research
Council. National Academy Press, Washington, D.C. 2009.

America’s Energy Future: Technology and Transformation. Committee on America’s Energy
Future; National Academy of Sciences; National Academy of Engineering; National Research
Council. National Academy Press, Washington, D.C. 2009.

“Market Failure and the Structure of Externalities”, Kenneth Gillingham and James Sweeney
in Harnessing Renewable Energy in Electric Power Systems, Boaz Moselle, Jorge Padilla, and
Richard Schmalensee, (eds.), RFF Press, August 2010.


                                                                                         Page 10 of 12
    Case 6:15-cv-01517-AA        Document 338-4      Filed 08/24/18    Page 117 of 129




“Barriers to Implementing Low Carbon Technologies”, Kenneth Gillingham and James Sweeney
in Climate Change Economics, Vol. 3, No. 4, World Scientific Publishing Company 2012

OP/ED PIECES/Videos:

“Integrate western power grid to reduce emissions, energy costs”, Sacramento Bee. March 03,
2017. http://www.sacbee.com/opinion/op-ed/soapbox/article135866278.html

“Increased Efficiency: Our Best Source of Clean Energy” POLICYed Video
https://www.policyed.org/intellections/increased-efficiency, 2017

“An energy resource any U.S. president could love”, The Hill. November 30, 2016.
http://thehill.com/blogs/congress-blog/energy-environment/308170-cheap-clean-and-easily-
accessible-an-energy-resource


SELECTED WORKING PAPERS, REPORTS:

"The Logic of Efficiency Standards and Their Influence on Gasoline Consumption," with M. E.
Rodekohr and D. B. Cato, Working Paper, Federal Energy Administration, March 1975.

The U. S. Oil and Gas Supply, Energy Modeling Forum Working Group 5. Energy Modeling
Forum, Stanford University, 1981.

"Time Inconsistency and the Advantage of Not Committing: The Importer of an Exhaustible
Resource," with Patricio del Sol, Center for Economic Policy Research Working Paper, Stanford
California, October 1988.

"Price Oscillations in Oligopoly," with William Comanor, Center for Economic Policy Research
Publication No. 181, Stanford California, January 1990.

"Mandates for Alternative Fuels: A Policy Analysis," with David Montgomery, Charles River
Associates, September 1991.

"Review of Transportation Fuels Analysis and Policy Recommendations in California Energy
Commission: California Energy Plan," with David Montgomery, April 1992.

"Mandating a Transition to Alternative Transportation Fuels: Economic, Environmental and
Energy Security Implications," with David Montgomery, June 1992.

"Gasoline Taxes: An Economic Assessment," Prepared for the Office of Technology
Assessment, U.S. Congress, September 1993.




                                                                                    Page 11 of 12
    Case 6:15-cv-01517-AA       Document 338-4      Filed 08/24/18   Page 118 of 129




"Evaluation of the EPA's Proposal for Renewable Oxygenates," May 1994. Prepared for The
American Petroleum Institute.

“Agricultural Damage of Common Crops and Externalities Associated with Bread
Consumption,” May 1997, with W. David Montgomery, J. Eric Bickel, Graydon Barz, Wenlong
Weng, and Fehmi Ashaboglu. EES&OR Department Working Paper.

“Tradable Fuel Economy Credits. Analysis and Text Extended from Chapter 5 of
Impact and Effectiveness of Corporate Average Fuel Economy Standards,” August 12, 2001.

“Regulating Fuel Economy: Corporate Average Fuel Economy Standards,” Policy Brief,
Stanford Institute for Economic Policy Research, March 2003.

“Deconstructing the Rosenfeld Curve,” Anant Sudarshan and James Sweeney, June 2008,
http://peec.stanford.edu/library

“Analysis of Measures to Meet the Requirements of California’s Assembly Bill 32” Precourt
Energy Efficiency Team, September 2008. http://peec.stanford.edu/library
“Allocating Emissions Allowances Under a California Cap-and-Trade Program:
Recommendations to the California Air Resources Board and California Environmental
Protection Agency from the Economic and Allocation Advisory Committee” California Air
Resources Board. March 2010. Authors: Justin Adams, Vicki Arroyo, Matthew Barger, James
K. Boyce, Dallas Burtraw, James Bushnell, Robert Fisher, Richard Frank, Larry Goulder, Dan
Kammen, Christopher R. Knittel, Stephen Levy, Joe Nation, Nancy E. Ryan, Nancy Sidhu,
James L. Sweeney

“Assessing Changes in the Reliability of the US Electric Power System.,” Peter H. Larsen,
Kristina LaCommare, Joseph Eto, James Sweeney. No. LBNL-188741. Lawrence Berkeley
National Laboratory (LBNL), Berkeley, CA (United States), 2015.

“Petroleum Market Advisory Committee Final Report.” December 2014 to November 2016”.
California Energy Commission CEC-200-2017. Severin Borenstein, Kathleen Foote, Dave
Hackett, Amy Jaffe, James Sweeney. September 2017.




                                                                                 Page 12 of 12
 Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18       Page 119 of 129
                                                 Appendix B




                                             James L Sweeney
                      Litigation in which testimony was offered in the past four years



Phillips 66 Company, Successor-In-Interest to Tosco Corporation, And HDI-Gerling Industrie
Versicherung Ag, Formerly Known As Gerling Konzern Allgemeine Versicherungs – Ag,
Arbitration
John Ellison, Reed Smith LLP
Worked on behalf of Phillips 66
Written Testimony submitted, 2014

United States Enrichment Corporation v. Entergy Services, Inc., and Entergy Nuclear Fuels Company
Arbitration re Enriched Product Agreements
Worked on behalf of USEC
William Phillips, Covington & Burling LLP
Report and Hearing Testimony, 2015

Melissa D. Duflock, v. Chevron Corporation,
Petroleum Royalties dispute
Worked on behalf of Chevron
Filed Declaration 2016
Deposition, 2016

The Enpex Corporation v. San Diego Gas and Electric Company
Dispute re Electricity Crisis Era proposal for a PPA or a turnkey plant.
Case No. 37-2016-00034956-CU-BT-CTL
Superior Court of the State of California, For the County of San Diego
Worked on behalf of The Enpex Corporation
David Kleinfeld, Thorsnes Bartolotta Mcguire LLP
Deposition, 2018




                                                                                             Page 1 of 1
               Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18        Page 120 of 129
                                                             Appendix C




                     Documents Relied Upon by Professor James L. Sweeney


Pleadings
Federal Defendants’ Answer to First Amended Complaint for Declaratory and Injunctive Relief, Kelsey Cascadia Rose
Juliana et al., Plaintiffs, v. United States et al., Defendants, January 13, 2017

First Amended Complaint for Declaratory and Injunctive Relief, Kelsey Cascadia Rose Juliana et al., Plaintiffs, v. The United
States of America et al., Defendants, September 10, 2015

Expert Reports / Declarations
Declaration of James Gustave “Gus” Speth in Support of Plaintiffs’ Response in Opposition to Defendants’ Motion for
Summary Judgment, June 27, 2018

Expert Report of Eric Rignot, Ph.D., April 11, 2018

Expert Report of James E. Hansen, Ph.D., April 13, 2018

Expert Report of James H. Williams, Ph.D., April 13, 2018

Expert Report of Joseph E. Stiglitz, Ph.D., April 13, 2018

Expert Report of Mark Jacobson, Ph.D., April 6, 2018

U.S. Code
26 U.S.C. § 45a

42 U.S.C., §7111

42 U.S.C., §7151

Publicly Available Reports
A. Denis et al., “Pathways to Deep Decarbonization in 2050 – How Australia Can Prosper in a Low Carbon World,” The
Australian report of the Deep Decarbonization Pathways Project of the Sustainable Development Solutions Network and the
Institute for Sustainable Development and International Relations, 2014

A. Zervos et al., “Re-Thinking 2050: A 100% Renewable Energy Vision for the European Union,” European Renewable
Energy Council, 2010, http://fft.szie.hu/mnt/Re-thinking%202050.pdf

Airbus Global Market Forecast, “Growing Horizons: 2017/2036,” 2017

Boeing Report, “Current Market Outlook: 2017-2036,” June 19, 2017

C. Bataille et al., “Pathways to Deep Decarbonization in Canada,” SDSN – IDDRI, 2015, http://deepdecarbonization.org/wp-
content/uploads/2015/09/DDPP_CAN.pdf

California Environment Protection Agency, Air Resources Board Report, “California’s Advanced Clean Cars Midterm
Review,” January 18, 2017

Cédric Philibert, “Renewable Energy for Industry: From Green Energy to Green Materials and Fuels,” International Energy
Agency Report, 2017

Congressional Budget Office Report, “Effects of Federal Tax Credits for the Purchase of Electric Vehicles,” September 2012,
https://www.cbo.gov/sites/default/files/112th-congress-2011-2012/reports/electricvehiclesone-col.pdf

                                                                                                                     Page 1 of 10
               Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18         Page 121 of 129
                                                               Appendix C


Eric Wood et al., “National Plug-In Electric Vehicle Infrastructure Analysis,” U.S. Department of Energy Report, September
2017

Federal Energy Administration, “Project Independence,” Project Independence Report, November 1974,
https://catalog.hathitrust.org/Record/000686195

Federal Energy Regulatory Commission Report, “Hydropower Primer,” February 2017, https://www.ferc.gov/legal/staff-
reports/2017/hydropower-primer.pdf

Gus Schellekens et al., “100% Renewable Electricity: A Roadmap to 2050 for Europe and North Africa,” 2010,
http://www.sefep.eu/activities/projects-studies/2011-05-11-100-%20renewables.pdf

International Iron Metallics Association Report, “Ore-Based Metallics: Adding Value to the EAF,” May 2017,
http://seaisi.org/seaisi2017/file/file/full-paper/Session7B%20Paper2.pdf

IPCC Report, “Climate Change 2014 Impacts, Adaptation, and Vulnerability Summary for Policymakers,” 2014

IPCC Report, “Climate Change 2014 Synthesis Report Summary for Policymakers,” 2014

“Iron and Steel,” Energy Technology Systems Analysis Programme, International Energy Agency, May 2010

Jane C. S. Long, “California’s Energy Future: The View to 2050,” California Council on Science and Technology Report,
May 2011

Lisa J. Hanle et al., “CO2 Emissions Profile of the U.S. Cement Industry,” U.S. Environmental Protection Agency Report,
undated

Matthew Wright and Patrick Hearps, “Australian Sustainable Energy: Zero Carbon Australia Stationary Energy Plan,” The
University of Melbourne Energy Research Institute, 2010,
http://media.bze.org.au/ZCA2020_Stationary_Energy_Report_v1.pdf

Maureen Hand et al., “Renewable Electricity Futures Study,” National Renewable Laboratory, 2012

Michael D. Fenton, “Iron and Steel,” U.S. Geological Survey Mineral Commodities Summaries, January 2015,
https://minerals.usgs.gov/minerals/pubs/commodity/iron_&_steel/mcs-2015-feste.pdf

National Renewable Energy Laboratory, NREL/TP-461-7281, “The Super Efficient Refrigerator Program: Case Study of a
Golden Carrot Program,” July 1985, http://www.nrel.gov/docs/legosti/old/7281.pdf

Paul Allen et al., “Zero Carbon Britain: Rethinking the Future,” Centre for Alternative Technology, 2013,
http://www.zerocarbonbritain.org/images/pdfs/ZCBrtflo-res.pdf

“Policy Options For Stabilizing Global Climate,” U.S. Environmental Protection Agency Report, 1990

“Powering the Future: Mapping Our Low-Carbon Path to 2050,” Parsons Brinckerhoff, 2009,
http://hub.globalccsinstitute.com/sites/default/files/publications/138013/powering-future-mapping-low-carbon-path-2050.pdf

“Report of the conference of the parties on its first session, held at Berlin from 28 March to 7 April 1995,” United Nations
Framework Convention on Climate Change, 1995, https://unfccc.int/resource/docs/cop1/07a01.pdf

“Restoring the Quality of Our Environment,” The White House, 1965

“Roadmap 2050: A Practical Guide to a Prosperous, Low-Carbon Europe, Vol. 1: Technical Analysis,” European Climate
Foundation, 2010, http://www.roadmap2050.eu/attachments/files/Volume1_fullreport_PressPack.pdf

“Roadmap 2050: A Practical Guide to a Prosperous, Low-Carbon Europe, Vol. 2: Policy Recommendations,” European
Climate Foundation, 2010, http://www.roadmap2050.eu/attachments/files/Volume2_Policy.pdf

SGI Aviation Report, “Aircraft Retirements and Part-Out: Effective Use of Existing Trends and Opportunities in the Market,”
September 15, 2016

Solar Energy Industries Association Report, “Solar Market Insight Report 2016 Year In Review”

                                                                                                                        Page 2 of 10
              Case 6:15-cv-01517-AA               Document 338-4            Filed 08/24/18        Page 122 of 129
                                                              Appendix C


“The 2017-2050 négaWatt Scenario,” Association négaWatt, 2017, https://negawatt.org/IMG/pdf/negawatt-scenario-2017-
2050_english-summary.pdf

The Pew Charitable Trusts Report, “Power Surge: Energy Security and the Department of Defense,” January 2014

Trieu Mai et al., “Electrification Futures Study: Scenarios of Electric Technology Adoption and Power Consumption for the
United States,” Department of Energy Report #DE-AC36_08GO28308, 2018, https://www.nrel.gov/docs/fy18osti/71500.pdf

U.S. Energy Information Administration Report, “Annual Energy Outlook 2018,” February 6, 2018

U.S. Energy Information Administration Report, “Annual Energy Outlook 2014”

U.S. Energy Information Administration Report, “Annual Energy Review 2011”

U.S. Energy Information Administration Report, “Levelized Cost and Levelized Avoided Cost of New Generation Resources
in the Annual Energy Outlook 2018,” March 2018, https://www.eia.gov/outlooks/aeo/pdf/electricity_generation.pdf

U.S. Environmental Protection Agency, 2018, “Inventory of U.S. Greenhouse Gas Emissions and Sinks 1990-2016,” Table
ES-2: Recent Trends in U.S. Greenhouse Gas Emissions and Sinks (MMT CO2 Eq.)

U.S. Internal Revenue Service Bulletin: 2009–48, November 30, 2009, https://www.irs.gov/irb/2009-48_IRB#NOT-2009-89.

UNEP Report, “The Emissions Gap Report 2017,” 2017

UNFCCC Report, Carbon Pricing Leadership Coalition, “Report of the High-Level Commission on Carbon Prices,” May 29,
2017

United States White House, “United States Mid-Century Strategy for Deep Decarbonization,” 2016,
https://unfccc.int/files/focus/long-term_strategies/application/pdf/mid_century_strategy_report-final_red.pdf

World Energy Council Report, “World Energy Trilemma 2016,” 2016

Academic Literature / Books
A. Aghahosseini et al., “Analysis of 100% Renewable Energy for Iran in 2030: Integrating Solar PV, Wind Energy and
Storage,” International Journal of Environmental Science and Technology 15, 2018, pp. 17–36

Alexander E. MacDonald et al., “Future Cost-Competitive Electricity Systems and Their Impact on US CO2 Emissions,”
Nature Climate Change 6, 2016, pp. 526–531

Allen A. Fawcett et al., “Overview of EMF 24 Policy Scenarios,” Energy Journal 35, 2014

Antonio García-Olivares et al., “Transportation in a 100% Renewable Energy System,” Energy Conversion and Management
158, 2018, pp. 266–285

Arthur van Benthem et al., “Learning-by-Doing and the Optimal Solar Policy in California,” Energy Journal 29, no. 3, 2008,
pp. 1–26

B. P. Heard et al., “Burden of Proof: A Comprehensive Review of the Feasibility of 100% Renewable Electricity Systems,”
Renewable and Sustainable Energy Reviews 76, 2017, pp. 1122–1133

B. V. Mathiesen et al., “Smart Energy Systems for Coherent 100% Renewable Energy and Transport Solutions,” Applied
Energy 145, 2015, pp. 139–154

Ben Elliston et al., “Comparing Least Cost Scenarios for 100% Renewable Electricity with Low Emission Fossil Fuel
Scenarios in the Australian National Electricity Market,” Renewable Energy 66, 2014, pp. 196–204

Ben Elliston et al., “Least Cost 100% Renewable Electricity Scenarios in the Australian National Electricity Market,” Energy
Policy 59, 2013, pp. 270-282

Brian Vad Mathiesen et al., “100% Renewable Energy Systems, Climate Mitigation and Economic Growth,” Applied Energy
88, 2011, pp. 488–501
                                                                                                                     Page 3 of 10
              Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18        Page 123 of 129
                                                             Appendix C


Christoph Böhringer et al., “Introduction to the EMF 29 Special Issue on the Role of Border Carbon Adjustment in Unilateral
Climate Policy,” Energy Economics 34, sup. 2, pp. S95–S96

Christopher T. M. Clack et al., “Supporting Information for the Paper ‘Evaluation of a Proposal for Reliable Low-Cost Grid
Power with 100% Wind, Water, and Solar,’” PNAS, 2017, pp. 1–13

Colleen L.S. Kantner et al., “Impact of the EISA 2007 Energy Efficiency Standard on General Service Lamps,” Berkeley Lab,
LBNL-1007090, January 2017, https://www.eenews.net/assets/2017/05/04/document_gw_04.pdf

Cory Budischak et al., “Cost-Minimized Combinations of Wind Power, Solar Power and Electrochemical Storage, Powering
the Grid Up to 99.9% of the Time,” Journal of Power Sources 225, 2013, pp. 60–74

D. Connolly et al., “Smart Energy Europe: The Technical and Economic Impact of one Potential 100% Renewable Energy
Scenario for the European Union,” Renewable and Sustainable Energy Reviews 60, 2016, pp. 1634–1653

David Connolly and Brian Vad Mathiesen, “A Technical and Economic Analysis of One Potential Pathway to a 100%
Renewable Energy System, International Journal of Sustainable Energy Planning and Management 01, 2014, pp. 7–28

Dmitrii Bogdanov and Christian Breyer, “North-East Asian Super Grid for 100% Renewable Energy Supply: Optimal Mix of
Energy Technologies for Electricity, Gas and Heat Supply Options,” Energy Conservation and Management 112, 2016, pp.
176–190

Doug Arent, “Implications of High Renewable Electricity Penetration in the U.S. for Water Use, Greenhouse Gas Emissions,
Land-Use, and Materials Supply,” Applied Energy 123, 2014, pp. 368–377

“Energy Research at DOE, Was It Worth It? Energy Efficiency and Fossil Energy Research 1978 to 2000,” Committee on
Benefits of DOE R&D on Energy Efficiency and Fossil Energy, Board on Energy and Environmental Systems, Division on
Engineering and Physical Sciences, National Research Council (Washington, DC: National Academy Press, 2001)

F. Grobler and R.C.A. Minnitt, “The Increasing Role of Direct Reduced Iron in Global Steelmaking,” Journal of the South
African Institute of Mining and Metallurgy, March/April 1999, pp. 111–116

I. G. Mason et al., “A 100% Renewable Electricity Generation System for New Zealand Utilising Hydro, Wind, Geothermal
and Biomass Resources,” Energy Policy 38, 2010, pp. 3973–3984

International Energy Agency, Energy Statistics Manual (Paris: IEA Publications, 2005)

J. H. Williams et al., “Pathways to Deep Decarbonization in the United States,” The U.S. Report of the Deep Decarbonization
Pathways Project of the Sustainable Development Solutions Network and the Institute for Sustainable Development and
International Relations, 2014

James L. Sweeney, Energy Efficiency: Building a Clean, Secure Economy (Stanford, CA: Hoover Institution Press, 2016)

Jared R. Creason et al., “Effects of Technology Assumptions on US Power Sector Capacity, Generation and Emissions
Projections: Results from the EMF 32 Model Intercomparison Project,” Energy Economics 73, 2018, pp. 290–306

Jessica Jewell et al., “Limited Emission Reductions from Fuel Subsidy Removal Except in Energy-Exporting Regions,”
Nature 554, 2018, pp. 229–233

John C.B. Cooper, “Price Elasticity of Demand for Crude Oil: Estimates for 23 Countries,” OPEC Review 27, no. 1, 2003, pp.
1–8

John E. Bistline et al., “Electric Sector Policy, Technological Change, and U.S. Emissions Reductions Goals: Results from the
EMF 32 Model Intercomparison Project,” Energy Economics 73, 2018, pp. 307–325

Joseph E. Aldy et al., “Investment Versus Output Subsidies: Implications of Alternative Incentives for Wind Energy,”
December 2016

Kenneth Gillingham and James Sweeney, “Market Failure and the Structure of Externalities,” in Harnessing Renewable
Energy, ed. Boaz Moselle et al. (New York: Routledge, 2010)



                                                                                                                    Page 4 of 10
              Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18        Page 124 of 129
                                                             Appendix C


Leon E. Clarke et al., “Technology and U.S. Emissions Reductions Goals: Results of the EMF 24 Modeling Exercise,”
Energy Journal 35, 2014, pp. 9–31

Mark D. Bowles, “The ‘Apollo’ of Aeronautics: NASA’s Aircraft Energy Efficiency Program 1973 – 1987” (Washington,
DC: NASA, 2010), https://www.nasa.gov/pdf/601247main_ApolloAeronautics-ebook.pdf

Mark Z. Jacobson et al., “100% Clean and Renewable Wind, Water, and Sunlight (WWS) All-Sector Energy Roadmaps for
the 50 United States,” Energy & Environmental Science 8, 2015, Supplemental Information, pp. 1–105

Mark Z. Jacobson et al., “100% Clean and Renewable Wind, Water, and Sunlight (WWS) All-Sector Energy Roadmaps for
the 50 United States,” Energy & Environmental Science 8, no. 7, 2015, pp. 2093–2117

Mark Z. Jacobson et al., “Low-Cost Solution to the Grid Reliability Problem with 100% Penetration of Intermittent Wind,
Water, and Solar for All Purposes,” Proceedings of the National Academy of Sciences 112, no. 49, 2015, pp. 15060–15065

N. Gregory Mankiw, Principles of Economics, 3rd Edition (Mason, OH: Thomson South-Western, 2004)

Peter Erickson et al., “Effect of Subsidies to Fossil Fuel Companies on United States Crude Oil Production,” Nature Energy 2,
2017, pp. 891–898

Raphael J. Heffron, “What is Energy Law,” in Energy Law: An Introduction (Springer International Publishing, 2015), pp. 1–
10

Shaojian Wang et al., “The Relationship Between Economic Growth, Energy Consumption, and CO2 Emissions: Empirical
Evidence from China,” Science of The Total Environment 542, 2016, pp. 360–371

Sugandha D. Tuladhar et al., “Interaction Effects of Market-Based and Command-and-Control Policies,” Energy Journal 35,
2014, pp. 61–88

Thomas Covert et al., “Will We Ever Stop Using Fossil Fuels?,” Journal of Economic Perspectives, 2016, pp. 1–26

Trieu Mai et al., “Envisioning a Renewable Electricity Future for the United States,” Energy 65, 2014, pp. 374–386

William D. Nordhaus, “A Review of the Stern Review on the Economics of Climate Change,” Journal of Economic Literature
45, no. 3, 2007, pp. 686–702

Yoichi Kaya and Keiichi Yokoburi, Environment, Energy, and Economy: Strategies for Sustainability (United States of
America: United Nations University Press, 1997)

Public Press, Web Pages, and Other Publicly Available Materials
“Airbus Aircraft 2018 Average List Price (USD Millions),” Airbus, http://www.airbus.com/content/dam/corporate-
topics/publications/backgrounders/Airbus-Commercial-Aircraft-list-prices-2018.pdf, accessed May 9, 2018

“A380 Superjumbo Lands in Sydney,” BBC, October 25, 2007, http://news.bbc.co.uk/2/hi/business/7061164.stm, accessed
May 9, 2018

“About Boeing Commercial Airplanes,” Boeing, http://www.boeing.com/company/about-bca/#/prices, accessed May 9, 2018

“About the Solar Energy Technologies Office,” Solar Energy Technology Offices, https://www.energy.gov/eere/solar/about-
solar-energy-technologies-office, accessed August 3, 2018

“About Us,” Bonneville Power Administration, https://www.bpa.gov/news/AboutUs/Pages/default.aspx

“About Us,” Office of Nuclear Energy, https://www.energy.gov/ne/about-us

“Advanced Technology Vehicle Sales Dashboard,” Auto Alliance, https://autoalliance.org/energy-environment/advanced-
technology-vehicle-sales-dashboard/

Al Gore, “Kyoto Climate Change Conference,” Clinton Whitehouse Archive, December 8, 1997,
https://clintonwhitehouse3.archives.gov/WH/EOP/OVP/speeches/kyotofin.html, accessed August 3, 2018

                                                                                                                     Page 5 of 10
              Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18        Page 125 of 129
                                                             Appendix C


Alex McEachern, “Hybrids: What is the Difference Between Traditional and Plug-in?,” Electric Vehicle News, June 8, 2012,
https://www.fleetcarma.com/hybrids-what-is-the-difference-between-traditional-and-plug-in/

“Alternative Fueling Station Counts by State,” U.S. Department of Energy, August 4, 2018,
https://www.afdc.energy.gov/fuels/stations_counts.html, accessed August 4, 2018

Bamini Chakraborty, “Paris Agreement on Climate Change: US Withdraws as Trump Calls it ‘Unfair,’” Fox News, June 1,
2017, http://www.foxnews.com/politics/2017/06/01/trump-u-s-to-withdraw-from-paris-climate-pact-calls-it-unfair-for-
america.html, accessed August 3, 2018

“Becoming a UNFCCC delegate: what you need to know,” International Institute for Environment and Development, 2016,
http://pubs.iied.org/pdfs/17385IIED.pdf, accessed August 3, 2018

Bryan Walsh, “Why the Climate Bill Died,” Time, July 26, 2010, http://science.time.com/2010/07/26/why-the-climate-bill-
died/, accessed August 3, 2018

“California Auto Outlook: Comprehensive Information on the California Vehicle Market,” California New Car Dealers
Association, February 2018, https://www.cncda.org/wp-content/uploads/California-Covering-4Q-2017-1.pdf

“Carbon Storage Research,” Department of Energy, https://www.energy.gov/fe/science-innovation/carbon-capture-and-
storage-research, accessed August 3, 2018

“Climate Change: Obama Unveils Clean Power Plan,” BBC, August 3, 2015, http://www.bbc.com/news/world-us-canada-
33753067, accessed August 3, 2018

“Congress Votes Largest Tax Cut in History,” CQ Almanac 1975 (Washington, DC: Congressional Quarterly, 1976),
http://library.cqpress.com/cqalmanac/cqal75-1213141

“Crude Oil Prices: West Texas Intermediate (WTI) - Cushing, Oklahoma,” Economic Research Federal Reserve Bank of St.
Louis, August 1, 2018, https://fred.stlouisfed.org/series/DCOILWTICO

“DRI Production,” International Iron Metallics Association, https://www.metallics.org/dri-production.html, accessed July 13,
2018

Daniel J. Weiss, “Anatomy of a Senate Climate Bill Death,” Center for American Progress, October 12, 2010,
https://www.americanprogress.org/issues/green/news/2010/10/12/8569/anatomy-of-a-senate-climate-bill-death, accessed
August 3, 2018

David Blackmon, “Oil And Gas Tax Provisions Are Not Subsidies For ‘Big Oil’,” January 2, 2013, Forbes,
https://www.forbes.com/sites/davidblackmon/2013/01/02/oil-gas-tax-provisions-are-not-subsidies-for-big-oil/#6bd8d0ca52e8,
accessed August 12, 2018

David Bowed, “Airbus Will Reveal Plan for Super-Jumbo: Aircraft would Seat at Least 600 People and Cost Dollars 8bn to
Develop,” The Independent, June 4, 1994, https://www.independent.co.uk/news/business/airbus-will-reveal-plan-for-super-
jumbo-aircraft-would-seat-at-least-600-people-and-cost-dollars-8bn-1420367.html, accessed on May 9, 2018

David Byrne, “Australia’s Energy Trilemma Explained,” The University of Melbourne, July 3, 2017,
https://pursuit.unimelb.edu.au/articles/australia-s-energy-trilemma-explained, accessed August 6, 2018

David Rosenbaum, “Clinton Backs Off Plan for New Tax on Heat in Fuels,” New York Times, June 9, 1993,
https://www.nytimes.com/1993/06/09/us/clinton-backs-off-plan-for-new-tax-on-heat-in-fuels.html, accessed August 3, 2018

David S. Hilzenrath, “Miscalculations, Lobby Effort Doomed BTU Tax Plan,” Washington Post, June 11, 1993,
https://www.washingtonpost.com/archive/business/1993/06/11/miscalculations-lobby-effort-doomed-btu-tax-plan/d756dac3-
b2d0-46a4-8693-79f6f8f881d2/?noredirect=on&utm_term=.0283a25da88e, accessed August 3, 2018

Deon Daugherty, “Limit Crude Imports: Perhaps Eisenhower Was on to Something,” Rigzone, January 25, 2016,
https://www.rigzone.com/news/oil_gas/a/142660/column_limit_crude_imports_perhaps_eisenhower_was_on_to_something/?
all=hg2, accessed August 3, 2018

"Drive clean and save," California Clean Vehicle Rebate Project, https://cleanvehiclerebate.org/eng.

                                                                                                                    Page 6 of 10
              Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18         Page 126 of 129
                                                             Appendix C


“EERE Timeline,” Office of Energy Efficiency & Renewable Energy, https://www.energy.gov/eere/timeline/eere-timeline

“Energy Units and Calculations Explained,” U.S. Energy Information Administration,
https://www.eia.gov/energyexplained/index.php?page=about_energy_units, accessed August 11, 2018

“Eight States Plan for 3.3 Million Zero-Emission Vehicles by 2025,” United States Department of Energy, October 30, 2018,
https://www.energy.gov/eere/vehicles/articles/eight-states-plan-33-million-zero-emission-vehicles-2025

“Federal Tax Credits for All-Electric and Plug-in Hybrid Vehicles,” U.S. Department of Energy,
https://www.fueleconomy.gov/feg/taxevb.shtml

“Final Overview of the §1603 Program,” U.S. Treasury, March 1, 2018,
https://www.treasury.gov/initiatives/recovery/Pages/1603.aspx

George Bush, “Statement on Signing the Instrument of Ratification for the United Nations Framework Convention on Climate
Change,” The American Presidency Project, October 13, 1992, http://www.presidency.ucsb.edu/ws/?pid=21611

“Government Energy Management,” Office of Energy Efficiency and Renewable Energy,
https://www.energy.gov/eere/efficiency/government-energy-management, accessed August 3, 2018

“History of Major Energy Policy Landmarks,” Department of Geography, PennState, https://www.e-
education.psu.edu/geog432/node/116, accessed August 11, 2018

“History of the Boeing 787,” Seattle Times, Associated Press, June 23, 2009,
http://old.seattletimes.com/html/nationworld/2009373399_apusboeing787historyglance.html, accessed May 9, 2018

House Resolution 1027, 114th Congress, 2015

House Resolution 1086, 102nd Congress, 1991

House Resolution 2202, 114th Congress, 2015

House Resolution 309, 114th Congress, 2015

House Resolution 4283, 114th Congress, 2015

House Resolution 4805, 101st Congress, 1990

House Resolution 6049, 110th Congress, 2009

House Resolution 804, 103rd Congress, 1993

House Resolution 972, 114th Congress, 2015

“How much tax do we pay on a gallon of gasoline and a gallon of diesel fuel?” U.S. Energy Information Administration,
https://www.eia.gov/tools/faqs/faq.php?id=10&t=10, accessed August 3, 2018

https://www.youtube.com/watch?v=oKRJAlT4dqw

“IMF Projects Venezuela Inflation Will Hit 1,000,000 Percent in 2018,” Reuters, July 23, 2018,
https://www.reuters.com/article/us-venezuela-economy/imf-projects-venezuela-inflation-will-hit-1000000-percent-in-2018-
idUSKBN1KD2L9, accessed August 13, 2018

“Indicative Scales of contributions from parties to the Convention and the Kyoto Protocol for the biennium 2016-2017,”
United Nations Climate Change Secretariat, December 2015, https://unfccc.int/sites/default/files/scale.pdf

James Brooke, “The Earth Summit; President, in Rio, Defends His Stand on Environment,” New York Times, June 13, 1992,
https://www.nytimes.com/1992/06/13/world/the-earth-summit-president-in-rio-defends-his-stand-on-environment.html,
accessed August 6, 2018




                                                                                                                    Page 7 of 10
              Case 6:15-cv-01517-AA              Document 338-4            Filed 08/24/18        Page 127 of 129
                                                             Appendix C


Jason Furman and Gene Sperling, “Reducing America’s Dependence on Foreign Oil as a Strategy to Increase Economic
Growth and Reduce Economic Vulnerability,” August 29, 2013, Obama White House Archives,
https://obamawhitehouse.archives.gov/blog/2013/08/29/reducing-america-s-dependence-foreign-oil-strategy-increase-
economic-growth-and-redu, accessed August 2, 2016

Jim Gorzelany, “Which (Of Only A Few) Hybrids Make Financial Sense,” Forbes, August 26, 2016,
https://www.forbes.com/sites/jimgorzelany/2016/08/26/cheap-gas-means-few-hybrids-make-financial-sense-to-
own/#1c23cdc85d7c

Juliet Ellperin, “U.S. Firms Look Ahead to Emissions Cuts Overseas,” Washington Post, October 3, 2004,
http://www.washingtonpost.com/wp-dyn/articles/A2936-2004Oct2.html, accessed August 3, 2018

“Know the Legislation,” Price on Carbon, https://priceoncarbon.org/business-society/history-of-federal-legislation/, accessed
August 3, 2018

Laurie Goering, “Clinton Signs Pact on Global Warming,” Chicago Tribune, November 13, 1998,
http://articles.chicagotribune.com/1998-11-13/news/9811130120_1_greenhouse-gas-emissions-greenhouse-gases-global-
warming, accessed August 3, 2018

Lisa Friedman and Brad Plumer, “E.P.A. Announces Repeal of Major Obama-Era Carbon Emissions Rule,” New York Times,
October 9, 2017, https://www.nytimes.com/2017/10/09/climate/clean-power-plan.html, accessed August 3, 2018

Marisa Garcia, “Future Proof: Fuel Cell Systems Could Power Aircraft Cabin Parts,” APEX, February 5, 2018,
https://apex.aero/2018/02/05/fuel-cell-systems-power-commercial-aircraft-cabin-parts, accessed May 9, 2018

Michael D. Shear, “Trump Will Withdraw U.S. from Paris Climate Agreement,” New York Times, June 1, 2017,
https://www.nytimes.com/2017/06/01/climate/trump-paris-climate-agreement.html, accessed August 13, 2018

National Resources Revenue Data, U.S. Department of the Interior, https://revenuedata.doi.gov/explore/, accessed August 3,
2018

“Percentage Depletion,” Energy Tax Facts, http://energytaxfacts.com/wp-content/uploads/2017/10/Fact-Sheet-Percentage-
Depletion.pdf

Peter Pae, “Airbus Giant-Jet Gamble OKd in Challenge to Boeing,” Los Angeles Times, December 20, 2000,
http://articles.latimes.com/2000/dec/20/news/mn-2453, accessed May 9, 2018.

“Price on Carbon,” https://priceoncarbon.org/

Richard Nixon, “Address to the Nation About Policies to Deal with the Energy Shortages,” The American Presidency Project,
November 7, 1973, http://www.presidency.ucsb.edu/ws/?pid=4034, accessed August 3, 2018

Samantha Masunaga, “No Flying Tesla? That’s Because Electric Planes Are a Steeper Challenge than Electric Cars,” L.A.
Times, September 9, 2016, http://www.latimes.com/business/la-fi-electric-aircraft-20160830-snap-story.html

“Saving Energy and Money with Appliances and Equipment Standards in the United States,” U.S. Department of Energy,
January 2007,
https://www.energy.gov/sites/prod/files/2017/01/f34/Appliance%20and%20Equipment%20Standards%20Fact%20Sheet-
011917_0.pdf

Senate Resolution 1151, 109th Congress, 2005

Senate Resolution 139, 108th Congress, 2003

Senate Resolution 1548, 114th Congress, 2015

Senate Resolution 2399, 114th Congress, 2015

Senate Resolution 280, 110th Congress, 2007

Senate Resolution 98, 105th Congress, 1997


                                                                                                                     Page 8 of 10
              Case 6:15-cv-01517-AA              Document 338-4           Filed 08/24/18        Page 128 of 129
                                                             Appendix C


Steve Everley, “Stanford’s Jacobson Spins Energy Misinformation (100% renewables fantasy),” MasterResource, 2016,
https://www.masterresource.org/renewable-energy-and-jobs/stanfords-jacobson-spins-misinformation-in-the-energy-debate-
100-renewables-fantasy/, accessed August 3, 2018

Steven Greenhouse, “Clinton’s Economic Plan: The Energy Plan; Fuels Tax: Spreading the Burden,” New York Times,
February 18, 1993, https://www.nytimes.com/1993/02/18/us/clinton-s-economic-plan-the-energy-plan-fuels-tax-spreading-
the-burden.html, accessed August 3, 2018

Stuart Burns, “Hydrogen to Replace Coking Coal in the Reduction of Iron Ore Steelmaking? Maybe One Day,” Metal Miner,
February 13, 2017, https://agmetalminer.com/2017/02/13/hydrogen-to-replace-coking-coal-in-the-reduction-of-iron-ore-in-
steelmaking-maybe-one-day/

“Summary Charts,” California State Budget – 2018–19, http://www.ebudget.ca.gov/2018-
19/pdf/Enacted/BudgetSummary/SummaryCharts.pdf

Tanya Somanader, “President Obama: The United States Formally Enters the Paris Agreement,” Obama Whitehouse
Archives, September 3, 2016, https://obamawhitehouse.archives.gov/blog/2016/09/03/president-obama-united-states-formally-
enters-paris-agreement, accessed August 3, 2018

Ted Nordhous and Michael Shellenberger, “Getting Real on Climate Change,” The American Prospect, December 2008,
https://thebreakthrough.org/blog/PDF/Getting%20Real%20on%20Climate%20Change.pdf

“The Cement Industry Is the Most Energy Intensive of All Manufacturing Industries,” U.S. Energy Information
Administration, July 1, 2013, https://www.eia.gov/todayinenergy/detail.php?id=11911

Tim Kelly, “Dreamliner Carries Its First Passengers and Boeing’s Hopes,” Reuters, October 26, 2011,
https://www.reuters.com/article/us-dreamliner/dreamliner-carries-its-first-passengers-and-boeings-hopes-
idUSTRE79P02Q20111026, accessed May 9, 2018

Tom Balcerek, “Turning Away from Blast Furnaces Still Leaves Problems for Steel Industry,” Platts, October 20, 2015,
blogs.platts.com/2015/10/20/blast-furnaces-problems-steel-industry/

“U.S. Federal Government Energy Costs at Lowest Point Since Fiscal Year 2004,” U.S. Energy Information Administration,
https://www.eia.gov/todayinenergy/detail.php?id=33152, accessed August 3, 2018

“United Nations Framework Convention on Climate Change,” United Nations, 1992,
https://unfccc.int/resource/docs/convkp/conveng.pdf

“US Nuclear Policy,” World Nuclear Association, May 2018, http://www.world-nuclear.org/information-library/country-
profiles/countries-t-z/usa-nuclear-power-policy.aspx, accessed August 3, 2018

“US R&D Spending at All-Time High, Federal Share Reaches Record Low,” American Institute of Physics, November 8,
2016, https://www.aip.org/fyi/2016/us-rd-spending-all-time-high-federal-share-reaches-record-low

Valerie Richardson, “White House Defends Obama Evading Senate on Paris Climate Deal,” Washington Times, August 29,
2016, https://www.washingtontimes.com/news/2016/aug/29/obama-will-bypass-senate-ratify-paris-climate-acco/, accessed
August 3, 2018

“What are the Federal Reserve’s objectives in conducting monetary policy?,” Federal Reserve, June 13, 2018,
https://www.federalreserve.gov/faqs/money_12848.htm, accessed August 3, 2018

“What is the U.S. Commitment in Paris?,” State of the Planet, December 11, 2015,
http://blogs.ei.columbia.edu/2015/12/11/what-is-the-u-s-commitment-in-paris/, accessed August 3, 2018

Zack Colman and Nick Sobczyk, “House Republican Will Introduce $23 Carbon Tax Next Week,” eenews.net, July 17, 2018,
https://www.eenews.net/climatewire/2018/07/17/stories/1060089315, accessed August 6, 2018




                                                                                                                  Page 9 of 10
               Case 6:15-cv-01517-AA             Document 338-4            Filed 08/24/18      Page 129 of 129
                                                              Appendix C



Press Releases
Office of Governor Edmund G. Brown Jr. Press Release, “Governor Brown Takes Action to Increase Zero-Emission Vehicles,
Fund New Climate Investment,” January 26, 2018, https://www.gov.ca.gov/2018/01/26/governor-brown-takes-action-to-
increase-zero-emission-vehicles-fund-new-climate-investments/

Vattenfall Press Release, “Vattenfall and Cementa Focusing on Zero Emissions,” June 29, 2017,
https://group.vattenfall.com/press-and-media/news--press-releases/pressreleases/2017/vattenfall-and-cementa-focusing-on-
zero-emissions

White House Press Release, “Fact Sheet: President Obama’s Blueprint for a Clean and Secure Energy Future,” March 15,
2013, https://www.whitehouse.gov/the-press-office/2013/03/15/fact-sheet-president-obama-s-blueprint-clean-and-secure-
energy-future, accessed August 3, 2018

White House Press Release, “Global Climate Change Policy Book,” 2002, https://georgewbush-
whitehouse.archives.gov/news/releases/2002/02/climatechange.html, accessed August 3, 2018

Analyst Reports
“Lazard’s Levelized Cost of Energy Analysis – Version 11.0,” Lazard, November 2017,
https://www.lazard.com/media/450337/lazard-levelized-cost-of-energy-version-110.pdf

“U.S. Solar Market Insight,” GTM Research, https://www.seia.org/research-resources/solar-market-insight-report-2016-year-
review

Presentation
California Environment Protection Agency Presentation, “California’s ZEV Regulation for 2018 and Subsequent Model Year
Vehicles,” 2016, pp. 1–51

Data Sources
Appliance Standards Awareness Project

“CVRP Rebate Statistics,” California Clean Vehicle Rebate Project

Federal Reserve Bank of St. Louis

hybridcars.com

National Oceanic and Atmospheric Administration, Earth System Research Laboratory, Global Monitoring Division,
ftp://aftp.cmdl.noaa.gov/products/trends/co2/co2_annmean_gl.txt, accessed August 3, 2018

U.S. Department of Energy, Alternative Fuels Center

U.S. Department of Transportation, “Highway Statistics 2000”

U.S. Department of Transportation “Highway Statistics 2015”

U.S. Energy Information Administration, 2014 MECS Survey Data, October 2017, Table 1.1 First Use of Energy for All
Purposes (Fuel and Nonfuel), 2014.

U.S. Energy Information Administration, International Energy Statistics

U.S. Energy Information Administration, “July 2018 Monthly Energy Review”

U.S. Energy Information Administration, “May 2018 Monthly Energy Review”

Any other documents or materials cited in this report.


                                                                                                                  Page 10 of 10
